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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


    In re:                                                         Chapter 11

    IMPEL PHARMACEUTICALS, INC., et al.1                           Case No. 23-80016 (SGJ)

                               Debtors.                            (Jointly Administered)


                   SCHEDULES OF ASSETS AND LIABILITIES OF
             DEBTOR IMPEL PHARMACEUTICALS, INC. (CASE NO. 23-80016)




1
 The Debtors in this chapter 11 case, together with the last four digits of the Debtor’s federal tax identification number,
are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’ service
address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


  In re:                                                            Chapter 11

  IMPEL PHARMACEUTICALS, INC., et al.1                              Case No. 23-80016 (SGJ)

                               Debtors.                             (Jointly Administered)


          GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
  OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        On December 19, 2023 (the “Petition Date”), Impel Pharmaceuticals, Inc. and its affiliated
debtor in the above-captioned chapter 11 cases (each a “Debtor” and, collectively, the “Debtors”)
commenced voluntary cases (the “Chapter 11 Cases”) under chapter 11 of title 11, United States
Code, §§ 101 et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Northern District of Texas (the “Court”).

       The Debtors continue to operate their businesses and manage their properties as debtors
and debtors in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The
Chapter 11 Cases have been consolidated for procedural purposes only and are being jointly
administered under case number 23-80016 (SGJ).

        The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements”) were prepared pursuant to section 521 of the Bankruptcy Code and Rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by management of
the Debtors with unaudited information available as of the Petition Date.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements of Financial Affairs (the “Global Notes”) are
incorporated by reference in, and comprise an integral part of, each Debtor’s respective Schedules
and Statements, and should be referred to and considered in connection with any review of the
Schedules and Statements.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. The Debtors, and
their agents, attorneys, and advisors do not guarantee or warrant the accuracy or completeness of
the data that is provided herein, and shall not be liable for any loss or injury arising out of or caused

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in whole or in part by the acts, errors, or omissions, whether negligent or otherwise, in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information
contained herein. While reasonable efforts have been made to provide accurate and complete
information herein, inadvertent errors or omissions may exist. The Debtors reserve their rights to
amend and supplement the Schedules and Statements as may be necessary or appropriate. For the
avoidance of doubt, the Debtors and their agents, attorneys, and advisors expressly do not
undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or
re-categorized, except as required by applicable law. In no event shall the Debtors, or their agents,
attorneys, and advisors, be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, or advisors are advised of the possibility of such damages.

        Given, among other things, the uncertainty surrounding the valuation and nature of certain
assets and liabilities, to the extent that a Debtor shows more assets than liabilities, this is not an
admission that such Debtor was solvent on the Petition Date (as defined below) or at any time prior
to the Petition Date. Likewise, to the extent that a Debtor shows more liabilities than assets, it is
not an admission that such Debtor was insolvent on the Petition Date or any time prior to the
Petition Date.

        Brandon Smith has signed each set of the Schedules and Statements. Mr. Smith serves as
the Chief Restructuring Officer (“CRO”) of the Debtors, and he is an authorized signatory for each
of the Debtors in these chapter 11 cases. In reviewing and signing the Schedules and Statements,
Mr. Smith has necessarily relied upon the efforts, statements, advice, and representations of the
Debtors and their advisors. Mr. Smith has not (and could not have) personally verified the
accuracy of each such statement and representation, including statements and representations
concerning amounts owed to creditors, classification of such amounts, and creditor addresses.

                          Global Notes and Overview of Methodology

        1.      Impel NeuroPharma Australia Pty Ltd. Impel NeuroPharma Australia Pty Ltd
(“Impel Australia”) is a wholly-owned subsidiary of Impel Pharmaceuticals Inc. (“Impel”). Impel
Australia had no operations other than tax filings and bookkeeping related to its two bank accounts
in the year prior to the Petition Date. Impel Australia has no sales receipts. All vendors supporting
its bookkeeping and tax filings are paid by Impel. Accordingly, the Debtors have reported the
only assets owned by Impel Australia, which include one IOLTA deposit and two bank accounts.
The Debtors reserve all rights to amend and supplement the Schedules and Statements as may be
necessary or appropriate.

        2.      Reservations and Limitations. Reasonable efforts have been made to prepare and
file complete and accurate Schedules and Statements; however, as noted above, inadvertent errors
or omissions may exist. The Debtors reserve all rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate. Nothing contained in the Schedules and
Statements constitutes a waiver of any of the Debtors’ rights or an admission of any kind with
respect to these chapter 11 cases, including, but not limited to, any rights or claims of the Debtors


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against any third party or issues involving substantive consolidation, equitable subordination, or
defenses or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code or
any other relevant applicable bankruptcy or non-bankruptcy laws to recover assets or avoid
transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph.

       (a)     No Admission. Nothing contained in the Schedules and Statements is intended or
               should be construed as an admission or stipulation of the validity of any claim
               against the Debtors, any assertion made therein or herein, or a waiver of the
               Debtors’ rights to dispute any claim or assert any cause of action or defense against
               any party.

       (b)     Recharacterization. Notwithstanding that the Debtors have made reasonable
               efforts to correctly characterize, classify, categorize, or designate certain claims,
               assets, executory contracts, unexpired leases, and other items reported in the
               Schedules and Statements, the Debtors nonetheless may have improperly
               characterized, classified, categorized, or designated certain items. The Debtors
               reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
               reported in the Schedules and Statements at a later time as is necessary and
               appropriate, including, without limitation, whether contracts or leases listed herein
               were deemed executory or unexpired as of the Petition Date and remain executory
               and unexpired post-petition. Disclosure of information in one or more Schedules,
               Statements, or one or more exhibits or attachments thereto, even if incorrectly
               placed, shall be deemed to be disclosed in the correct Schedules, Statements,
               exhibits, or attachments.

       (c)     Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
               Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
               “executory” or “unexpired” does not constitute an admission by the Debtors of the
               legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
               rights to recharacterize or reclassify such claim or contract or to setoff such claim.

       (d)     Claims Description. Any failure to designate a claim on the Debtors’ Schedules
               and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute
               an admission by the Debtors that such amount is not “disputed,” “contingent,” or
               “unliquidated.” Each Debtor reserves all rights to dispute, or assert offsets or
               defenses to, any claim reflected on its respective Schedules and Statements on any
               grounds, including, without limitation, liability, or classification, or to otherwise
               subsequently designate such claims as “disputed,” “contingent,” or “unliquidated”
               or object to the extent, validity, enforceability, or priority of any claim. Moreover,
               listing a claim does not constitute an admission of liability by the Debtors against
               which the claim is listed or by any of the Debtors. The Debtors reserve all rights
               to amend their Schedules and Statements as necessary and appropriate, including,
               but not limited to, with respect to claim description and designation.

       (e)     Estimates and Assumptions. The preparation of the Schedules and Statements
               required the Debtors to make reasonable estimates and assumptions with respect to


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           the reported amounts of assets and liabilities, the amount of contingent assets and
           contingent liabilities on the Schedules and Statements, and the reported amounts of
           revenues and expenses during the applicable reporting periods. Actual results could
           differ from such estimates.

     (f)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
           all current and potential causes of action the Debtors may have against third parties
           in their respective Schedules and Statements, including, without limitation,
           avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
           other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
           reserve all rights with respect to any causes of action, and nothing in these Global
           Notes or the Schedules and Statements should be construed as a waiver of any such
           causes of action.

     (g)   Intellectual Property Rights. Exclusion of certain intellectual property from the
           Schedules and Statements should not be construed as an admission that such
           intellectual property rights have been abandoned, have been terminated or
           otherwise expired by their terms, or have been assigned or otherwise transferred
           pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
           intellectual property rights in the Schedules and Statements should not be construed
           as an admission that such intellectual property rights have not been abandoned,
           have not been terminated or otherwise expired by their terms, or have not been
           assigned or otherwise transferred pursuant to a sale, acquisition, or other
           transaction.

     (h)   Executory Contracts and Unexpired Leases. Although the Debtors made
           diligent efforts to identify contracts and unexpired leases as executory within the
           scope of section 365 of the Bankruptcy Code and to attribute an executory contract
           to its rightful Debtors, in certain instances, the Debtors may have inadvertently
           failed to do so due to the complexity and size of the Debtors’ businesses.
           Accordingly, the Debtors reserve all of their rights with respect to the inclusion or
           exclusion of executory contracts and unexpired leases, as well as the named parties
           to any and all executory contracts and unexpired leases, including the right to
           amend Schedule G at any time during the pendency of these chapter 11 cases.

     (i)   Insiders. In the circumstance where the Schedules and Statements require
           information regarding “insiders,” the Debtors have included information with
           respect to certain individuals who served as officers and directors, as the case may
           be, during the relevant time periods. Such individuals may no longer serve in such
           capacities.

           The listing or omission of a party as an insider for purposes of the Schedules and
           Statements is not intended to be, nor should it be, construed as an admission of any
           fact, right, claim, or defense and all such rights, claims, and defenses are hereby
           expressly reserved. Information regarding the individuals listed as insiders in the
           Schedules and Statements has been included for informational purposes only and
           such information may not be used for: (i) the purposes of determining (A) control


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             of the Debtors; (B) the extent to which any individual exercised management
             responsibilities or functions; (C) corporate decision-making authority over the
             Debtors; or (D) whether such individual could successfully argue that he or she is
             not an insider under applicable law, including the Bankruptcy Code and federal
             securities laws, or with respect to any theories of liability or (ii) any other purpose.

3.    Description of Cases and “As Of” Information Date. On December 19, 2023 (the
      “Petition Date”), each of the Debtors filed a voluntary petition for relief under chapter 11
      of the Bankruptcy Code in the Court. The Debtors continue to operate their business. The
      information provided herein, except as otherwise noted, is reported as of the Petition Date
      of each respective Debtor, as appropriate.

4.    Methodology.

      (a)    Basis of Presentation. The Schedules and Statements do not purport to represent
             financial statements prepared in accordance with Generally Accepted Accounting
             Principles in the United States (“GAAP”) nor are they intended to be fully
             reconciled to the financial statements of each Debtor. The Schedules and
             Statements contain unaudited information that is subject to further review and
             potential adjustment. The Schedules and Statements reflect the Debtors’
             reasonable efforts to report the assets and liabilities of each Debtor on an
             unconsolidated basis.

      (b)    Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
             may properly be disclosed in multiple parts of the Statements and Schedules. To
             the extent these disclosures would be duplicative, the Debtors have endeavored to
             only list such assets, liabilities, and prepetition payments once.

      (c)    Net Book Value. In certain instances, current market valuations for individual
             items of property and other assets are neither maintained by, nor readily available
             to the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
             and Statements reflect net book values as of the Petition Date. Market values may
             vary, in some instances, materially, from net book values. The Debtors believe that
             it would be an inefficient use of estate assets for the Debtors to obtain the current
             market values of their property. Accordingly, the Debtors have indicated in the
             Schedules and Statements that the market values of certain assets and liabilities are
             undetermined. Also, assets that have been fully depreciated or that were expensed
             for accounting purposes either do not appear in these Schedules and Statements, or
             are listed with a zero-dollar value, as such assets have no net book value. The
             omission of an asset from the Schedules and Statements does not constitute a
             representation regarding the ownership of such asset, and any such omission does
             not constitute a waiver of any rights of the Debtors with respect to such asset.

      (d)    Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
             or “undetermined” is not intended to reflect upon the materiality of such amount.




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     (e)   Unliquidated Amounts. Amounts that could not be fairly quantified by the
           Debtors are scheduled as “unliquidated.”

     (f)   Totals. All totals that are included in the Schedules and Statements represent totals
           of all known amounts. To the extent there are unknown or undetermined amounts,
           the actual total may be different from the listed total.

     (g)   Paid Claims. The Debtors have authority to pay certain outstanding prepetition
           payables pursuant to various orders entered by the Court. The Debtors scheduled
           such amounts as of the Petition Date and noted such amounts contingent. To the
           extent the Debtors later pay any amount of the claims listed in the Schedules and
           Statements pursuant to any orders entered by the Court, the Debtors reserve all
           rights to amend or supplement the Schedules and Statements or to take other action,
           such as filing claims objections, as is necessary and appropriate to avoid
           overpayment or duplicate payments for liabilities. Nothing contained herein should
           be deemed to alter the rights of any party in interest to contest a payment made
           pursuant to an order of the Court where such order preserves the right to contest.

     (h)   Liens. The inventories, property, and equipment listed in the Schedules and
           Statements are presented without consideration of any liens.

     (i)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
           Some bank accounts in Impel NeuroPharma Australia Pty Ltd may be held in
           Australian Dollar (“AUD”) but converted to the U.S. Dollar equivalent as of the
           Petition Date.

     (j)   Liabilities. The Debtors have sought to allocate liabilities between the prepetition
           and postpetition periods based on the information and research conducted in
           connection with the preparation of the Schedules and Statements. As additional
           information becomes available and further research is conducted, the allocation of
           liabilities between the prepetition and postpetition periods may change. The
           Debtors reserve the right to amend the Schedules and Statements as they deem
           appropriate in this and all other regards.

     (k)   Excluded Assets and Liabilities. The Debtors have excluded certain categories of
           assets and liabilities from the Schedules and Statements, including, but not limited
           to: certain deferred charges, right-of-use asset and related liabilities, reserves
           recorded only for purposes of complying with the requirements of GAAP, and
           deferred tax assets, deferred tax liabilities, and intangible assets. In addition,
           certain accrued tax benefits from net operating losses that could offset future
           earnings have been recorded as undetermined. The Debtors have also excluded
           rejection damage claims of counterparties to executory contracts and unexpired
           leases that may or may not be rejected, to the extent such damage claims exist.
           Other immaterial assets and liabilities may also have been excluded.

     (l)   Credits and Adjustments. The claims of individual creditors for, among other
           things, goods, products, services, or taxes are listed as the amounts entered on the



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             Debtors’ books and records and may either (i) not reflect credits, allowances, or
             other adjustments due from such creditors to the Debtors or (ii) be net of accrued
             credits, allowances, or other adjustments that are actually owed by a creditor to the
             Debtors on a postpetition basis on account of such credits, allowances, or other
             adjustments earned from prepetition payments and critical vendor payments, if
             applicable. The Debtors reserve all of their rights with regard to such credits,
             allowances, or other adjustments, including, but not limited to, the right to modify
             the Schedules, assert claims objections and/or setoffs with respect to the same, or
             apply such allowances in the ordinary course of business on a postpetition basis.

      (m)    Setoffs. The Debtors may periodically incur setoffs and net payments in the
             ordinary course of business. Such setoffs and nettings may occur due to a variety
             of transactions or disputes. Although such setoffs and other similar rights may have
             been accounted for when scheduling certain amounts, these ordinary course setoffs
             are not independently accounted for, and as such, are or may be excluded from the
             Debtors’ Schedules and Statements. The Debtors reserve all rights to challenge any
             setoff and/or recoupment rights that may be asserted.

5.    Global Notes Control. These Global Notes pertain to and comprise an integral part of
      each of the Schedules and Statements and should be referenced in connection with any
      review thereof. In the event that the Schedules and Statements conflict with these Global
      Notes, these Global Notes shall control.

6.    Specific Schedules Disclosures.

      (a)    Schedules Summary. Except as otherwise noted, the asset totals represent
             amounts as of the Petition Date and liability information provided herein represents
             the Debtors’ liabilities as of the Petition Date.

      (b)    Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
             in Incorporated and Unincorporated Businesses, including any Interest in an
             LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
             been listed in Schedule A/B, Part 4, as undetermined amounts on account of the
             fact that the fair market value of such ownership is dependent on numerous
             variables and factors, and may differ significantly from their net book value.

      (c)    Schedule A/B, Part 5 – Inventory. The Debtors’ product has a 12-month shelf
             life. As such the Debtors’ customers, specialty pharmacies among others, monitor
             the production dates of all inventory to be sold to patients. All inventory is held
             and managed by third parties. The work in progress inventory, listed as SPEC, DHE
             Mesylate Form, has a net book value of $0.00. The cost of this inventory was
             approximately $765,000 but it has expired and has been fully reserved for booking
             keeping purposes. As such, the Debtors will need to find a way to dispose of it.

      (d)    Schedule A/B, Part 7 – Office furniture, fixtures, and equipment; and
             collectibles. The Debtors have used book values as of November 30, 2023 for
             reporting office furniture, fixtures, and equipment. There have been no valuations



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           on any of such assets. These amounts may include leasehold improvements. The
           Debtors reserve all of their rights to re-categorize and/or re-characterize such asset
           holdings to the extent the Debtors determine that such holdings were improperly
           listed.

     (e)   Schedule A/B, Part 8 – Machinery, equipment, and vehicles. The Debtors lease
           certain vehicles for their sales team from a third party. The leases have various
           expiration dates and monthly payment amounts, and are not owned by the Debtors.
           Under the lease agreement, the Debtors may return vehicles prior to the expiration
           date, which could result in a gain/loss depending on the final terms of the
           agreement. The Debtors have not completed an analysis regarding the gain/loss on
           the current vehicle fleet.

     (f)   Schedule A/B, Part 9 – Real Property. The Debtors lease all of their real
           properties and, as such, the properties’ value have been marked as undetermined.
           Furthermore, certain of the property leases reflected on Schedule A/B 55 may
           contain renewal options, guarantees of payment, options to purchase, rights of first
           refusal, rights to lease additional lands, and other miscellaneous rights. Such rights,
           powers, duties, and obligations are not separately set forth on Schedule A/B 55.
           The Debtors hereby expressly reserve the right to assert that any instrument listed
           on Schedule A/B 55 is an executory contract or unexpired lease within the meaning
           of section 365 of the Bankruptcy Code. The Debtors reserve all of their rights,
           claims, and causes of action with respect to claims associated with any contracts
           and agreements listed on Schedule A/B 55, including their right to dispute or
           challenge the characterization or the structure of any transaction, document, or
           instrument, including any intercompany agreement.

     (g)   Schedule A/B, Part 10 – Intangibles and Intellectual Property. The Company
           may have certain social media accounts that they own but currently do not have
           access due to reduction in their workforce. The social media accounts have not
           been listed.

     (h)   Schedule A/B, Part 11 – All Other Assets. The Debtors have incurred significant
           net operating losses (“NOLs” and R&D Credits (together, the “Tax Attributes”)
           since their inception. As of December 31, 2022, the Debtors have generated federal
           NOLs of $271.3 million. The Debtors also has $153.4 million of state NOLs and
           $8.4 million of R&D Credits. Further, the Debtors estimate that they may generate
           additional Tax Attributes in the 2023 tax year. Such Tax Attributes have not been
           valued as of the Petition Date and may be restricted in their use.

     (i)   Schedule D – Creditors Who Have Claims Secured by Property. The Debtors
           have made reasonable efforts to report all secured claims against the Debtors on
           Schedule D based on the Debtors’ books and records as of the Petition Date.
           However, the actual value of claims against the Debtors may vary significantly
           from the represented liabilities. Parties in interest should not accept that the listed
           liabilities necessarily reflect the correct amount of any secured creditor’s allowed
           claims or the correct amount of all secured claims. Similarly, parties in interest


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           should not anticipate that recoveries in these cases will reflect the relationship of
           the aggregate asset values and aggregate liabilities set forth in the Schedules.
           Parties in interest should consult their own professionals and advisors with respect
           to pursuing a claim. Although the Debtors and their professionals have generated
           financial information and data the Debtors believe to be reasonable, actual
           liabilities (and assets) may deviate significantly from the Schedules due to certain
           events that occur throughout these Chapter 11 Cases.

           Except as specifically stated herein, lessors of real property and equipment, utility
           companies, and any other parties which may hold security deposits or other security
           interests, have not been listed on Schedule D. The Debtors have also not listed on
           Schedule D any parties whose claims may be secured through rights of setoff,
           deposits, or advance payments.

           Although the Debtors may have scheduled claims of various creditors as secured
           claims, the Debtors reserve all rights to dispute or challenge the secured nature of
           any creditor’s claim or the characterization of the structure of any transaction or
           any document or instrument (including, without limitation, any intercompany
           agreement) related to such creditor’s claim (except as otherwise agreed to or stated
           pursuant to a stipulation, agreed order, or general order entered by the Bankruptcy
           Court that is or becomes final). The Debtors have not included on Schedule D the
           claims of any parties that may believe their claims are secured through setoff rights
           or inchoate statutory lien rights.

           The descriptions provided on Schedule D are intended only as a summary.
           Reference to the applicable loan agreements and related documents is necessary for
           a complete description of the collateral and the nature, extent, and priority of any
           liens. Nothing in these Global Notes or in the Schedules and Statements shall be
           deemed a modification, interpretation, or an acknowledgment of the terms of such
           agreements or related documents.

     (j)   Schedule E/F – Creditors Who Have Unsecured Claims.

           The Debtors have made reasonable efforts to report all priority and general
           unsecured claims against the Debtors on Schedule E/F based on the Debtors’ books
           and records as of the Petition Date. However, the actual value of claims against the
           Debtors may vary significantly from the represented liabilities. Certain claims on
           E/F may have been satisfied post-petition by the Debtors (including employee
           wages in the ordinary course) or third parties. Furthermore, accrued interest for
           some claims may not have been possible to determine. Parties in interest should
           not accept that the listed liabilities necessarily reflect the correct amount of any
           unsecured creditor’s allowed claims or the correct amount of all unsecured claims.
           Similarly, parties in interest should not anticipate that recoveries in these cases will
           reflect the relationship of the aggregate asset values and aggregate liabilities set
           forth in the Schedules. Parties in interest should consult their own professionals
           and advisors with respect to pursuing a claim. Although the Debtors and their
           professionals have generated financial information and data the Debtors believe to


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           be reasonable, actual liabilities (and assets) may deviate significantly from the
           Schedules due to certain events that occur throughout these Chapter 11 Cases.

           The claims listed on Schedule E/F arose or were incurred on various dates. In
           certain instances, the date on which a claim arose may be unknown or subject to
           dispute. Although reasonable efforts have been made to determine the date upon
           which claims listed in Schedule E/F were incurred or arose, updating that date for
           each claim in Schedule E/F would be unduly burdensome and cost-prohibitive and,
           therefore, the Debtors have not listed a date for each claim listed on Schedule E/F.

           In the ordinary course of business, the Debtors generally receive invoices for goods
           and services after the delivery of such goods or services. As of the filing of the
           Schedules and Statements, the Debtors may not have received all invoices for
           payables, expenses, or liabilities that may have accrued before the Petition Date.
           Furthermore, payments to vendors and lienholders made subsequent to the filing of
           these Schedules will not be reflected in these Schedules. The Debtors reserve the
           right, but are not required, to amend Schedules E/F if they receive such invoices
           and/or make such payments. The claims of individual creditors are generally listed
           at the amounts recorded on the Debtors’ books and records and may not reflect all
           credits or allowances due from the creditor. The Debtors reserve all of their rights
           concerning credits or allowances.

           Part 1 - Creditors with Priority Unsecured Claims. The Debtors included certain
           claims owing to various taxing authorities to which the Debtors may be liable.
           Certain of the claims may be subject to ongoing audits and the Debtors may
           otherwise be unable to determine with certainty the amount of such claims.
           Therefore, for certain claims, the Debtors have listed such claims as disputed,
           contingent, and unliquidated, pending final resolution of ongoing audits and other
           outstanding issues. Moreover, the inclusion of any amounts owed to taxing
           authorities does not constitute an admission by the Debtors of such liability. The
           Debtors reserve the right to assert that any claim listed on Schedule E/F does not
           constitute a priority claim under the Bankruptcy Code.

           Part 2 - Creditors with Nonpriority Unsecured Claims. The Debtors have used
           reasonable efforts to report all general unsecured claims against the Debtors in
           Schedule E/F, Part 2, based upon the Debtors’ books and records as of the Petition
           Date. The Debtors made a reasonable attempt to set forth their unsecured
           obligations, although the actual amount of claims against the Debtors may vary
           from those liabilities represented on Schedule E/F, Part 2. The listed liabilities,
           which have been listed on a gross accounts payable basis, may not reflect the correct
           amount of any unsecured creditor’s allowed claims or the correct amount of all
           unsecured claims.

           Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
           to executory contracts and unexpired leases. Such prepetition amounts, however,
           may be paid in connection with the assumption or assumption and assignment of
           an executory contract or unexpired lease. Prepetition amounts that may be paid in


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           accordance with court orders, are marked as contingent. In addition, Schedule E/F,
           Part 2, does not include claims that may arise in connection with the rejection of
           any executory contracts and unexpired leases, if any, that may be or have been
           rejected.

     (k)   Schedule G – Executory Contracts and Unexpired Leases. The Debtors hereby
           reserve all rights to dispute the validity, status, or enforceability of any contracts,
           agreements or leases set forth in Schedule G and to amend or supplement
           Schedule G as necessary. Additionally, the placing of a contract or lease onto
           Schedule G shall not be deemed an admission that such contract is an executory
           contract or unexpired lease, or that it is necessarily a binding, valid, and enforceable
           contract. Any and all of the Debtors’ rights, claims and causes of action with
           respect to the contracts and agreements listed on Schedule G are hereby reserved
           and preserved. In addition, the Debtors are continuing their review of all relevant
           documents and expressly reserve their right to amend all Schedules at a later time
           as necessary and/or to challenge the classification of any agreement as an executory
           contract or unexpired lease in any appropriate filing.

           The names of employees have been redacted for privacy purposes.

           Certain information, such as the contact information of the counterparty, may not
           be included where such information could not be obtained using the Debtors’
           reasonable efforts. Listing a contract or agreement on Schedule G does not
           constitute an admission that such contract or agreement is an executory contract or
           unexpired lease or that such contract or agreement was in effect on the Petition Date
           or is valid or enforceable. Expired contracts and leases may have also been
           inadvertently included. The Debtors hereby reserve all of their rights to dispute the
           validity, status, or enforceability of any contracts, agreements, or leases set forth in
           Schedule G and to amend or supplement such Schedule as necessary.

           Certain of the leases and contracts listed on Schedule G may contain renewal
           options, guarantees of payment, indemnifications, options to purchase, rights of
           first refusal and other miscellaneous rights. Such rights, powers, duties, and
           obligations are not set forth separately on Schedule G. In addition, the Debtors may
           have entered into various other types of agreements in the ordinary course of their
           business, such as supplemental agreements and letter agreements, which documents
           may not be set forth in Schedule G. The Debtors reserve the right to dispute the
           effectiveness of any such contract listed on Schedule G or to amend Schedule G at
           any time to remove any contract.

           The Debtors have reserved all rights to dispute or challenge the characterization of
           any transaction or any document or instrument related to a creditor’s claim.

           Although the Debtors have made diligent attempts to attribute an executory contract
           to its rightful Debtor, in certain instances, the Debtors may have inadvertently failed
           to do so due to the complexity and size of the Debtors’ businesses. Accordingly,




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             the Debtors reserve all of its rights with respect to the named parties of any and all
             executory contracts, including the right to amend Schedule G.

             Omission of a contract or agreement from Schedule G does not constitute an
             admission that such omitted contract or agreement is not an executory contract or
             unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
             any such omitted contract or agreement is not impaired by the omission. Certain
             Debtors are guarantors and parties to guaranty agreements regarding the Debtors’
             prepetition credit facility. The guaranty obligations arising under these agreements
             are reflected on Schedules D and F only.

7.    Specific Statements Disclosures.

      (a)    Statements, Part 1, Question 1 – Gross Revenue from business. The Debtors
             recognize GAAP revenue in accordance with ASC Topic 606, Revenue from
             Contracts with Customers (“ASC 606”). Under ASC 606, an entity recognizes
             revenue when its customer obtains control of promised goods or services in an
             amount that reflects the consideration which the entity expects to receive in
             exchange for those goods or services. The product is distributed through an
             exclusive third-party logistics, or 3PL, distribution agent that does not take title to
             the product. The 3PL distributes Trudhesa to the customers, specialty pharmacies
             and specialty distributors (collectively referred to as “customers”), who then
             distribute the product to healthcare providers and patients. Revenue from product
             sales is recognized when the customer obtains control of the product, which occurs
             upon transfer of title to the customer. Taxes collected from the customer relating
             to product sales and remitted to governmental authorities are excluded from
             revenue.

             Revenues from product sales are recorded at the net sales price, or the transaction
             price, which includes estimates of variable consideration for which reserves are
             established and which result from discounts, returns, co-pay assistance,
             chargebacks, rebates, and other allowances that are offered within contracts
             between us and customers, healthcare providers and other indirect customers
             relating to the sale of Trudhesa. These reserves are based on the amounts earned
             or to be claimed on the related sales and are classified as reductions of accounts
             receivable or a current liability. Where appropriate, these estimates take into
             consideration a range of possible outcomes that are probability-weighted for
             relevant factors such as historical experience, current contractual and statutory
             requirements, specific known market events and trends, industry data and
             forecasted customer buying and payment patterns. Overall, these reserves reflect
             best estimates of the amount of consideration to which the Debtors are entitled
             based on the terms of the contract.

             The components of variable consideration related to product revenue were detailed
             in the Debtors’ Emergency Motion for Entry of Interim and Final Orders
             (I) Authorizing the Debtors to Honor and Continue Certain Customer Programs
             and Customer Obligations in the Ordinary Course of Business, (II) Authorizing


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           Banks to Honor and Process Check and Electronic Transfer Requests Related
           Thereto, and (III) Granting Related Relief [Docket No. 10] and are customary in
           the pharmaceutical industry.

     (b)   Statements, Part 2, Question 4 – Payments and Transfers to Certain Insiders
           within 1 year before the filing. The Debtors reported payments to non-officer
           insiders within the year prior to the Petition Date. Please see response to Question
           30 for officer payments and distributions within the year prior to the Petition Date.
           The Debtors reserve all rights with respect to the determination or status of a person
           as an “insider” as defined in section 101(13) of the Bankruptcy Code.

     (c)   Statements, Part 5, Question 10 – Losses from fire, theft, or other casualty. In
           normal course, the Debtors’ sales team uses leased vehicles for their travel
           requirements. On occasion, the vehicles may incur an accident. The Debtors
           believe they have sufficient insurance to cover any obligation that may arise.
           Furthermore, the Debtors are not aware of any material disagreements or demands
           outstanding related to such claims.

     (d)   Statements, Part 6, Question 13 – Transfers not already listed. A former
           employee was given an asset that was fully depreciated and deemed to be non-
           operational for the Debtors. No value was associated with the transfer. The
           Debtors believe that the asset disposal was worthwhile as to not incur costs to sell
           and remove the asset from the property.

           The Debtors have settled certain claims put forth by former employees. Settlements
           were covered by insurance. None of these payments were made within the 90 days
           prior to the Petition Date. None of these payments were made to insiders. The
           names of employees have been redacted for privacy purposes.

     (e)   Statements, Part 9, Question 16 – Collect and Retain personally identifiable
           information of customers. The Debtors do not collect or retain personally
           identifiable information of their customers or their customers' patients. Any
           collection of data containing personally identifiable information is done by third
           party vendors which remove any personally identifiable information before the data
           is shared with the Debtors. The Debtors to not receive any personally identifiable
           information.

     (f)   Statements, Part 9, Question 17– ERISA Plan as an Employee Benefit. The
           Debtors sponsor a 401(k) plan for their employees.

     (g)   Statements, Part 10, Question 20 – Off-premises storage. The Debtors’ sales
           force uses certain third parties for storage of product samples. In addition, there
           are four sales team members that have samples at their houses. The Debtors’ track
           all inventory including these samples to ensure accurate inventory records.

     (h)   Statements, Part 13, Question 25 – Businesses in Which the Debtors Have an
           Interest. Impel Pharmaceuticals, Inc. has a 100% interest in Impel NeuroPharma
           Australia Pty Ltd.


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     (i)   Statements, Part 13, Question 26 – Books, records, and financial statements.
           The Debtors’ common stock was publicly traded on the Nasdaq stock exchange.
           As of December 18, 2023, the Debtor’s common stock was suspended from trading.
           Prior to the suspension of trading on the Nasdaq, the Debtors reported their
           financial results directly to the U.S. Securities and Exchange Commission for
           compliance with regulations. Additionally, a copy of financial results have been
           provided to Oaktree, the senior secured creditor of the Debtors.

     (j)   Statements, Part 13, Question 27 – Inventories – Supervisor and Dates of Last
           Two Inventories. The Debtors perform inventory counts of raw materials and
           finished goods inventories on an annual basis or as needed for operational reasons.
           The information included in response to Question 27 reflects the last two inventory
           dates.

     (k)   Statements, Part 13, Question 28 and 29 – Current and Former Officer and
           Directors. While the Debtors have made reasonable best efforts to list all
           applicable officers and directors for each Debtor in response to Statement Questions
           28 and 29, some may have been omitted. Disclosures relate specifically to
           terminated job titles or positions and are not indicative of the individuals’ current
           employment status with the Debtors.

     (l)   Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
           to Insiders. Refer to Statement Question 4 for this item.

                             *       *       *      *       *




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Debtor Name               Impel Pharmaceuticals Inc.
United States Bankruptcy Court for the Northern District of Texas
Case number (if known):                         23-80016

                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                   amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                             12/15



  Part 1:         Summary of Assets


  1. Schedule A/B: Assets - Real and Personal Property                                   (Official Form 206A/B)

    1a. Real property:
        Copy line 88 from Schedule A/B.......................................................................................................................                            $0.00



    1b. Total personal property:
         Copy line 91A fromSchedule A/B.....................................................................................................................                    $27,284,463.24



    1c. Total of all property:
         Copyline 92 from Schedule A/B.......................................................................................................................                   $27,284,463.24




 Part 2:          Summary of Liabilities




    2.   Schedule D: Creditors Who Have Claims Secured by Property             (Official Form 206D)
         Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...........................                                                 $127,026,463.65



    3.   Schedule E/F: Creditors Who Have Unsecured Claims                                       (Official Form 206E/F)


         3a. Total claim amounts of priority unsecured claims:
              Copy the total claims from Part 1 from the line 5a of Schedule E/F.............................................................                                       $730,380.04



         3b. Total amount of claims of nonpriority amount of unsecured claims:
              Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F........................................                                       +     $4,225,266.38




         4.   Total liabilities .........................................................................................................................................       $131,982,110.07
              Lines 2 + 3a + 3b
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Debtor Name            Impel Pharmaceuticals Inc.
United States Bankruptcy Court for the Northern District of Texas
Case number (if known):                23-80016
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing
Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases         (Official Form 206G).

Be complete and accurate as possible. If more space is needed, attach a separate spreadsheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the approriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor's interest,
do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:        Cash and cash equivalents




 1.      Does the debtor have any cash or cash equivalents?


            No. Go to Part 2.

            Yes. Fill in the information below.



              All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                                      debtor's interest
 2.      Cash on hand



 3.      Checking, savings, money market, or financial brokerage accounts
         Name of institution (bank or brokerage firm)                   Type of account                     Last 4 digits of account number

   3.1       JP Morgan Chase                                             Checking                            *5227                             $266,518.91


   3.2       JP Morgan Chase                                             Checking                            *0303                                    $0.00


   3.3       JP Morgan Chase                                             Money Market                        *3200                             $488,135.37


   3.4       JP Morgan Chase                                             Money Market                        *1616                            $4,417,531.71

   3.5       JP Morgan Chase                                             Money Market                        *2211                                    $0.00


 4.      Other cash equivalents




 5.      Total of Part 1
                                                                                                                                              $5,172,185.99
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                 Page 1
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Debtor Impel Pharmaceuticals Inc.                                                                     Case Number (if known) 23-80016

Part 2:        Deposits and prepayments




 6.      Does the debtor have any deposits or prepayments?


            No. Go to Part 3.

            Yes. Fill in the information below.



                                                                                                                                Current value of
                                                                                                                                debtor's interest
 7.      Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit

   7.1       Bridge Commercial Real Estate (Malvern, PA office) - BOF II                                                                 $38,213.76
             PA Lindenwood LLC


   7.2       BMR Security Deposit - BMR -                                                                                               $187,000.00
             201 Elliot Avenue LLC

   7.3       Deposit Account for Rebate Processing - Integrichain                                                                       $211,596.02


   7.4       Security Deposit for Storage Space - Cubework                                                                                $5,814.60


   7.5       Deposit for Employee FSA/HAS - Navia Benefit Solutions                                                                       $5,720.65


   7.6       Inventory Deposit - MiPharm (EUR)                                                                                          $111,661.48

   7.7       Deposit - PSKW, LLC (ConnectiveRX)                                                                                         $230,000.00


   7.8       Severance Funds - ADP                                                                                                      $180,000.00


 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

   8.1       See Attached Exhibit AB8                                                                                                $3,408,506.97




 9.      Total of Part 2
                                                                                                                                     $4,378,513.48
         Add lines 7 through 8. Copy the total to line 81.


Part 3:        Accounts Receivable




 10. Does the debtor have any accounts receivable?


            No. Go to Part 4.

            Yes. Fill in the information below.




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                           Page 2
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Debtor Impel Pharmaceuticals Inc.                                                                        Case Number (if known) 23-80016

                                                                                                                                         Current value of
                                                                                                                                         debtor's interest
 11. Accounts receivable


     11a. 90 days old or less:                               $3,599,960.04     -                             $0.00 =                          $3,599,960.04
                                          face amount                               doubtful or uncollectible accounts
     11b. Over 90 days old:                                       $9,630.25    -                             $0.00 =                              $9,630.25
                                          face amount                               doubtful or uncollectible accounts



 12. Total of Part 3
                                                                                                                                              $3,609,590.29
      Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:      Investments




 13. Does the debtor own any investments?


          No. Go to Part 5.

          Yes. Fill in the information below.



                                                                                                                Valuation method         Current value of
                                                                                                                used for current value   debtor's interest
 14. Mutual funds of publicly traded stocks not included in Part 1
      Name of fund or stock:




 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
      Name of entity:                                             % of ownership:

   15.1   Impel Neuropharma Australia Pty Ltd                         100%                                       Net Book Value                Undetermined


 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1
      Describe:




 17. Total of Part 4
      Add lines 14 through 16. Copy the total to line 83.


Part 5:      Inventory, excluding agricultural assets




 18. Does the debtor own any inventory (excluding agricultual assets)?




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                       Page 3
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Debtor Impel Pharmaceuticals Inc.                                                                 Case Number (if known) 23-80016


         No. Go to Part 6.

         Yes. Fill in the information below.



          General description                   Date of the last      Net book value of                 Valuation method             Current value of
                                                physical inventory    debtor's interest                 used for current value       debtor's interest
19. Raw Materials



  19.1   See Attached Exhibit AB19               12/19/2023          $4,896,593.64                      Net Book Value                     $4,896,593.64


20. Work in progress



  20.1   SPEC, DHE Mesylate Form                 12/19/2023          $0.00                              Net Book Value                               $0.00


  20.2   Reservoir Device, 200, In Packaging     12/19/2023          $2,729,981.45                      Net Book Value                     $2,729,981.45


21. Finished goods, including goods held for resale



  21.1   PC104-01 4-Pack                         12/19/2023          $2,593,546.30                      Net Book Value                     $2,593,546.30
                                                                                                                    Finished goods have a 12 month shelf life
22. Other inventory or supplies




23. Total of Part 5
                                                                                                                                          $10,220,121.39
     Add lines 19 through 22. Copy the total to line 84.




24. Is any of the property listed in Part 5 perishable?


         No.

         Yes.




25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?


         No.

         Yes.       Book Value $                           Valuation Method                       Current Value $



26. Has any of the property listed in Part 5 been appraised by a professional within the last year?




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          No.

          Yes.



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)




 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


          No. Go to Part 7.

          Yes. Fill in the information below.



           General description                                         Net book value of                   Valution method used   Current value of
                                                                       debtor's interest                   for current value      debtor's interest
 28. Crops - either planted of harvested




 29. Farm animals
      Examples: Livestock, poultry, farm-raised fish




 30. Farm machinery and equipment
      (Other than titled motor vehicles)




 31. Farm and fishing supplies, chemicals, and feed




 32. Other farming and fishing-related property not already listed in Part 6




 33. Total of Part 6
      Add lines 28 through 32. Copy the total to line 85.




 34. Is the debtor a member of an agricultural cooperative?


          No.

          Yes.




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      Is any of the debtor's property stored at the cooperative?


          No.

          Yes.




 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?


          No.

          Yes.       Book Value $                       Valuation Method                          Current Value $



 36. Is a depreciation schedule available for any of the property listed in Part 6?


          No.

          Yes.




 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?


          No.

          Yes.



Part 7:      Office furniture, fixtures, and equipment; and collectibles




 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


          No. Go to Part 8.

          Yes. Fill in the information below.



           General description                                      Net book value of                  Valuation method         Current value of
                                                                    debtor's interest                  used for current value   debtor's interest
 39. Office furniture



   39.1   Furniture & Fixtures, Net                                $91,815.06                           Net Book Value                  $91,815.06


 40. Office fixtures




   Official Form 206A/B                            Schedule A/B: Assets - Real and Personal Property                                Page 6
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Debtor Impel Pharmaceuticals Inc.                                                                          Case Number (if known) 23-80016


   40.1   Office Fixtures, Net                                         $1,343,128.23                               Net Book Value                  $1,343,128.23
          (Includes Construction in Progress)


 41. Office equipment, including all computer equipment and communication systems equipment and software



   41.1   Office Equipment                                             $2,459,258.80                               Net Book Value                  $2,459,258.80


 42. Collectibles
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or
      baseball card collections; other collections, memorabilia, or collectibles




 43. Total of Part 7.
                                                                                                                                                  $3,894,202.09
      Add lines 39 through 42. Copy the total to line 86.




 44. Is a depreciation schedule available for any of the property listed in Part 7?


          No.

          Yes.




 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?


          No.

          Yes.



Part 8:      Machinery, equipment, and vehicles




 46. Does the debtor own or lease any machinery, equipment, or vehicles?


          No. Go to Part 9.

          Yes. Fill in the information below.



           General description                                           Net book value of                        Valuation method           Current value of
                                                                         debtor's interest                        used for current value     debtor's interest
 47. Automobiles, vans, trucks, motorcycles, trailers, or titled farm vehicles




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                          Page 7
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   47.1   See Attached Exhibit AB47                                       Undetermined                       N/A                     Undetermined
          See Global Notes


 48. Watercraft, trailers, motors, and related accessories
      Examples: Boats, trailers, motors, floating homes, personal watercraft, fishing vessels




 49. Aircraft and accessories




 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)




 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.




 52. Is a depreciation schedule available for any of the property listed in Part 8?


          No.

          Yes.




 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?


          No.

          Yes.



Part 9:      Real property




 54. Does the debtor own or lease any real property?


          No. Go to Part 10.

          Yes. Fill in the information below.




 55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                          Page 8
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Debtor Impel Pharmaceuticals Inc.                                                                        Case Number (if known) 23-80016

      Description and location of property                Nature and extent of     Net book value of debtor's Valuation method       Current value of
                                                          debtor's interest in     interest                   used for current value debtor's interest
                                                          property
   55.1    Office and Laboratory use                            Lease                   Undetermined                   N/A                     Undetermined
           of 11,526 sqft;
           201 Elliott Ave W, Seattle, WA 98119

      Description and location of property                Nature and extent of     Net book value of debtor's Valuation method       Current value of
                                                          debtor's interest in     interest                   used for current value debtor's interest
                                                          property
   55.2    Lease Agreement:                                     Lease                   Undetermined                   N/A                     Undetermined
           BOF II PA Lindewood LLC
           101 Lindenwood Drive, Malvern, PA 19355




 56. Total of Part 9.
      Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.




 57. Is a depreciation schedule available for any of the property listed in Part 9?


           No.

           Yes.




 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?


           No.

           Yes.



Part 10:      Intangibles and intellectual property




 59. Does the debtor have any interests in intangibles or intellectual property?


           No. Go to Part 11.

           Yes. Fill in the information below.



            General description                                         Net book value of                       Valuation method         Current value of
                                                                        debtor's interest                       used for current value   debtor's interest
 60. Patents, copyrights, trademarks, or trade secrets



   60.1    Patents: See Attached Exhibit AB60                         Undetermined                              N/A                            Undetermined




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                      Page 9
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Debtor Impel Pharmaceuticals Inc.                                                                 Case Number (if known) 23-80016


  60.2   Trademarks: See Attached Exhibit AB 60                    Undetermined                           N/A                       Undetermined


61. Internet domain names and websites



  61.1   Websites and Domain Name                                  Undetermined                           N/A                       Undetermined
         See attached Exhibit AB61

  61.2   Social Media Accounts                                     Undetermined                           N/A                       Undetermined
         See Global Notes


62. Licenses, franchises, and royalties




63. Customer lists, mailing lists, or other compilations




64. Other intangibles, or intellectual property




65. Goodwill




66. Total of Part 10.
     Add lines 60 through 65. Copy the total to line 89.




67. Do your lists or records include personally identifiable information of customers?


         No.

         Yes.




68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?


         No.

         Yes.




  Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                          Page 10
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Debtor Impel Pharmaceuticals Inc.                                                                         Case Number (if known) 23-80016




 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?


           No.

           Yes.



Part 11:      All other assets




 70. Does the debtor own any other assets that have not yet been reported on this form?


           No. Go to Part 12.

           Yes. Fill in the information below.



                                                                                                                                    Current value of
                                                                                                                                    debtor's interest
 71. Notes receivable
      Description (include name of obligor)

                                                                                      -                                 =

                                                                 Total face amount        Doubtful or uncollectible amount
 72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)

   72.1    See Global Notes                                                                                       Various                   Undetermined


 73. Interests in insurance policies or annuities



   73.1    See Attached Exhibit AB73                                                                                                        Undetermined


 74. Causes of action against third parties (whether or not a lawsuit has
     been filed)




       Nature of claim
       Amount Requested
 75. Other contingent and unliquidated claims or causes of action of every
     nature, including counterclaims of the debtor and rights to set off
     claims




       Nature of claim
       Amount Requested




   Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                              Page 11
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Debtor Impel Pharmaceuticals Inc.                                                                 Case Number (if known) 23-80016


76. Trusts, equitable or future interests in property




77. Other property of any kind not already listed
     Examples: Season tickets, country club membership

  77.1   Unused Amazon Gift Cards                                                                                                   $9,850.00




78. Total of Part 11.
                                                                                                                                    $9,850.00
     Add lines 71 through 77. Copy the total to line 90.




79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


         No.

         Yes.




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Debtor Impel Pharmaceuticals Inc.                                                                                               Case Number (if known) 23-80016

Part 12:    Summary

           Type of property                                                                        Current value of                                        Current value of
                                                                                                   personal property                                       real property


   80. Cash, cash equivalents, and financial assets.              Copy line 5, Part 1.                       $5,172,185.99


   81. Deposits and prepayments.          Copy line 9, Part 2.                                               $4,378,513.48


   82. Accounts receivable.       Copy line 12, Part 3.                                                      $3,609,590.29


   83. Investments. Copy line 17, Part 4.


   84. Inventory. Copy line 23, Part 5.                                                                    $10,220,121.39


   85. Farming and fishing-related assets.         Copy line 33, Part 6.



   86. Office furniture, fixtures, and equipment; and collectibles.                                          $3,894,202.09
       Copy line 43, Part 7.


   87. Machinery, equipment, and vehicles.             Copy line 51, Part 8.


   88. Real Property.      Copy line 56, Part 9.



   89. Intangibles and intellectual property.          Copy line 66, Part 10.


   90. All other assets.      Copy line 78, Part 11.                                                               $9,850.00



   91. Total. Add lines 80 through 90 for each column.                                    91a.                $27,284,463.24             + 91b.                              $0.00



   92. Total of all property on Schedule A/B.          Lines 91a + 91b = 92..............................................................................................     $27,284,463.24




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                                                     Page 13
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        SCHEDULES OF ASSETS AND LIABILITIES


                      EXHIBIT FOR SCHEDULE AB

                          PART 2, QUESTION 8

     PREPAYMENTS, INCLUDING PREPAYMENTS ON
  EXECUTORY CONTRACTS, LEASES, INSURANCE, TAXES,
                    AND RENT
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Impel Pharmaceuticals Inc.
Case No. 23‐80016
Schedule AB 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and r

                                                                                                  Current value of
                  Description                         Name of holder of prepayment                debtor's interest
                   Office Rent                               BMR ‐ RENT 201 Elliott                  $87,122.46
                   Office Lease                              Bridge RE ‐ Malvern PA                  $19,106.88
                 Health Insurance                       AETNA employee health benefits               $39,320.23
                 Dental Insurance                                   Delta Dental                      $3,678.64
                 Vision Insurance                                       VSP                           $348.08
             Life and Other Insurance                           Lincoln National Life                 $1,323.15
             Administrative Appliation                               Docusign                         $9,238.35
             Administrative Appliation                               Docusign                         $2,265.73
             Administrative Appliation                                 Zoom                           $2,778.72
              Regulation Compliance                                Mastercontrol                     $51,529.08
              Contract Organization                                 Cobblestone                      $13,894.23
                    Oversight                    Managed Markets Insight & Technology (MMIT)          $1,250.00
                    Oversight                    Managed Markets Insight & Technology (MMIT)          $3,750.00
                    Oversight                    Managed Markets Insight & Technology (MMIT)          $8,100.00
             Administrative Appliation                                Veeva                          $209,680.20
             Administrative Appliation                               Qpharma                          $7,500.00
                  Research Tool                                      Donnelly                        $19,477.46
              Regulation Compliance                             Food and Drug Admin                  $347,278.34
                  Research Tool                                       Spherix                        $10,708.37
                  Research Tool                                       Nasdaq                          $5,166.63
               Clinical Development                                     PPD                          $72,398.50
                   Lender Fees                                        Oaktree                        $11,666.64
                    Legal Fees                                     Sidley Austin                     $38,919.51
             Administrative Appliation                              MedCompli                         $8,750.02
                Fleet Management                                    Emkay, Inc.                      $67,300.00
           Pharmaceutical Data Services                                 PDS                          $85,000.00
              Management Liability
             (Employment Practices                       Endurance American Specialty
                                                                                                     $50,462.11
                Liability, Fiduciary                         Insurance Company
                     Liability)
                  D&O Insurance                             Axis Insurance Company                   $220,850.83
                  D&O Insurance                           Hudson Insurance Company                   $131,250.00
                  D&O Insurance                     Endurance American Insurance Company             $77,083.33
                  D&O Insurance                   Atlantic Specialty Insurance Company (Intact)      $45,479.17
                  D&O Insurance                    ACE American Insurance Company (Chubb)            $25,000.00
                  D&O Insurance                         Old Republic Insurance Company               $18,750.00
                  D&O Insurance                             Axis Insurance Company                   $662,553.00
                  D&O Insurance                           Hudson Insurance Company                   $393,750.30
                  D&O Insurance                     Endurance American Insurance Company             $231,250.17
                  D&O Insurance                   Atlantic Specialty Insurance Company (Intact)      $136,437.60
                  D&O Insurance                    ACE American Insurance Company (Chubb)            $75,000.00
                  D&O Insurance                         Old Republic Insurance Company               $56,250.04

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                                                                                                      Current value of
                     Description                             Name of holder of prepayment             debtor's interest
              Pollution Liability Insurance                   Illinois Union Insurance Company           $13,547.13
                    Cargo Insurance                              Beazley Insurance Company               $25,833.33
    Domes c Package (Property, General Liability)               Phoenix Insurance Company                 $6,232.23
                Commercial Automobile                     Travelers Indemnity Company of America         $31,509.71
                  Umbrella Insurance                      Travelers Indemnity Company of America          $7,409.52
                Workers Compensation                      Travelers Indemnity Company of America          $9,938.22
            Product & Clinical Trial Liability             Underwriters at Lloyd, London (Beazley)       $40,984.46
                    Cyber Insurance                        Underwriters at Lloyd, London (Beazley)        $5,769.35
               Excess Liability Insurance                  Westfield Specialty Insurance Company          $9,725.93
             GST Refund Receivable ‐ AUS                          Australian Taxation Office              $5,889.30
                                                 Total                                               $3,408,506.97




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        SCHEDULES OF ASSETS AND LIABILITIES

                      EXHIBIT FOR SCHEDULE AB

                         PART 5, QUESTION 19

                           RAW MATERIALS
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Impel Pharmaceuticals Inc.
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Schedule AB 19. Raw Materials.

                                                                                                                                                  Valuation
                                                                                                                                                method used
                                                                                               Date of the last    Net book value of debtor's    for current Current value of debtor's
               General description                             Location                       physical inventory interest (where available)         value            interest
   Nozzle, Front Loaded                       FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                  94,716.71     Standard    $            94,716.71
   Y‐Junction, 1/8 Stem                       CUBEWORK(CUBEWORK)                                 12/19/2023      $                  22,601.60     Standard    $            22,601.60
   Dose Chamber, 240 uL                       FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                  18,654.54     Standard    $            18,654.54
   Diffuser, Annular, 2_5                     FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                  75,613.65     Standard    $            75,613.65
   Finger Grip, Right, No Insert              CUBEWORK(CUBEWORK)                                 12/19/2023      $                  56,129.50     Standard    $            56,129.50
   Finger Grip, Right, No Insert              FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                     721.66     Standard    $                721.66
   Clamshell, Right, GEN 1                    CUBEWORK(CUBEWORK)                                 12/19/2023      $                  77,910.00     Standard    $            77,910.00
   Clamshell, Right, GEN 1                    FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                   6,134.94     Standard    $             6,134.94
   Clamshell, Left, GEN 1                     CUBEWORK(CUBEWORK)                                 12/19/2023      $                  77,910.00     Standard    $            77,910.00
   Clamshell, Left, GEN 1                     FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                   5,294.94     Standard    $             5,294.94
   Finger Grip, Left, No Insert               CUBEWORK(CUBEWORK)                                 12/19/2023      $                  56,129.50     Standard    $            56,129.50
   Finger Grip, Left, No Insert               FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                     773.01     Standard    $                773.01
   Adapter, Check Valve                       FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                  12,054.71     Standard    $            12,054.71
   Valve, Duckbill, Flanged                   FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                  40,961.16     Standard    $            40,961.16
   Spring, Extension, 0.5                     FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                  23,922.27     Standard    $            23,922.27
   Propellant Canister, 10ML, 63 Ul           CUBEWORK(CUBEWORK)                                 12/19/2023      $               2,336,876.36     Standard    $         2,336,876.36
   Pump, SGD, 200UL                           CUBEWORK(CUBEWORK)                                 12/19/2023      $                 148,027.40     Standard    $           148,027.40
   Pump, SGD, 200UL                           FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                     213.91     Standard    $                213.91
   PC104‐01, Packaging, As Molded             CUBEWORK(CUBEWORK)                                 12/19/2023      $                  88,441.92     Standard    $            88,441.92
   PC104‐01, Packaging, As Molded             FMBP(Freudenberg Medical Baldwin Park)             12/19/2023      $                   8,245.86     Standard    $             8,245.86
   DHE API Bulk                               MIPHARM(Mipharm)                                   12/19/2023      $               1,745,260.00     Standard    $         1,745,260.00
                                      Total                                                                      $              4,896,593.64                  $         4,896,593.64




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        SCHEDULES OF ASSETS AND LIABILITIES


                      EXHIBIT FOR SCHEDULE AB

                         PART 8, QUESTION 47

       AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES,
          TRAILERS, OR TITLED FARM VEHICLES
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Impel Pharmaceuticals Inc.
Case No. 23‐80016
Schedule AB 47. Automobiles, vans, trucks, motorcycles, trailers, or titled farm vehicles.


                                                         Net book value of   Valuation method used   Current value of debtor's
        Vehicle_VIN         Year     Make     Model      debtor's interest      for current value            interest
   YV4162UK7N2726120          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12UE4P2962910          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK3N2746932          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK8N2746957          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK2N2747179          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK5N2725483          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK2N2725439          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK4N2729380          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK1N2726100          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UKXN2725513          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK7N2725565          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12RN2P1265069          2023 VOLVO     XC60            Undetermined            N/A                         Undetermined
   YV4162UK3N2725711          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12UE5P2962785          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK3N2726227          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12UE0P2962743          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK9N2725843          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK7N2726408          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12UE6P2047430          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK3N2725823          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12UE6P2965436          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK9N2725776          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK7N2759487          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UM8N2765221          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK2N2725862          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12RN2P1257683          2023 VOLVO     XC60            Undetermined            N/A                         Undetermined
   YV4L12UE2P2964719          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12UE7P2962819          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12RK4N1986724          2022 VOLVO     XC60            Undetermined            N/A                         Undetermined
   YV4L12UE8P2047526          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   4T1R11AK0PU097368          2023 TOYOT     CAMRY           Undetermined            N/A                         Undetermined
   YV4162UK2N2761003          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12RK8N1986760          2022 VOLVO     XC60            Undetermined            N/A                         Undetermined
   YV4L12RK9N1986752          2022 VOLVO     XC60            Undetermined            N/A                         Undetermined
   YV4L12UE6P2962861          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK6N2747038          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK2N2725599          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12RK2N1035101          2022 VOLVO     XC60            Undetermined            N/A                         Undetermined
   YV4L12UE6P2962780          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12RK8N1982286          2022 VOLVO     XC60            Undetermined            N/A                         Undetermined
   1FMSK7DH7NGB91034          2022 FORD      EXPLR           Undetermined            N/A                         Undetermined
   YV4L12RN1P1266438          2023 VOLVO     XC60            Undetermined            N/A                         Undetermined
   YV4L12UE7P2047405          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK2N2759963          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12UE4P2962888          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4162UK5N2725872          2022 VOLVO     XC40            Undetermined            N/A                         Undetermined
   YV4L12UEXP2965648          2023 VOLVO     XC40            Undetermined            N/A                         Undetermined

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Impel Pharmaceuticals Inc.
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Schedule AB 47. Automobiles, vans, trucks, motorcycles, trailers, or titled farm vehicles.


                                                         Net book value of   Valuation method used   Current value of debtor's
        Vehicle_VIN         Year     Make     Model      debtor's interest      for current value            interest
   YV4162UK4N2725524          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4162UK5N2766504          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4162UK8N2747249          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4L12RK5N1087967          2022 VOLVO     XC60            Undetermined            N/A                        Undetermined
   YV4A22PK0N1815878          2022 VOLVO     XC90            Undetermined            N/A                        Undetermined
   YV4L12UE3P2975602          2023 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4L12RN1P1266472          2023 VOLVO     XC60            Undetermined            N/A                        Undetermined
   YV4162UK4N2746907          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   1FMSK8DH2NGA12291          2022 FORD      EXPLR           Undetermined            N/A                        Undetermined
   YV4162UK1N2746993          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4162UK5N2746978          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4162UK0N2747228          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4L12RK2N1986351          2022 VOLVO     XC60            Undetermined            N/A                        Undetermined
   YV4L12UE5P2962866          2023 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4L12RK9N1986718          2022 VOLVO     XC60            Undetermined            N/A                        Undetermined
   YV4162UK8N2726031          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4162UK6N2747282          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4L12UE7P2052314          2023 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4L12UE2P2962713          2023 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4162UK5N2706853          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4L12UE2P2963084          2023 VOLVO     XC40            Undetermined            N/A                        Undetermined
   YV4162UK9N2747048          2022 VOLVO     XC40            Undetermined            N/A                        Undetermined
                                                            Undetermined             N/A                        Undetermined




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        SCHEDULES OF ASSETS AND LIABILITIES


                      EXHIBIT FOR SCHEDULE AB

                        PART 10, QUESTION 60

      PATENTS, COPYRIGHTS, TRADEMARKS, OR TRADE
                       SECRETS
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                                                  Schedule 3.12
                                             Intellectual Property
       (a)
       1.     Reference is made to the Patent Assets.
       2.     Reference is made to the Trademark Assets.
       (b)
       1.    Exclusive Patent License Agreement between Impel NeuroPharma, Inc. and the University
       of Washington acting through UW TechTransfer, Technology Licensing dated May 26, 2009, as
       amended on October 14, 2009 and July 22, 2013.
       2.      The Company enters into supply and service agreements with suppliers, vendors and other
       service providers in the ordinary course of business which contain licenses to Business Intellectual
       Property which are incidental to the supply or performance of services thereunder.
       3.      On April 27, 2021 the Company received correspondence from Resource Transition
       Consultants LLC, general receiver for Kurve Technology, Inc. (“Kurvetech”), alleging
       infringement of one or more patents owned by Kurvetech. In a series of correspondence, the
       Company provided explanation and evidence to Kurvetech establishing that the Company’s
       TrudhesaTM product is fundamentally different from the devices described and claimed in the
       Kurvetech patents, and that the Company product therefore does not infringe the Kurvetech
       patents. On August 9, 2021 Kurvetech served a subpoena on the Company in a civil case in the
       Superior Court for the State of Washington in which Kurvetech is a defendant, seeking additional
       information (the Company is not a party to that civil case, which appears to be a bankruptcy action
       involving Kurvetech). On August 23, 2021 the Company timely objected to the subpoena
       providing several bases for objection, including that adequate information had already been
       provided. Since the serving of objections on August 23, 2021, there has been no correspondence
       or communications of any kind with Kurvetech (collectively, the “Kurvetech Matter”).
       (d)
       1.     The Company intends to take no action with respect to the below actions.
  Due Date        Action       Trademark/Matter        Class    Country     App #        Reg #          Status

5-Jan-2024    Declaration of   TRUDHESA            5           Mexico     2329211     2152309      Registered
              Use Due

10-Jan-2024   Statement of     IMPEL DOTS Logo     5, 10,      United     97347411                 Pending -
              Use 2nd          (in color)          35, 42,     States                              Allowed - SOU
              Extension                            44                                              Ext 1


       (e)
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1.     Reference is made to the Kurvetech Matter.
(f)
1.     Between January and April of 2021, the Company filed oppositions against the UK and
EU trademark applications of Pods Group Limited (“Pods Group”) (UK App. Nos.
UK00003505978; UK00003505983; EU App Nos. IR 1563058; IR 1561785), for goods and
services in Class 5, 10 and 44, based on the Company’s rights in POD. In April of 2021 the
Company requested, through UK counsel, that Pods Group narrow the description of goods and
services in its applications, and sign undertakings restricting Pods Group’s use of POD to the goods
and services in the amended applications. Pods Group declined to comply with the Company’s
proposal and settlement discussions ultimately ceased. In May of 2023 the UK authority decided
the oppositions largely in the Company’s favor, as to the goods and services in the Pods Group’s
applications that were identical or similar to Company’s goods and services. The UK decision
caused the Pods Group’s applications in the EU and all other countries to be narrowed in the same
way. The POD (stylized) opposition in the EU was decided in the Company’s favor in full after
Pods Group defaulted.
2.      On November 11, 2022 the Company sent a letter to Mr. Girishchandra, applicant of the
TRUDENSE (stylized) mark in India, for medicinal and pharmaceutical preparations in Class 5
(App. No. 5429303), objecting to Mr. Girishchandra’s use and registration of the mark, based on
the Company’s rights in TRUDHESA. On November 22, 2022 the Company filed an opposition
against Mr. Girishchandra’s application. On December 22, 2022 the parties reached an agreement
wherein the Company agreed to withdraw the opposition, provided Mr. Girishchandra amended
the description of goods in his application, and agreed not use or file for TRUDENSE (or similar)
for preparations related to neurological diseases. Both parties then submitted requests to the India
Trademark Office for same. As of May 2023, the Company was awaiting confirmation from the
Trademark Office that the requests were processed.
3.    In May of 2023 the Company learned that Vivos Therapeutics, Inc. is using the mark THE
POD in connection with a device for the treatment and prevention of migraine headaches, and that

Vivos owns registrations in the US for the marks THE POD and           .
                                                                                                                                          Annex 2-1(h)-1 Patent Assets
                                                         Case 23-80016-sgj11                                        Doc 169 Filed 01/19/24 Entered 01/19/24 00:06:07
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    APPLICATION                                                                                                                                   COUNTRY
                                                 TITLE                                APPLICATION NUMBER    PATENT NUMBER         COUNTRY                             FILE DATE                   ISSUE DATE     PUBLICATION NUMBER   PUBLICATION DATE   LOCAL FILING DATE   PRIORITY DATE        STATUS
        TYPE                                                                                                                                       WIPO ID

   Utility - NSPCT              (001CA) Circumferential Aerosol Device                     2,713,762            2713762             Canada           CA               Feb 6, 2009                Oct 18, 2016                                               Jul 29, 2010      Feb 7, 2008          Issued
   Utility - EPPAT              (001DE) Circumferential Aerosol Device                    09707800.0            2247330            Germany           DE               Feb 6, 2009                Sep 20, 2017          2247330          Nov 10, 2010                          Feb 7, 2008          Issued

                                                                                                                                  European
   Utility - NSPCT               (001EP) Circumferential Aerosol Device                   09707800.0            2247330                              EP               Feb 6, 2009                Sep 20, 2017          2247330          Nov 10, 2010        Jul 30, 2010      Feb 7, 2008          Issued
                                                                                                                                 Patent Office
   Utility - EPPAT               (001ES) Circumferential Aerosol Device                   09707800.0            2247330              Spain           ES               Feb 6, 2009                Sep 20, 2017          2247330          Nov 10, 2010                          Feb 7, 2008          Issued
   Utility - EPPAT               (001FR) Circumferential Aerosol Device                   09707800.0            2247330             France           FR               Feb 6, 2009                Sep 20, 2017          2247330          Nov 10, 2010                          Feb 7, 2008          Issued
                                                                                                                                    United
   Utility - EPPAT              (001GB) Circumferential Aerosol Device                    09707800.0            2247330                              GB               Feb 6, 2009                Sep 20, 2017          2247330          Nov 10, 2010                          Feb 7, 2008          Issued
                                                                                                                                   Kingdom
   Utility - EPPAT               (001IT) Circumferential Aerosol Device                   09707800.0            2247330              Italy            IT              Feb 6, 2009                Sep 20, 2017          2247330          Nov 10, 2010                          Feb 7, 2008          Issued

                                                                                                                                 United States
   Utility - NSPCT              (001US) Circumferential Aerosol Device                    12/866,448            8,757,146                            US               Feb 6, 2009                Jun 24, 2014       2011-0048414         Mar 3, 2011       Oct 22, 2010       Feb 7, 2008          Issued
                                                                                                                                  of America

                                                                                                                                 United States
     Utility - DIV             (001USD1) Circumferential Aerosol Device                   14/292,481           10,016,582                            US              May 30, 2014                Jul 10, 2018       2014-0343494        Nov 20, 2014                          Feb 7, 2008          Issued
                                                                                                                                  of America
                     (002DE) Circumferential Aerosol Device for Delivering Drugs to
   Utility - EPPAT                                                                        11818832.5            2605816            Germany           DE              Aug 19, 2011                Jan 23, 2019          2605816                                               Aug 20, 2010          Issued
                                    Olfactory Epithelium and Brain

                     (002EP) Circumferential Aerosol Device for Delivering Drugs to                                               European
   Utility - NSPCT                                                                        11818832.5            2605816                              EP              Aug 19, 2011                Jan 23, 2019          2605816          Jun 26, 2013       Mar 14, 2013      Aug 20, 2010          Issued
                                    Olfactory Epithelium and Brain                                                               Patent Office
                     (002FR) Circumferential Aerosol Device for Delivering Drugs to
   Utility - EPPAT                                                                        11818832.5            2605816             France           FR              Aug 19, 2011                Jan 23, 2019          2605816                                               Aug 20, 2010          Issued
                                     Olfactory Epithelium and Brain
                     (002GB) Circumferential Aerosol Device for Delivering Drugs to                                                United
   Utility - EPPAT                                                                        11818832.5            2605816                              GB              Aug 19, 2011                Jan 23, 2019          2605816                                               Aug 20, 2010          Issued
                                     Olfactory Epithelium and Brain                                                               Kingdom
   Utility - NSPCT                (004AU) Nasal Drug Delivery Device                      2012223160           2012223160         Australia          AU              Mar 5, 2012                  Dec 1, 2016                                              Aug 21, 2013       Mar 3, 2011          Issued
    Utility - DIV                (004AUD1) Nasal Drug Delivery Device                     2016256665           2016256665         Australia          AU              Mar 5, 2012                 Feb 21, 2019        2016256665                            Nov 7, 2016        Mar 3, 2011          Issued
   Utility - NSPCT                 (004BR) Nasal Drug Delivery Device                 BR 11 2013 022249-2   BR 112013022249-2       Brazil           BR              Mar 5, 2012                 Apr 12, 2022      11 2013 022249 2     Apr 28, 2020       Aug 30, 2013       Mar 3, 2011          Issued
    Utility - DIV                  (004BR) Nasal Drug Delivery Device                 BR 12 2021 02471-5     BR122021002471-5       Brazil           BR              Mar 5, 2012                 Jun 14, 2022                                              Feb 8, 2021        Mar 3, 2011          Issued
   Utility - NSPCT                (004CA) Nasal Drug Delivery Device                       2,828,884             2828884           Canada            CA              Mar 5, 2012                 Apr 27, 2021         2,828,884          Sep 7, 2012       Aug 30, 2013       Mar 3, 2011          Issued
    Utility - DIV                (004CAD1) Nasal Drug Delivery Device                      3,111,516             3,111,516         Canada            CA              Mar 5, 2012                 May 23, 2023                                              Mar 5, 2021        Mar 3, 2011          Issued
   Utility - EPPAT                (004CH) Nasal Drug Delivery Device                      12752463.5             2680913         Switzerland         CH              Mar 5, 2012                 May 6, 2020          2680913                                                 Mar 3, 2011          Issued
   Utility - EPPAT                (004CH) Nasal Drug Delivery Device                      20158982.7             3679971         Switzerland         CH              Mar 5, 2012                  Jul 27, 2022        3679971            Jul 15, 2020                         Mar 3, 2011          Issued
   Utility - NSPCT                (004CN) Nasal Drug Delivery Device                    201280021497.4      ZL 201280021497.4       China            CN              Mar 5, 2012                 Feb 15, 2017        103917265                              Nov 1, 2013       Mar 3, 2011          Issued
   Utility - EPPAT                (004DE) Nasal Drug Delivery Device                      12752463.5         60 2012 069 911.6    Germany            DE              Mar 5, 2012                 May 6, 2020          2680913                                                 Mar 3, 2011          Issued
   Utility - EPPAT                (004DE) Nasal Drug Delivery Device                      20158982.7         60 2012 078 550.0    Germany            DE              Mar 5, 2012                  Jul 27, 2022        3679971            Jul 15, 2020                         Mar 3, 2011          Issued

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   Utility - NSPCT                (004EP) Nasal Drug Delivery Device                      12752463.5            2680913                              EP              Mar 5, 2012                 May 6, 2020           2680913           Jan 8, 2014       Sep 26, 2013       Mar 3, 2011          Issued
                                                                                                                                 Patent Office

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     Utility - DIV               (004EPD1) Nasal Drug Delivery Device                     20158982.7            3679971                              EP              Mar 5, 2012                 Jul 27, 2022          3679971           Jul 15, 2020      Feb 24, 2020       Mar 3, 2011          Issued
                                                                                                                                 Patent Office
   Utility - EPPAT                (004FR) Nasal Drug Delivery Device                      12752463.5            2680913             France           FR              Mar 5, 2012                 May 6, 2020           2680913                                                Mar 3, 2011          Issued
   Utility - EPPAT                (004FR) Nasal Drug Delivery Device                      20158982.7            3679971             France           FR              Mar 5, 2012                 Jul 27, 2022          3679971           Jul 15, 2020                         Mar 3, 2011          Issued
                                                                                                                                    United
   Utility - EPPAT                (004GB) Nasal Drug Delivery Device                      12752463.5            2680913                              GB              Mar 5, 2012                 May 6, 2020           2680913                                                Mar 3, 2011          Issued
                                                                                                                                   Kingdom
                                                                                                                                    United
   Utility - EPPAT                (004GB) Nasal Drug Delivery Device                      20158982.7            3679971                              GB              Mar 5, 2012                 Jul 27, 2022          3679971           Jul 15, 2020                         Mar 3, 2011          Issued
                                                                                                                                   Kingdom
   Utility - NSPCT                (004IN) Nasal Drug Delivery Device                   7465/DELNP/2013           409215              India           IN              Mar 5, 2012                 Oct 18, 2022                                              Aug 23, 2013       Mar 3, 2011          Issued
   Utility - NSPCT                (004JP) Nasal Drug Delivery Device                     2013-556677            6339371              Japan           JP              Mar 5, 2012                 May 18, 2018          6339371                             Sep 2, 2013        Mar 3, 2011          Issued
                                                                                                                                    Russian
   Utility - NSPCT                (004RU) Nasal Drug Delivery Device                      2013144395            2612506                              RU              Mar 5, 2012                 Mar 9, 2017                                                Oct 2, 2013       Mar 3, 2011          Issued
                                                                                                                                  Federation
                                                                                                                                    Russian
     Utility - DIV               (004RUD1) Nasal Drug Delivery Device                     2017105845            2728583                              RU              Mar 5, 2012                 Jul 30, 2020       2017105845 A        Jan 21, 2019       Feb 22, 2017       Mar 3, 2011          Issued
                                                                                                                                  Federation

                                                                                                                                 United States
    Utility - CON                 (004US) Nasal Drug Delivery Device                      14/017,048            9,550,036                            US               Sep 3, 2013                Jan 24, 2017       2014-0014104        Jan 16, 2014                          Mar 3, 2011          Issued
                                                                                                                                  of America

                                                                                                                                 United States
    Utility - CON                (004USC1) Nasal Drug Delivery Device                     15/338,097           10,507,295                            US              Oct 28, 2016                Dec 17, 2019       2017-0043109        Feb 16, 2017                          Mar 3, 2011          Issued
                                                                                                                                  of America

                                                                                                                                 United States
    Utility - CON                (004USC2) Nasal Drug Delivery Device                     16/664,588           11,730,903                            US              Oct 25, 2019                Aug 22, 2023       2020-0078544        Mar 12, 2020                          Mar 3, 2011          Issued
                                                                                                                                  of America

                                                                                                                                 United States
    Utility - CON                (004USC3) Nasal Drug Delivery Device                     18/346,244                                                 US               Jul 2, 2023                                                                                             Mar 3, 2011         Pending
                                                                                                                                  of America
   Utility - NSPCT              (005AU) Nozzles for Nasal Drug Delivery                   2012253569           2012253569         Australia          AU              May 9, 2012                 May 31, 2018        2012253569                            Apr 11, 2013       May 9, 2011          Issued
    Utility - DIV              (005AUD1) Nozzles for Nasal Drug Delivery                  2018200530           2018200530         Australia          AU              May 9, 2012                 Nov 21, 2019        2018200530         Aug 8, 2019        Jan 23, 2018       May 9, 2011          Issued
   Utility - NSPCT               (005BR) Nozzles for Nasal Drug Delivery                11 2013 028572 9    BR 112013028572-9       Brazil           BR              May 9, 2012                 Nov 3, 2021       11 2013 028572 9     Jan 17, 2017       Nov 16, 2013       May 9, 2011          Issued
   Utility - NSPCT               (005CA) Nozzles for Nasal Drug Delivery                    2,835,208            2835208           Canada            CA              May 9, 2012                 Aug 20, 2019                                              Nov 5, 2013        May 9, 2011          Issued
   Utility - EPPAT               (005CH) Nozzles for Nasal Drug Delivery                   12781605.6            2707146         Switzerland         CH              May 9, 2012                 Apr 28, 2021         2707146           Mar 19, 2014                          May 9, 2011          Issued
   Utility - NSPCT               (005CN) Nozzles for Nasal Drug Delivery                201280029975.6      ZL201280029975.6        China            CN              May 9, 2012                 Aug 8, 2017        103619485A          Mar 5, 2014                           May 9, 2011          Issued
    Utility - DIV              (005CND1) Nozzles for Nasal Drug Delivery                201710572447.X      ZL 201710572447.X       China            CN              May 9, 2012                  Jul 9, 2021      CN 107376071 B       Nov 24, 2017        Jul 13, 2017      May 9, 2011          Issued
   Utility - EPPAT               (005DE) Nozzles for Nasal Drug Delivery                   12781605.6        60 2012 075 398.6    Germany            DE              May 9, 2012                 Apr 28, 2021         2707146           Mar 19, 2014                          May 9, 2011          Issued

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   Utility - NSPCT              (005EP) Nozzles for Nasal Drug Delivery                   12781605.6            2707146                              EP              May 9, 2012                 Apr 28, 2021          2707146          Mar 19, 2014        Dec 4, 2013       May 9, 2011          Issued
                                                                                                                                 Patent Office

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     Utility - DIV             (005EPD1) Nozzles for Nasal Drug Delivery                  21161728.7                                                 EP              May 9, 2012                                       3851142           Jul 21, 2021       Mar 8, 2021       May 9, 2011         Pending
                                                                                                                                 Patent Office




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    APPLICATION                                                                                                                     COUNTRY
                                         TITLE                        APPLICATION NUMBER     PATENT NUMBER         COUNTRY                              FILE DATE                   ISSUE DATE    PUBLICATION NUMBER   PUBLICATION DATE   LOCAL FILING DATE   PRIORITY DATE        STATUS
        TYPE                                                                                                                         WIPO ID

   Utility - EPPAT     (005FR) Nozzles for Nasal Drug Delivery            12781605.6             2707146             France            FR              May 9, 2012                 Apr 28, 2021        2707146           Mar 19, 2014                          May 9, 2011          Issued
                                                                                                                     United
   Utility - EPPAT     (005GB) Nozzles for Nasal Drug Delivery            12781605.6             2707146                               GB              May 9, 2012                 Apr 28, 2021        2707146           Mar 19, 2014                          May 9, 2011          Issued
                                                                                                                    Kingdom
   Utility - NSPCT     (005IN) Nozzles for Nasal Drug Delivery         9576/DELNP/2013           406303                India           IN              May 9, 2012                 Sep 9, 2022          51/2014          Dec 19, 2014        Nov 6, 2013       May 9, 2011          Issued
   Utility - NSPCT      (005JP) Nozzles for Nasal Drug Delivery          2014-510444             6645735              Japan            JP              May 9, 2012                 Jan 14, 2020       2014-518707        Aug 7, 2014         Nov 8, 2013       May 9, 2011          Issued
    Utility - DIV     (005JPD1) Nozzles for Nasal Drug Delivery          2017-145911             6959708              Japan            JP              May 9, 2012                 Oct 12, 2021         6959708          Oct 19, 2017        Jul 27, 2017      May 9, 2011          Issued
                                                                                                                     Russian
   Utility - NSPCT     (005RU) Nozzles for Nasal Drug Delivery            2013154420             2618084                               RU              May 9, 2012                 May 2, 2017                                                                 May 9, 2011          Issued
                                                                                                                   Federation
                                                                                                                     Russian
     Utility - DIV    (005RUD1) Nozzles for Nasal Drug Delivery           2017113604             2741249                               RU              May 9, 2012                 Jan 22, 2021       2017113604         Jan 28, 2019       Apr 20, 2017       May 9, 2011          Issued
                                                                                                                   Federation

                                                                                                                  United States
    Utility - CON      (005US) Nozzles for Nasal Drug Delivery            14/075,126            9,919,117                              US              Nov 8, 2013                 Mar 20, 2018      2014-0083424        Mar 27, 2014                          May 9, 2011          Issued
                                                                                                                   of America

                                                                                                                  United States
    Utility - CON     (005USC1) Nozzles for Nasal Drug Delivery           15/890,266           10,940,278                              US               Feb 6, 2018                Mar 9, 2021       2018-0236190        Aug 23, 2018                          May 9, 2011          Issued
                                                                                                                   of America

                                                                                                                  United States
    Utility - CON     (005USC2) Nozzles for Nasal Drug Delivery           17/164,371                                                   US               Feb 1, 2021                                  2021-0322689        Oct 21, 2021                          May 9, 2011         Allowed
                                                                                                                   of America

                                                                                                                  United States
    Utility - CON     (005USC3) Nozzles for Nasal Drug Delivery           18/505,101                                                   US              Nov 11. 2023                                                                                            May 9, 2011         Pending
                                                                                                                   of America

                                                                                                                  United States
     Utility - DIV    (005USD1) Nozzles for Nasal Drug Delivery           15/844,474           11,007,332                              US              Dec 15, 2017                May 18, 2021      2018-0126101        May 10, 2018                          May 9, 2011          Issued
                                                                                                                   of America
   Utility - NSPCT      (006CA) Medical Unit Dose Container                2,909,954             2909954            Canada             CA              Apr 28, 2014                Mar 23, 2021        2,909,954          Nov 6, 2014       Oct 20, 2015      Apr 28, 2013          Issued
   Utility - EPPAT      (006CH) Medical Unit Dose Container               14727320.5             2991713          Switzerland          CH              Apr 28, 2014                Jun 19, 2019        2991713                                                Apr 28, 2013          Issued
   Utility - EPPAT      (006DE) Medical Unit Dose Container               14727320.5       DE 60 2014 048 612.6    Germany             DE              Apr 28, 2014                Jun 19, 2019        2991713                                                Apr 28, 2013          Issued

                                                                                                                   European
   Utility - NSPCT       (006EP) Medical Unit Dose Container              14727320.5             2991713                               EP              Apr 28, 2014                Jun 19, 2019        2991713            Mar 9, 2016        Nov 4, 2015      Apr 28, 2013          Issued
                                                                                                                  Patent Office
   Utility - EPPAT       (006FR) Medical Unit Dose Container              14727320.5             2991713             France            FR              Apr 28, 2014                Jun 19, 2019        2991713                                                Apr 28, 2013          Issued
                                                                                                                     United
   Utility - EPPAT      (006GB) Medical Unit Dose Container               14727320.5             2991713                               GB              Apr 28, 2014                Jun 19, 2019        2991713                                                Apr 28, 2013          Issued
                                                                                                                    Kingdom

                                                                                                                  United States
   Utility - NSPCT       (006US) Medical Unit Dose Container              14/787,455           10,537,692                              US              Apr 28, 2014                Jan 21, 2020      2016-0101245        Apr 14, 2016       Oct 27, 2015      Apr 28, 2013          Issued
                                                                                                                   of America

                                                                                                                  United States
    Utility - CON      (006USC1) Medical Unit Dose Container              16/695,147           11,191,910                              US              Nov 25, 2019                Dec 7, 2021       2020-0101243         Apr 2, 2020                         Apr 28, 2013          Issued
                                                                                                                   of America
   Utility - NSPCT      (008AU) In-Line Nasal Delivery Device             2016321345           2016321345          Australia           AU               Sep 9, 2016                Mar 25, 2021       2016321345         Apr 19, 2018       Mar 28, 2018      Sep 10, 2015          Issued
   Utility - NSPCT      (008CA) In-Line Nasal Delivery Device              2,998,182                                Canada             CA               Sep 9, 2016                                                                         Mar 8, 2018       Sep 10, 2015         Pending
   Utility - EPPAT      (008CH) In-Line Nasal Delivery Device             16845229.0             3341059          Switzerland          CH               Sep 9, 2016                Mar 2, 2022         3341059            Jul 4, 2018                         Sep 10, 2015          Issued
   Utility - NSPCT      (008CN) In-Line Nasal Delivery Device           201680060459.8      ZL 201680060459.8        China             CN               Sep 9, 2016                Jul 9, 2021      CN 108601916 B       Sep 28, 2018       Apr 16, 2018      Sep 10, 2015          Issued
   Utility - EPPAT      (008DE) In-Line Nasal Delivery Device             16845229.0        60 2016 069 688.6      Germany             DE               Sep 9, 2016                Mar 2, 2022         3341059            Jul 4, 2018                         Sep 10, 2015          Issued

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   Utility - NSPCT       (008EP) In-Line Nasal Delivery Device            16845229.0             3341059                               EP               Sep 9, 2016                Mar 2, 2022         3341059            Jul 4, 2018       Mar 29, 2018      Sep 10, 2015          Issued
                                                                                                                  Patent Office
   Utility - EPPAT       (008FR) In-Line Nasal Delivery Device            16845229.0             3341059             France            FR               Sep 9, 2016                Mar 2, 2022         3341059            Jul 4, 2018                         Sep 10, 2015          Issued
                                                                                                                     United
   Utility - EPPAT      (008GB) In-Line Nasal Delivery Device             16845229.0             3341059                               GB               Sep 9, 2016                Mar 2, 2022         3341059            Jul 4, 2018                         Sep 10, 2015          Issued
                                                                                                                    Kingdom
   Utility - NSPCT        (008IL) In-Line Nasal Delivery Device             257845               257845               Israel            IL              Sep 9, 2016                 Oct 2, 2022         257845            Jul 2, 2022       Mar 4, 2018       Sep 10, 2015          Issued
   Utility - NSPCT       (008IN) In-Line Nasal Delivery Device           201847012776                                  India           IN               Sep 9, 2016                                 201847012776 A       Apr 13, 2018       Apr 4, 2018       Sep 10, 2015         Pending
   Utility - NSPCT       (008JP) In-Line Nasal Delivery Device            2018-513344            6753927              Japan            JP               Sep 9, 2016                Aug 24, 2020       2018-527099        Sep 20, 2018       Mar 12, 2018      Sep 10, 2015          Issued
    Utility - DIV       (008JPD1) In-Line Nasal Delivery Device           2020-139519            7001777              Japan            JP               Sep 9, 2016                Dec 28, 2021       2020-185475        Nov 19, 2020       Aug 20, 2020      Sep 10, 2015          Issued
                                                                                                                   Republic of
   Utility - NSPCT       (008KR) In-Line Nasal Delivery Device          10-2018-7009528                                                KR               Sep 9, 2016                                 10-2018-0052662      May 18, 2018        Apr 4, 2018      Sep 10, 2015         Pending
                                                                                                                      Korea
   Utility - NSPCT      (008MX) In-Line Nasal Delivery Device          MX/a/2018/002895          397293              Mexico            MX               Sep 9, 2016                Nov 9, 2022                                              Mar 7, 2018       Sep 10, 2015          Issued
   Utility - NSPCT      (008NZ) In-Line Nasal Delivery Device               741171               741171           New Zealand          NZ               Sep 9, 2016                Apr 29, 2022         741171           Jan 28, 2022       Mar 28, 2018      Sep 10, 2015          Issued

                                                                                                                  United States
   Utility - NSPCT      (008US) In-Line Nasal Delivery Device             15/759,447           11,266,799                              US               Sep 9, 2016                Mar 8, 2022       2018-0256836        Sep 13, 2018       Mar 12, 2018      Sep 10, 2015          Issued
                                                                                                                   of America

                                                                                                                  United States
    Utility - CON      (008USC3) In-Line Nasal Delivery Device            18/297,601                                                   US               Apr 8, 2023                                  2023-0241334         Aug 3, 2023                         Sep 10, 2015         Pending
                                                                                                                   of America

                                                                                                                  United States
    Utility - CON      (008USC4) In-Line Nasal Delivery Device            18/538,917                                                   US              Dec 13, 2023                                                                                                                Pending
                                                                                                                   of America
   Utility - NSPCT       (008ZA) In-Line Nasal Delivery Device            2018/01543           2018/01543         South Africa         ZA               Sep 9, 2016                Aug 31, 2022                                              Mar 6, 2018      Sep 10, 2015          Issued

                                                                                                                   European
   Utility - NSPCT     (009EP) Intranasal Device With Dip Tube            18881599.7                                                   EP              Nov 21, 2018                                    3713628           Sep 30, 2020       May 21, 2020      Nov 21, 2017         Allowed
                                                                                                                  Patent Office
    Utility - ORG      (009HK) Intranasal Device With Dip Tube          62021025263.6                              Hong Kong           HK              Nov 21, 2018                                    40036055                             Feb 8, 2021       Nov 21, 2017         Pending
   Utility - NSPCT     (009JP) Intranasal Device With Dip Tube           2020-528005             7191099             Japan             JP              Nov 21, 2018                Dec 8, 2022        2021-503989        Feb 15, 2021       May 20, 2020      Nov 21, 2017          Issued

                                                                                                                  United States
   Utility - NPREG     (009US) Intranasal Device with Dip Tube            16/198,403           11,571,532                              US              Nov 21, 2018                Feb 7, 2023       2019-0151579        May 23, 2019                         Nov 21, 2017          Issued
                                                                                                                   of America
   Utility - NSPCT   (010CA) Intranasal Device with Inlet Interface        3,081,680                                Canada             CA              Nov 21, 2018                                                                         May 4, 2020       Nov 21, 2017         Pending
   Utility - NSPCT   (010CN) Intranasal Device with Inlet Interface     201880075221.1      ZL 201880075221.1        China             CN              Nov 21, 2018                Aug 16, 2022     CN 111372635 B        Jul 3, 2020       May 21, 2020      Nov 21, 2017          Issued




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                                                                                                                                    European
   Utility - NSPCT             (010EP) Intranasal Device with Inlet Interface                18880741.6                                                   EP              Nov 21, 2018                                    3713626           Sep 30, 2020       May 21, 2020      Nov 21, 2017         Allowed
                                                                                                                                   Patent Office
    Utility - ORG              (010HK) Intranasal Device with Inlet Interface              62021024307.2                            Hong Kong             HK              Nov 21, 2018                                    40034724                              Jan 26, 2021     Nov 21, 2017         Pending

                                                                                                                                   United States
   Utility - NPREG             (010US) Intranasal Device with Inlet Interface                16/198,312           11,395,887                              US              Nov 21, 2018                Jul 26, 2022      2019-0151576        May 23, 2019                         Nov 21, 2017          Issued
                                                                                                                                    of America



    APPLICATION                                                                                                                                        COUNTRY
                                                   TITLE                                 APPLICATION NUMBER    PATENT NUMBER        COUNTRY                                FILE DATE                  ISSUE DATE     PUBLICATION NUMBER   PUBLICATION DATE   LOCAL FILING DATE   PRIORITY DATE        STATUS
        TYPE                                                                                                                                            WIPO ID

                                                                                                                                   United States
    Utility - CON             (010USC1) Intranasal Device with Inlet Interface               17/835,256                                                   US               Jun 8, 2022                                  2022-0323698        Oct 13, 2022                         Nov 21, 2017         Allowed
                                                                                                                                    of America
                      (011AU) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - NSPCT                                                                           2019205318          2019205318          Australia            AU               Jan 4, 2019                Jun 9, 2022        2019205318          Jul 30, 2020       Jul 10, 2020      Jan 5, 2018          Issued
                                             Olfactory Device
                      (011BR) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - NSPCT                                                                       BR 11 2020 013744-8                          Brazil              BR               Jan 4, 2019                                                                          Jul 3, 2020       Jan 5, 2018         Pending
                                             Olfactory Device
                      (011CA) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - NSPCT                                                                            3,088,942            3088942           Canada               CA               Jan 4, 2019                Jan 3, 2023                                               Jul 2, 2020       Jan 5, 2018          Issued
                                             Olfactory Device
                      (011CH) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - EPPAT                                                                           19735973.0            3735244         Switzerland            CH               Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020                          Jan 5, 2018          Issued
                                             Olfactory Device
                      (011CN) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - NSPCT                                                                         201980016882.1                             China               CN               Jan 4, 2019                                 CN 111936140 A       Nov 13, 2020        Sep 2, 2020       Jan 5, 2018         Pending
                                             Olfactory Device

                      (011EP) Intranasal Delivery of Dihydroergotamine by Precision                                                 European
   Utility - NSPCT                                                                           19735973.0            3735244                                EP               Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020        Jul 21, 2020      Jan 5, 2018          Issued
                                             Olfactory Device                                                                      Patent Office
                     (011EPBE) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - EPPAT                                                                           19735973.0            3735244           Belgium              BE               Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020                          Jan 5, 2018          Issued
                                               Olfactory Device
                     (011EPDE) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - EPPAT                                                                           19735973.0        60 2019 022 249.1     Germany              DE               Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020                          Jan 5, 2018          Issued
                                               Olfactory Device
                     (011EPES) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - EPPAT                                                                           19735973.0            3735244            Spain               ES               Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020                          Jan 5, 2018          Issued
                                               Olfactory Device
                     (011EPFR) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - EPPAT                                                                           19735973.0            3735244            France              FR               Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020                          Jan 5, 2018          Issued
                                               Olfactory Device
                      (011EPIT) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - EPPAT                                                                           19735973.0        502023000004236         Italy               IT              Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020                          Jan 5, 2018          Issued
                                               Olfactory Device
                     (011EPNL) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - EPPAT                                                                           19735973.0            3735244         Netherlands            NL               Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020                          Jan 5, 2018          Issued
                                               Olfactory Device
                       (011GB) Intranasal Delivery of Dihydroergotamine by Precision                                                  United
   Utility - EPPAT                                                                           19735973.0            3735244                                GB               Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020                          Jan 5, 2018          Issued
                                               Olfactory Device                                                                      Kingdom
                       (011HK) Intranasal Delivery of Dihydroergotamine by Precision
    Utility - ORG                                                                          62021029274.9          40039614          Hong Kong             HK               Jan 4, 2019                Apr 14, 2023        40039614                             Apr 14, 2021       Jan 5, 2018          Issued
                                               Olfactory Device
                       (011IN) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - NSPCT                                                                          202047033483                               India              IN               Jan 4, 2019                                 202047033483 A       Sep 18, 2020        Aug 5, 2020       Jan 5, 2018         Pending
                                               Olfactory Device
                        (011JP) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - NSPCT                                                                           2020-537473           7317020            Japan                JP              Jan 4, 2019                Jul 20, 2023       2021-510155        Apr 15, 2021        Jul 6, 2020       Jan 5, 2018          Issued
                                               Olfactory Device
                       (011KR) Intranasal Delivery of Dihydroergotamine by Precision                                                Republic of
   Utility - NSPCT                                                                         10-2020-7022585                                                KR               Jan 4, 2019                                 10-2020-0118032      Oct 14, 2020        Aug 4, 2020       Jan 5, 2018         Pending
                                               Olfactory Device                                                                       Korea
                       (011LU) Intranasal Delivery of Dihydroergotamine by Precision
   Utility - EPPAT                                                                           19735973.0            3735244         Luxembourg             LU               Jan 4, 2019                Nov 23, 2022        3735244           Nov 11, 2020                          Jan 5, 2018          Issued
                                               Olfactory Device

                     (011USC1) Intranasal Delivery of Dihydroergotamine by Precision                                               United States
    Utility - CON                                                                            17/062,364           11,185,497                              US               Oct 2, 2020                Nov 30, 2021      2021-0022995        Jan 28, 2021                          Jan 5, 2018          Issued
                                            Olfactory Device                                                                        of America

                     (011USC2) Intranasal Delivery of Dihydroergotamine by Precision                                               United States
    Utility - CON                                                                            17/492,136                                                   US               Oct 1, 2021                                  2022-0105030         Apr 7, 2022                          Jan 5, 2018         Pending
                                            Olfactory Device                                                                        of America
                       (012CA) Intranasal Delivery of Levodopa Powder By Precision
   Utility - NSPCT                                                                            3,087,696                              Canada               CA               Jan 4, 2019                                                                          Jul 3, 2020       Jan 5, 2018         Pending
                                             Olfactory Device

                       (012EP) Intranasal Delivery of Levodopa Powder By Precision                                                  European
   Utility - NSPCT                                                                           19735763.5                                                   EP               Jan 4, 2019                                    3735298           Nov 11, 2020        Jul 21, 2020      Jan 5, 2018         Pending
                                             Olfactory Device                                                                      Patent Office

                     (012USC1) Intranasal Delivery of Levodopa Powder by Precision                                                 United States
    Utility - CON                                                                            17/498,381                                                   US              Oct 11, 2021                                  2022-0296504        Sep 22, 2022                          Jan 5, 2018         Pending
                                           Olfactory Device                                                                         of America
                      (013AU) Intranasal Delivery of Olanzapine By Precision Olfactory
   Utility - NSPCT                                                                           2019205329          2019205329          Australia            AU               Jan 4, 2019                Aug 3, 2023        2019205329          Jul 30, 2020       Jul 13, 2020      Jan 5, 2018          Issued
                                                   Device
                      (013BR) Intranasal Delivery of Olanzapine By Precision Olfactory
   Utility - NSPCT                                                                       BR 11 2020 013750-2                          Brazil              BR               Jan 4, 2019                                                                          Jul 3, 2020       Jan 5, 2018         Pending
                                                   Device
                      (013CA) Intranasal Delivery of Olanzapine By Precision Olfactory
   Utility - NSPCT                                                                            3,087,698                              Canada               CA               Jan 4, 2019                                                                          Jul 3, 2020       Jan 5, 2018         Pending
                                                   Device
                      (013CN) Intranasal Delivery of Olanzapine By Precision Olfactory
   Utility - NSPCT                                                                         201980016880.2                             China               CN               Jan 4, 2019                                 CN 111836615 A       Oct 27, 2020        Sep 2, 2020       Jan 5, 2018         Pending
                                                   Device

                     (013EP) Intranasal Delivery of Olanzapine By Precision Olfactory                                               European
   Utility - NSPCT                                                                           19735694.2                                                   EP               Jan 4, 2019                                    3735223           Nov 11, 2020        Jul 21, 2020      Jan 5, 2018         Pending
                                                  Device                                                                           Patent Office
                      (013HK) Intranasal Delivery of Olanzapine By Precision Olfactory
    Utility - ORG                                                                          62021029305.1                            Hong Kong             HK               Jan 4, 2019                                    40039329                             Apr 14, 2021       Jan 5, 2018         Pending
                                                   Device
                      (013IN) Intranasal Delivery of Olanzapine By Precision Olfactory
   Utility - NSPCT                                                                          202047033486                               India              IN               Jan 4, 2019                                 202047033486 A       Sep 11, 2020        Aug 5, 2020       Jan 5, 2018         Pending
                                                   Device
                      (013JP) Intranasal Delivery of Olanzapine By Precision Olfactory
   Utility - NSPCT                                                                           2020-537508                              Japan                JP              Jan 4, 2019                                   2021-509677         Apr 1, 2021        Jul 6, 2020       Jan 5, 2018         Pending
                                                   Device
                      (013KR) Intranasal Delivery of Olanzapine By Precision Olfactory                                              Republic of
   Utility - NSPCT                                                                         10-2020-7022587                                                KR               Jan 4, 2019                                 10-2020-0118034      Oct 14, 2020        Aug 4, 2020       Jan 5, 2018         Pending
                                                   Device                                                                             Korea




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                      (013US) Intranasal Delivery of Olanzapine by Precision Olfactory                                              United States
   Utility - NPREG                                                                            16/240,653           11,278,492                              US               Jan 4, 2019                Mar 22, 2022      2019-0240150         Aug 8, 2019                          Jan 5, 2018          Issued
                                                   Device                                                                            of America



    APPLICATION                                                                                                                                         COUNTRY
                                                   TITLE                                  APPLICATION NUMBER    PATENT NUMBER        COUNTRY                                FILE DATE                  ISSUE DATE     PUBLICATION NUMBER   PUBLICATION DATE   LOCAL FILING DATE   PRIORITY DATE        STATUS
        TYPE                                                                                                                                             WIPO ID

                     (013USC1) Intranasal Delivery of Olanzapine by Precision Olfactory                                             United States
    Utility - CON                                                                             17/574,511           11,752,100                              US              Jan 12, 2022                Sep 12, 2023      2022-0183965        Jun 16, 2022                          Jan 5, 2018         Issued
                                                   Device                                                                            of America

                     (013USC2) Intranasal Delivery of Olanzapine by Precision Olfactory                                             United States
    Utility - CON                                                                             18/357,927                                                   US               Jul 24, 2023                                                                                           Jan 5, 2018         Pending
                                                   Device                                                                            of America

                        (014CN) Respiratory Tract Delivery of Levodopa and Dopa
   Utility - NSPCT                                                                          201980061336.X                             China               CN               Jul 19, 2019                                CN 112955134 A       Jun 11, 2021       Mar 18, 2021       Jul 19, 2018        Pending
                       Decarboxylase Inhibitor for Treatment of Parkinson's Disease

                        (014EP) Respiratory Tract Delivery of Levodopa and Dopa                                                      European
   Utility - NSPCT                                                                            19838654.2                                                   EP               Jul 19, 2019                                   3823607           May 26, 2021        Feb 1, 2021       Jul 19, 2018        Pending
                       Decarboxylase Inhibitor for Treatment of Parkinson's Disease                                                 Patent Office

                        (014JP) Respiratory Tract Delivery of Levodopa and Dopa
   Utility - NSPCT                                                                            2021-502918                              Japan                JP              Jul 19, 2019                                  2021-532098        Nov 25, 2021        Jan 19, 2021      Jul 19, 2018        Pending
                       Decarboxylase Inhibitor for Treatment of Parkinson's Disease

                        (014KR) Respiratory Tract Delivery of Levodopa and Dopa                                                      Republic of
   Utility - NSPCT                                                                          10-2021-7004903                                                KR               Jul 19, 2019                                10-2021-0034047      Mar 29, 2021       Feb 18, 2021       Jul 19, 2018        Pending
                       Decarboxylase Inhibitor for Treatment of Parkinson's Disease                                                    Korea

                        (014US) Respiratory Tract Delivery of Levodopa and Dopa                                                     United States
   Utility - NPREG                                                                            16/517,423           11,517,548                              US               Jul 19, 2019               Dec 6, 2022       2020-0046667        Feb 13, 2020                          Jul 19, 2018         Issued
                       Decarboxylase Inhibitor for Treatment of Parkinson's Disease                                                  of America

                       (014USC1) Respiratory Tract Delivery of Levodopa and Dopa                                                    United States
    Utility - CON                                                                             18/313,330                                                   US              May 6, 2023                                                                                             Jul 19, 2018        Pending
                       Decarboxylase Inhibitor for Treatment of Parkinson's Disease                                                  of America
                                                                                                                                                                                                                         2022-0233486         Jul 28, 2022
                       (014USD1) Respiratory Tract Delivery of Levodopa and Dopa                                                    United States
     Utility - DIV                                                                            17/682,033           11,690,819                              US              Feb 28, 2022                 Jul 4, 2023                                                                Jul 19, 2018         Issued
                       Decarboxylase Inhibitor for Treatment of Parkinson's Disease                                                  of America
   Utility - NSPCT                  (015AU) Nasal Drug Delivery Device                        2019418744           2019418744         Australia            AU              Dec 17, 2019                Nov 16, 2023       2019418744          Jul 22, 2021      Jun 28, 2021       Jan 3, 2019         Issued
   Utility - NSPCT                  (015BR) Nasal Drug Delivery Device                    BR 11 2021 013244-9                           Brazil             BR              Dec 17, 2019                                                                          Jul 5, 2021       Jan 3, 2019         Pending
   Utility - NSPCT                  (015CA) Nasal Drug Delivery Device                         3,125,430                               Canada              CA              Dec 17, 2019                                                                         Jun 29, 2021       Jan 3, 2019         Allowed
   Utility - NSPCT                  (015CN) Nasal Drug Delivery Device                      201980092137.5      ZL 201980092137.5       China              CN              Dec 17, 2019                Sep 9, 2022      CN 113473967 A        Oct 1, 2021       Aug 13, 2021       Jan 3, 2019          Issued

                                                                                                                                     European
   Utility - NSPCT                  (015EP) Nasal Drug Delivery Device                        19907973.2                                                   EP              Dec 17, 2019                                    3906017           Nov 10, 2021        Jul 1, 2021       Jan 3, 2019         Pending
                                                                                                                                    Patent Office
    Utility - ORG                   (015HK) Nasal Drug Delivery Device                      62022053022.9                            Hong Kong             HK              Dec 17, 2019                                                                          Jun 24, 2022      Jan 3, 2019         Pending
   Utility - NSPCT                   (015IL) Nasal Drug Delivery Device                        284362                284362            Israel               IL             Dec 17, 2019                May 2, 2023          284362           Feb 1, 2023         Jun 24, 2021      Jan 3, 2019          Issued
   Utility - NSPCT                  (015IN) Nasal Drug Delivery Device                      202147033648                                India              IN              Dec 17, 2019                                  202147033648        Jul 30, 2021         Jul 27, 2021     Jan 3, 2019         Pending
   Utility - NSPCT                   (015JP) Nasal Drug Delivery Device                      2021-539346            7213991            Japan               JP              Dec 17, 2019                Jan 19, 2023       2022-517757        Mar 10, 2022          Jul 5, 2021     Jan 3, 2019          Issued
                                                                                                                                     Republic of
   Utility - NSPCT                  (015KR) Nasal Drug Delivery Device                      10-2021-7023935                                                KR              Dec 17, 2019                                 10-2021-0109007       Sep 3, 2021        Jul 27, 2021      Jan 3, 2019         Allowed
                                                                                                                                       Korea

   Utility - NSPCT                  (015MX) Nasal Drug Delivery Device                     MX/a/2021/008082                           Mexico               MX              Dec 17, 2019                                MX/a/2021/008082       Sep 1, 2021        Jul 1, 2021       Jan 3, 2019         Allowed

   Utility - NSPCT                  (015NZ) Nasal Drug Delivery Device                          777687                              New Zealand            NZ              Dec 17, 2019                                                                          Jun 28, 2021      Jan 3, 2019         Pending

   Utility - NSPCT                  (015SG) Nasal Drug Delivery Device                       11202107019V                            Singapore             SG              Dec 17, 2019                                                                          Jun 26, 2021      Jan 3, 2019         Pending

                                                                                                                                    United States
   Utility - NSPCT                  (015US) Nasal Drug Delivery Device                        17/420,640           11,759,585                              US              Dec 17, 2019                Sep 19, 2023      2022-0088327        Mar 24, 2022        Jul 2, 2021       Jan 3, 2019         Issued
                                                                                                                                     of America
   Utility - NSPCT                   (015ZA) Nasal Drug Delivery Device                       2021/04682           2021/04682       South Africa           ZA              Dec 17, 2019                Nov 30, 2022                                              Jul 5, 2021       Jan 3, 2019          Issued
   Utility - NSPCT                (016AU) Single-Use Nasal Delivery Device                    2020277313                             Australia             AU              May 15, 2020                                                                         Dec 12, 2021      May 17, 2019         Pending
   Utility - NSPCT                (016BR) Single-Use Nasal Delivery Device                BR 11 2021 023049-1                          Brazil              BR              May 15, 2020                                                                         Nov 17, 2021      May 17, 2019         Pending
   Utility - NSPCT                (016CA) Single-Use Nasal Delivery Device                     3,140,374                              Canada               CA              May 15, 2020                                                                         Nov 12, 2021      May 17, 2019         Pending
   Utility - NSPCT                 (016CN Single-Use Nasal Delivery Device                  202080046714.X                             China               CN              May 15, 2020                                 CN 114025816 A        Feb 8, 2022       Dec 24, 2021      May 17, 2019         Pending

                                                                                                                                     European
   Utility - NSPCT                (016EP) Single-Use Nasal Delivery Device                    20808724.7                                                   EP              May 15, 2020                                    3969085           Mar 23, 2022       Nov 19, 2021      May 17, 2019         Pending
                                                                                                                                    Patent Office
    Utility - ORG                 (016HK) Single-Use Nasal Delivery Device                  62022054694.4                            Hong Kong             HK              May 15, 2020                                    40066820                             Aug 26, 2022      May 17, 2019         Pending
   Utility - NSPCT                (016IN) Single-Use Nasal Delivery Device                  202147057493                                India              IN              May 15, 2020                                  202147057493        Jan 28, 2022       Dec 10, 2021      May 17, 2019         Pending
   Utility - NSPCT                (016JP) Single-Use Nasal Delivery Device                   2021-568728                               Japan               JP              May 15, 2020                                   2022-532259        Jul 13, 2022       Nov 17, 2021      May 17, 2019         Pending
                                                                                                                                     Republic of
   Utility - NSPCT                (016KR) Single-Use Nasal Delivery Device                  10-2021-7041344                                                KR              May 15, 2020                                 10-2022-0010011      Jan 25, 2022       Dec 16, 2021      May 17, 2019         Pending
                                                                                                                                       Korea

                                                                                                                                    United States
   Utility - NPREG                (016US) Single-Use Nasal Delivery Device                    16/875,906                                                   US              May 15, 2020                                  2020-0360627        Nov 19, 2020                         May 17, 2019         Allowed
                                                                                                                                     of America
                        (018AU) Repeated Administration of Dihydroergotamine for
   Utility - NSPCT                                                                            2021207626                              Australia            AU              Jan 13, 2021                                                                          Aug 4, 2022       Jan 14, 2020        Pending
                                Treatment of Frequent Migraine Headaches
                        (018BR) Repeated Administration of Dihydroergotamine for
   Utility - NSPCT                                                                        BR 11 2022 013796-6                          Brazil              BR              Jan 13, 2021                                                                          Jul 12, 2022      Jan 14, 2020        Pending
                                Treatment of Frequent Migraine Headaches
                        (018CA) Repeated Administration of Dihydroergotamine for
   Utility - NSPCT                                                                             3,167,555                              Canada               CA              Jan 13, 2021                                                                          Jul 11, 2022      Jan 14, 2020        Pending
                                Treatment of Frequent Migraine Headaches
                         (018CN Repeated Administration of Dihydroergotamine for
   Utility - NSPCT                                                                          202180020957.0                             China               CN              Jan 13, 2021                                 CN 115279371 A        Nov 1, 2022       Sep 13, 2022       Jan 14, 2020        Pending
                                Treatment of Frequent Migraine Headaches

                        (018EP) Repeated Administration of Dihydroergotamine for                                                     European
   Utility - NSPCT                                                                            21741027.3                                                   EP              Jan 13, 2021                                    4090331           Nov 23, 2022        Jul 19, 2022      Jan 14, 2020        Pending
                               Treatment of Frequent Migraine Headaches                                                             Patent Office




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                     (018HK) Repeated Administration of Dihydroergotamine for
    Utility - ORG                                                                 62022064577.9                       Hong Kong             HK              Jan 13, 2021                                  40075485                             Nov 24, 2022       Jan 14, 2020        Pending
                             Treatment of Frequent Migraine Headaches
                     (018JP) Repeated Administration of Dihydroergotamine for
   Utility - NSPCT                                                                  2022-543038                         Japan                JP             Jan 13, 2021                                 2023-511547        Mar 20, 2023        Jul 14, 2022      Jan 14, 2020        Pending
                             Treatment of Frequent Migraine Headaches


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                                              TITLE                             APPLICATION NUMBER   PATENT NUMBER    COUNTRY                                FILE DATE                  ISSUE DATE   PUBLICATION NUMBER   PUBLICATION DATE   LOCAL FILING DATE   PRIORITY DATE        STATUS
        TYPE                                                                                                                              WIPO ID

                     (018KR) Repeated Administration of Dihydroergotamine for                                         Republic of
   Utility - NSPCT                                                                10-2022-7028096                                           KR              Jan 13, 2021                               10-2022-0129586      Sep 23, 2022       Aug 12, 2022       Jan 14, 2020        Pending
                            Treatment of Frequent Migraine Headaches                                                    Korea

   Utility - NPREG   (018US) Repeated Administration of Dihydroergotamine for                                        United States
                            Treatment of Frequent Migraine Headaches                17/148,154                        of America            US              Jan 13, 2021                                2021-0236485         Aug 5, 2021                          Jan 14, 2020        Pending


 Utility - NPREG     (018US) Repeated Administration of Dihydroergotamine for       18/482,856                       United States                           Oct 7, 2023                                                                                                              Pending
                            Treatment of Frequent Migraine Headaches                                                  of America            US




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IMPEL                          Austria                10             6/22/2017            6/22/2017        6/22/2027      Registered

                                                                     A0068020             IR 1361080



IMPEL                          Canada                 10, 42, 44     6/23/2017            10/27/2020       10/27/2030     Registered

                                                                     1844268              TMA1086254



IMPEL                          China                  10             6/22/2017            6/22/2017        6/22/2027      Registered

                                                                     A0068020             IR 1361080



IMPEL                          EUTM                   10             6/22/2017            6/22/2017        6/22/2027      Registered

                                                                     A0068020             IR 1361080



IMPEL                          India                  10             6/22/2017            6/22/2017        6/22/2027      Registered

                                                                     A0068020             IR 1361080



IMPEL                          Japan                  10             6/22/2017            6/22/2017        6/22/2027      Registered

                                                                     A0068020             IR 1361080



IMPEL                          Mexico                 10             6/22/2017            6/22/2017        6/22/2027      Registered

                                                                     1934521 / A0068020   IR 1361080 /
                                                                                          2477867


IMPEL                          South Korea            10             6/22/2017            6/22/2017        6/22/2027      Registered

                                                                     A0068020             IR 1361080



IMPEL                          United Kingdom         10             6/22/2017            6/22/2017        6/22/2027      Registered

                                                                     A0068020             IR 1361080




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IMPEL                                             United Kingdom           10                  6/22/2017            6/22/2017         6/22/2027      Registered

                                                                                               UK00801361080        UK00801361080



IMPEL                                             United States            10, 42              12/23/2016           7/18/2017         7/18/2027      Registered

                                                                                               87279985             5246085



IMPEL                                             WIPO                     10                  6/22/2017            6/22/2017         6/22/2027      Registered

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IMPEL (and IMPEL Logo)                            Australia                10                  9/13/2019            5/11/2020         9/13/2029      Registered

                                                                                               2037078              2037078




IMPEL (in simplified Chinese                      China                    10                  7/21/2017            7/21/2018         7/20/2028      Registered
characters)
                                                                                               25444110             25444110




IMPEL DOTS Logo (in color)                        Australia                5, 10, 35, 42, 44   10/4/2022            10/4/2022         10/4/2032      Registered

                                                                                               A0128057 / 2315410   IR 1696890




IMPEL DOTS Logo (in color)                        Canada                   5, 10, 35, 42, 44   10/4/2022                                             Pending

                                                                                               A0128057 / 2222811   IR 1696890




IMPEL DOTS Logo (in color)                        China                    10                  10/4/2022                                             Pending

                                                                                               A0128057             IR 1696890




IMPEL DOTS Logo (in color)                        EUTM                     5, 10, 35, 42, 44   10/4/2022            10/4/2022         10/4/2032      Registered

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IMPEL DOTS Logo (in color)                      Mexico                10                  10/4/2022                                 Pending

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IMPEL DOTS Logo (in color)                      Mexico                35                  10/4/2022                                 Pending

                                                                                          A0128057    IR 1696890




IMPEL DOTS Logo (in color)                      Mexico                42                  10/4/2022                                 Pending

                                                                                          A0128057    IR 1696890




IMPEL DOTS Logo (in color)                      Mexico                44                  10/4/2022                                 Pending

                                                                                          A0128057    IR 1696890




IMPEL DOTS Logo (in color)                      Mexico                                    10/4/2022                                 Pending

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IMPEL DOTS Logo (in color)                      South Korea           5, 10, 35, 42, 44   10/4/2022                                 Pending

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IMPEL DOTS Logo (in color)                      United Kingdom        5, 10, 35, 42, 44   10/4/2022   10/4/2022      10/4/2032      Registered
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IMPEL DOTS Logo (in color)                      United States            5, 10, 35, 42, 44   4/5/2022                                  Pending

                                                                                             97347411




IMPEL DOTS Logo (in color)                      WIPO                     5, 10, 35, 42, 44   10/4/2022   10/4/2022      10/4/2032      Registered
                                                                                             A0128057    IR 1696890




IMPEL Logo                                      Australia                10                  6/23/2017   6/23/2017      6/23/2027      Registered
                                                                                             A0068043    IR 1362565




IMPEL Logo                                      Canada                   10, 42, 44          6/23/2017   2/18/2021      2/18/2031      Registered
                                                                                             1844270     TMA1093962




IMPEL Logo                                      China                    10                  6/23/2017   6/23/2017      6/23/2027      Registered
                                                                                             A0068043    IR 1362565




IMPEL Logo                                      EUTM                     10                  6/23/2017   6/23/2017      6/23/2027      Registered
                                                                                             A0068043    IR 1362565




IMPEL Logo                                      India                    10                  6/23/2017   6/23/2017      6/23/2027      Registered
                                                                                             A0068043    IR 1362565




IMPEL Logo                                      Japan                    10                  6/23/2017   6/23/2017      6/23/2027      Registered
                                                                                             A0068043    IR 1362565




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IMPEL Logo                      Mexico                10             6/23/2017            6/23/2017         6/23/2027      Registered

                                                                     1941236 / A0068043   1976573 / IR
                                                                                          1362565



IMPEL Logo                      South Korea           10             6/23/2017            6/23/2017         6/23/2027      Registered

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IMPEL Logo                      United Kingdom        10             6/23/2017            6/23/2017         6/23/2027      Registered

                                                                     A0068043             IR 1362565


IMPEL Logo                      United Kingdom        10             6/23/2017            6/23/2017         6/23/2027      Registered

                                                                     UK00801362565        UK00801362565




IMPEL Logo                      WIPO                  10             6/23/2017            6/23/2017         6/23/2027      Registered

                                                                     A0068043             IR 1362565




IMPELPOD                        Canada                10             7/2/2020                                              Pending

                                                                     2037728



IMPELPOD                        China                 10             8/14/2018            4/28/2019         4/27/2029      Registered

                                                                     32866749             32866749



IMPELPOD                        Japan                 10             6/4/2018             5/10/2019         5/10/2029      Registered

                                                                     2018073552           6142856



IMPELPOD                        Mexico                10             9/13/2018                                             Pending

                                                                     2099268




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                                                                        152Date    Reg. Date
Trademark   TM Image           Country                  Class          App. No.        Reg. No.          Next Renewal   Status
IMPELPOD                       South Korea              10             5/15/2018       2/14/2019         2/14/2029      Registered

                                                                       4020180065479   401447269



POD                            Australia                10             6/23/2017       6/23/2017         6/23/2027      Registered

                                                                       A0068025        1868238 / IR
                                                                                       1361766


POD                            EUTM                     10             6/23/2017       6/12/2017         6/23/2027      Registered

                                                                       A0068025        IR 1361766



POD                            India                    10             6/23/2017       6/23/2017         6/23/2027      Registered

                                                                       A0068025        IR 1361766



POD                            United Kingdom           10             6/23/2017       6/23/2017         6/23/2027      Registered

                                                                       A0068025        IR 1361766
POD                            United Kingdom           10             6/23/2017       6/12/2017         6/23/2027      Registered

                                                                       UK00801361766   UK00801361766



POD                            United States            10             1/3/2017        3/20/2018         3/20/2028      Registered

                                                                       87288146        5425969



POD                            WIPO                     10             6/23/2017       6/23/2017         6/23/2027      Registered

                                                                       A0068025        IR 1361766



TRUDHESA                       Australia                5              2/12/2020       9/21/2020         2/12/2030      Registered

                                                                       2068247         2068247



TRUDHESA                       Canada                   5              2/12/2020                                        Pending

                                                                       2011118




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                                                                      152Date    Reg. Date
Trademark   TM Image           Country                Class          App. No.        Reg. No.          Next Renewal   Status
TRUDHESA                       China                  5              2/13/2020       10/21/2020        10/20/2030     Registered

                                                                     44059589        44059589



TRUDHESA                       EUTM                   5              2/12/2020       6/13/2020         2/12/2030      Registered

                                                                     018194677       018194677



TRUDHESA                       India                  5              2/14/2020       10/22/2020        2/14/2030      Registered

                                                                     4441189         4441189



TRUDHESA                       Japan                  5              2/13/2020       10/6/2020         10/6/2030      Registered

                                                                     2020015209      6300807



TRUDHESA                       Mexico                 5              2/12/2020       10/5/2020         2/12/2030      Registered

                                                                     2329211         2152309



TRUDHESA                       South Korea            5              2/12/2020       11/12/2020        11/12/2030     Registered

                                                                     4020200022924   401661992



TRUDHESA                       United Kingdom         5              2/12/2020       8/8/2020          2/12/2030      Registered

                                                                     3466091         3466091
TRUDHESA                       United Kingdom         5              2/12/2020       6/13/2020         2/12/2030      Registered

                                                                     UK00918194677   UK00918194677



TRUDHESA                       United States          35, 44         8/16/2021       11/22/2022        11/22/2032     Registered

                                                                     90885069        6908531



TRUDHESA                       United States          5              8/14/2019       3/1/2022          3/1/2032       Registered

                                                                     88578186        6660150




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                                                                          152Date    Reg. Date
Trademark       TM Image           Country                Class          App. No.    Reg. No.      Next Renewal   Status
TRUDHESA Logo                      United States          5              1/21/2020    4/5/2022     4/5/2032       Registered

                                                                         88768014     6694745


                                                                                                                    Record Count 64




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        SCHEDULES OF ASSETS AND LIABILITIES


                      EXHIBIT FOR SCHEDULE AB

                        PART 10, QUESTION 61

          INTERNET DOMAIN NAMES AND WEBSITES
        Case 23-80016-sgj11           Doc 169 Filed 01/19/24 Entered 01/19/24 00:06:07                       Desc
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Impel Pharmaceuticals Inc.
Case No. 23‐80016
Schedule AB 61. Internet domain names and websites.


                                                                                        Valuation method
                                        Ownership                   Net Book Value of    used for current   Current value of
        Website and Domain Name           Date      Expiration Date Debtor's Interest         value         debtor's interest
  IMPELNEUROPHARMA.COM                    8/11/2008      8/11/2024 Undetermined          Net Book Value       Undetermined
  IMPELNP.COM                              3/4/2014       3/4/2024 Undetermined          Net Book Value       Undetermined
  IMPELRX.COM                             4/23/2015      4/23/2025 Undetermined          Net Book Value       Undetermined
  aboutdhephi.com                         10/3/2018      10/3/2028 Undetermined          Net Book Value       Undetermined
  dhephirx.com                            10/3/2018      10/3/2028 Undetermined          Net Book Value       Undetermined
  impelnp.info                             2/3/2019       2/3/2024 Undetermined          Net Book Value       Undetermined
  impelnp.net                              2/3/2019       2/3/2024 Undetermined          Net Book Value       Undetermined
  impelnp.biz                             3/21/2019      3/21/2024 Undetermined          Net Book Value       Undetermined
  impelnp.co                              3/21/2019      3/21/2024 Undetermined          Net Book Value       Undetermined
  impelnp.co.uk                           3/21/2019      3/21/2024 Undetermined          Net Book Value       Undetermined
  impelnp.io                              3/21/2019      3/21/2024 Undetermined          Net Book Value       Undetermined
  impelnp.online                          3/21/2019      3/21/2024 Undetermined          Net Book Value       Undetermined
  impelnp.us                              3/21/2019      3/21/2024 Undetermined          Net Book Value       Undetermined
  impelnponline.com                       3/21/2019      3/21/2024 Undetermined          Net Book Value       Undetermined
  myimpelnp.com                           3/21/2019      3/21/2024 Undetermined          Net Book Value       Undetermined
  aboutdhe.com                            7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  aboutdhe.info                           7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  aboutdhe.net                            7/31/2019      7/31/2025 Undetermined          Net Book Value        Undetermined
  aboutdhe.org                            7/31/2019      7/31/2025 Undetermined          Net Book Value        Undetermined
  trudhesa.com                            7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  trudhesa.info                           7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  trudhesa.net                            7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  trudhesa.org                            7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  trudhesahcp.com                         7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  trudhesahcp.info                        7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  trudhesahcp.net                         7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  trudhesahcp.org                         7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  tulifta.com                             7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  tulifta.info                            7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  tulifta.net                             7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  tulifta.org                             7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  tuliftahcp.com                          7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  tuliftahcp.info                         7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  tuliftahcp.net                          7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  tuliftahcp.org                          7/31/2019      7/31/2025 Undetermined          Net Book Value       Undetermined
  reroutemigrainerelief.com               4/28/2022     12/17/2025 Undetermined          Net Book Value       Undetermined
  impelvva.com                             3/4/2021        3/4/2024 Undetermined         Net Book Value       Undetermined
  reroutemigrainereliefhcp.com            4/28/2022      3/23/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.biz                         12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.co.uk                       12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.com                         12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.info                        12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.io                          12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.mobi                        12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.net                         12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.org                         12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.us                          12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.biz                12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.co.uk              12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.com                12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.info               12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined

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Impel Pharmaceuticals Inc.
Case No. 23‐80016
Schedule AB 61. Internet domain names and websites.


                                                                                        Valuation method
                                        Ownership                   Net Book Value of    used for current   Current value of
       Website and Domain Name            Date      Expiration Date Debtor's Interest         value         debtor's interest
  impelpharmaceuticals.io                 12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.mobi               12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.net                12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.org                12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.us                 12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelrx.biz                             12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelrx.co.uk                           12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelrx.info                            12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelrx.io                              12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelrx.mobi                            12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelrx.net                             12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelrx.org                             12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelrx.us                              12/1/2021      12/1/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.co                          12/1/2021      12/2/2026 Undetermined          Net Book Value       Undetermined
  impelpharma.online                      12/1/2021      12/2/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.co                 12/1/2021      12/2/2026 Undetermined          Net Book Value       Undetermined
  impelpharmaceuticals.online             12/1/2021      12/2/2026 Undetermined          Net Book Value       Undetermined
  impelrx.co                              12/1/2021      12/2/2026 Undetermined          Net Book Value       Undetermined
  impelrx.online                          12/1/2021      12/2/2026 Undetermined          Net Book Value       Undetermined
  hightechdeliveryformigraine.com         3/30/2022      3/30/2027   Undetermined        Net Book Value       Undetermined
  impelboothexperience.com                3/30/2022      3/30/2027 Undetermined          Net Book Value       Undetermined
  impelboothonline.com                    3/30/2022      3/30/2027 Undetermined          Net Book Value       Undetermined
  impelmigrainebooth.com                  3/30/2022      3/30/2027 Undetermined          Net Book Value       Undetermined
  treatmigrainethroughthenose.com         3/30/2022      3/30/2027 Undetermined          Net Book Value       Undetermined
                                                                     Undetermined        Net Book Value       Undetermined




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        SCHEDULES OF ASSETS AND LIABILITIES

                      EXHIBIT FOR SCHEDULE AB

                        PART 11, QUESTION 73

     INTERESTS IN INSURANCE POLICIES OR ANNUITIES
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Impel Pharmaceuticals Inc.
Case No. 23‐80016
Schedule AB 73. Interests in insurance policies or annuities.

                                                                                                                                                                                                                         Current value of debtor's
                          Company                            Account number / Policy number                                     Description                                   Beneficiary            Insured party               interest
   Phoenix Insurance Company                                 H6309T03997APHX23                Domestic Package (Property, General Liability)                             Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Travelers Indemnity Company of America                    8109T02656723I2G                 Commercial Automobile                                                      Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   ACE American Insurance Company                            PHFD96470460001                  Foreign Package                                                            Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Travelers Prop Casualty Company of America                UB1W57252623I2G                  Workers Compensation                                                       Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Travelers Prop Casualty Company of America                CUP0X68428223I2                  Umbrella                                                                   Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Westfield Specialty Insurance Company                     XSL00004J702                     Excess Liability                                                           Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Underwriters at Lloyd, London (Beazley)                   W1565A231001                     Product & Clinical Trial Liability                                         Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Illinois Union Insurance Company                          PPLG4680272A004                  Pollution Liability                                                        Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Beazley Insurance Company                                 FALV14SIO23PNGF                  Cargo                                                                      Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Underwriters at Lloyd, London (Beazley)                   W23F7A230601                     Cyber                                                                      Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Hiscox Insurance Company Inc.                             UKA301942222                     Special Contingency                                                        Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Endurance American Specialty Insurance Company            MAP30015689500                   Management Liability (Employment Prac ces Liability, FiduciaryLiability)   Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Travelers Casualty and Surety Companyof America           107431269                        ERISA Bond                                                                 Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Axis Insurance Company                                    P‐001‐000836447‐02               Directors & Officers Liability ($5M Primary)                               Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Hudson Insurance Company                                  HN‐0303‐7389‐042323              1st Excess Directors & Officers Liability $5M x $5M                        Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Endurance American Insurance                              DOX30018708701                   2nd Excess Directors & Officers Liability $5M x $10M                       Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Atlantic Specialty Insurance                              MMX‐04436‐23                     3rd Excess Directors & Officers Liability $5M x $15M                       Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   ACE American Insurance                                    DOX G71091405 002                4th Excess Side‐A and DIC Directors & Officers Liability $5M x $20M        Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Old Republic Insurance Company                            ORPRO 12 103417                  5th Excess Side‐A and DIC Directors & Officers Liability $5M x $25M        Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
   Hiscox Insurance Company Inc.                             UC2481263023                     Crime                                                                      Impel Pharmaceuticals   Impel Pharmaceuticals       Undetermined
                                                     Total                                                                                                                                                                  Undetermined




                                                                                                                               Page 1 of 1
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Debtor Name           Impel Pharmaceuticals Inc.
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United States Bankruptcy Court for the Northern District of Texas
Case number (if known):                  23-80016                                                                                                               Check if this is an
                                                                                                                                                                amended filing
Official Form 206D
Schedule D - Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
   X Yes. Fill in all of the information below.
  Part 1:         List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims.If a creditor has more than one                                     Amount of Claim            Value of collateral
   secured claim, list the creditor separately for each claim.                                                                            Do not deduct the        that supports this
                                                                                                                                          value of collateral      claim

2.1   Creditor's name                                                  Describe debtor's property that is subject to a lien
      OAKTREE FUND ADMINISTRATION, LLC                                 SECURED BY SUBSTANTIALLY ALL REAL, PERSONAL,
                                                                       AND MIXED                                                            $127,026,463.65                UNKNOWN
      Creditor's mailing address                                       PROPERTY OF IMPEL, SUBJECT TO THE EXCLUSIONS
      251 LITTLE FALLS DR                                              SPECIFIED
      WILMINGTON, DE 19808                                             IN THE UNDERLYING SECURITY DOCUMENTS


                                                                       Describe the lien

                                                                        Senior Secured Loans
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred                                               No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Specify each creditor, including this                As of the petition filing date, the claim is:
             creditor, and its relative priority.
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines




3. Total of the dollar amounts from Part 1, Column A, including the amounts from the                                                   $127,026,463.65
   Additional Page, if any.

 Official Form 206D                                     Schedule D: Creditors Who Have Claims Secured by Property                                      1 of 1
                  Case 23-80016-sgj11              Doc 169        Filed 01/19/24 Entered 01/19/24 00:06:07                              Desc
Debtor Name            Impel Pharmaceuticals Inc. Main Document             Page 60 of 152
United States Bankruptcy Court for the Northern District of Texas
Case number (if known):               23-80016                                                                                      Check if this is an
                                                                                                                                    amended filing
Official Form 206E/F
Schedule E/F - Creditors Who Have Claims Unsecured Claims                                                                                         12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

  Part 1:        List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?
       No. Go to Part 2.
      X Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                                Total claim             Priority amount

2.1        Priority creditor's name and mailing address         As of the petition filing date, the claim is:         $874.00                   $874.00
           COBRA
           7500 SECURITY BLVD                                    X Contingent
           MAIL STOP C1-22-06                                       Unliquidated
           BALTIMORE, MD 21244
                                                                    Disputed
                                                                Basis for the claim:
           Date or dates debt was incurred
                                                                WAGE MOTION



           Last 4 digits of account
           number                                               Is the claim subject to offset?
                                                                     No
           Specify Code subsection of PRIORITY unsecured             Yes
           claim: 11 U.S.C. § 507(a) ( 5    )

2.2        Priority creditor's name and mailing address         As of the petition filing date, the claim is:       $10,617.00               $10,617.00
           NAME REDACTED
           ADDRESS REDACTED                                      X Contingent
                                                                    Unliquidated
                                                                    Disputed
                                                                Basis for the claim:
           Date or dates debt was incurred
                                                                WAGE MOTION



           Last 4 digits of account
           number                                               Is the claim subject to offset?
                                                                     No
           Specify Code subsection of PRIORITY unsecured             Yes
           claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.3        Priority creditor's name and mailing address         As of the petition filing date, the claim is:       $13,613.00               $13,613.00
           NAME REDACTED
           ADDRESS REDACTED                                      X Contingent
                                                                    Unliquidated
                                                                    Disputed
                                                                Basis for the claim:
           Date or dates debt was incurred
                                                                WAGE MOTION



           Last 4 digits of account
           number                                               Is the claim subject to offset?
                                                                     No
           Specify Code subsection of PRIORITY unsecured             Yes
           claim: 11 U.S.C. § 507(a) ( 4 and 5 )




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                1 of 44
                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.4       Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    61 the
                                                                            filing date, of claim
                                                                                            152 is:           $13,894.00           $13,894.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.5       Priority creditor's name and mailing address        As of the petition filing date, the claim is:    $3,187.00            $3,187.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.6       Priority creditor's name and mailing address        As of the petition filing date, the claim is:    $6,295.00            $6,295.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.7       Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $12,215.00           $12,215.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                          2 of 44
                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.8       Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    62 the
                                                                            filing date, of claim
                                                                                            152 is:           $15,150.00           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.9       Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $59,818.37           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.10      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $28,397.36           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.11      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $22,296.94           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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2.12      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    63 the
                                                                            filing date, of claim
                                                                                            152 is:           $18,558.36           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.13      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $20,466.30           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.14      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $18,612.89           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.15      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $19,293.72           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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2.16      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    64 the
                                                                            filing date, of claim
                                                                                            152 is:           $16,911.33           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.17      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $14,187.91           $14,187.91
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.18      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $14,175.10           $14,175.10
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.19      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $13,840.61           $13,840.61
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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2.20      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    65 the
                                                                            filing date, of claim
                                                                                            152 is:           $13,797.57           $13,797.57
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.21      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $17,246.32           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.22      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $16,495.56           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.23      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $14,748.38           $14,748.38
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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2.24      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    66 the
                                                                            filing date, of claim
                                                                                            152 is:           $10,380.00           $10,380.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.25      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $12,799.54           $12,799.54
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.26      Priority creditor's name and mailing address        As of the petition filing date, the claim is:    $3,036.70            $3,036.70
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.27      Priority creditor's name and mailing address        As of the petition filing date, the claim is:    $9,932.41            $9,932.41
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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2.28      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    67 the
                                                                            filing date, of claim
                                                                                            152 is:           $15,179.90           $15,150.00
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.29      Priority creditor's name and mailing address        As of the petition filing date, the claim is:    $3,259.11            $3,259.11
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.30      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $11,466.81           $11,466.81
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.31      Priority creditor's name and mailing address        As of the petition filing date, the claim is:    $8,970.30            $8,970.30
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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2.32      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    68 the
                                                                            filing date, of claim
                                                                                            152 is:           $8,523.91            $8,523.91
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.33      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $9,459.90            $9,459.90
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.34      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $9,245.94            $9,245.94
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.35      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $9,829.23            $9,829.23
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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2.36      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    69 the
                                                                            filing date, of claim
                                                                                            152 is:           $7,811.79             $7,811.79
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.37      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $7,418.60             $7,418.60
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.38      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $7,126.39             $7,126.39
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.39      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $8,008.13             $8,008.13
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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2.40      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    70 the
                                                                            filing date, of claim
                                                                                            152 is:           $6,833.08             $6,833.08
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.41      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $7,484.91             $7,484.91
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.42      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $7,274.77             $7,274.77
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.43      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $7,694.48             $7,694.48
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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2.44      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    71 the
                                                                            filing date, of claim
                                                                                            152 is:           $7,341.74             $7,341.74
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.45      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $8,812.57             $8,812.57
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.46      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $8,913.16             $8,913.16
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.47      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $6,139.28             $6,139.28
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.48      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    72 the
                                                                            filing date, of claim
                                                                                            152 is:           $7,631.55             $7,631.55
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.49      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $5,672.79             $5,672.79
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.50      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $9,224.94             $9,224.94
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.51      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $6,145.05             $6,145.05
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.52      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    73 the
                                                                            filing date, of claim
                                                                                            152 is:           $3,732.90             $3,732.90
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.53      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $8,297.45             $8,297.45
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.54      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $3,096.84             $3,096.84
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.55      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $5,335.07             $5,335.07
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.56      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    74 the
                                                                            filing date, of claim
                                                                                            152 is:           $4,698.96             $4,698.96
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.57      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $8,625.65             $8,625.65
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.58      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $4,695.02             $4,695.02
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.59      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $4,893.47             $4,893.47
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.60      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    75 the
                                                                            filing date, of claim
                                                                                            152 is:           $4,746.08             $4,746.08
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.61      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $4,720.70             $4,720.70
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.62      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $4,819.76             $4,819.76
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.63      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $3,182.76             $3,182.76
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.64      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    76 the
                                                                            filing date, of claim
                                                                                            152 is:           $4,800.70             $4,800.70
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.65      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $4,385.27             $4,385.27
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.66      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $4,937.68             $4,937.68
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.67      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $4,438.01             $4,438.01
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.68      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    77 the
                                                                            filing date, of claim
                                                                                            152 is:           $3,958.98             $3,958.98
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.69      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $4,397.76             $4,397.76
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.70      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $3,754.66             $3,754.66
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.71      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $4,078.75             $4,078.75
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.72      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    78 the
                                                                            filing date, of claim
                                                                                            152 is:           $3,695.56             $3,695.56
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.73      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $3,795.02             $3,795.02
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.74      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $3,551.60             $3,551.60
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.75      Priority creditor's name and mailing address        As of the petition filing date, the claim is:    $917.10                  $917.10
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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                  Case 23-80016-sgj11             Doc 169       Filed 01/19/24            Entered 01/19/24 00:06:07              Desc
2.76      Priority creditor's name and mailing address
                                                    Main Document
                                                          As of the petitionPage    79 the
                                                                            filing date, of claim
                                                                                            152 is:           $3,101.82             $3,101.82
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.77      Priority creditor's name and mailing address        As of the petition filing date, the claim is:   $3,196.46             $3,196.46
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )

2.78      Priority creditor's name and mailing address        As of the petition filing date, the claim is:    $217.33                  $217.33
          NAME REDACTED
          ADDRESS REDACTED                                     X Contingent
                                                                  Unliquidated
                                                                  Disputed
                                                              Basis for the claim:
          Date or dates debt was incurred
                                                              WAGE MOTION



          Last 4 digits of account
          number                                              Is the claim subject to offset?
                                                                   No
          Specify Code subsection of PRIORITY unsecured            Yes
          claim: 11 U.S.C. § 507(a) ( 4 and 5 )




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                  Case 23-80016-sgj11          Doc 169 Filed 01/19/24 Entered 01/19/24 00:06:07 Desc
Debtor Name            Impel Pharmaceuticals Inc. Main Document  Page 80 of 152
                                                                              Case number (if known): 23-80016

  Part 2:         List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim

3.1      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,024.55
         ALMAC CLINICAL SERVICES
         25 FRETZ RD                                                        Contingent
         SOUDERTON, PA 18964
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.2      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $173.14
         AMAZON
         410 TERRY AVE N                                                    Contingent
         SEATTLE, WA 98109
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.3      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $67,152.61
         AMEX
         200 VESEY ST                                                    X Contingent
         NEW YORK, NY 10285
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WAGE MOTION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.4      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,000.00
         ANDERSEN TAX
         100 1ST ST                                                         Contingent
         SAN FRANCISCO, CA 94105
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.5      Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    81 of
                                                                       the petition     152
                                                                                    filing date, the claim is:                      $420,935.02
         ASCENT HEALTH SERVICES LLC
         1 EXPRESS WAY                                                   X Contingent
         ST LOUIS, MO 63121
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.6      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $88,775.35
         ASPN PHARMACIES, LLC
         200 PARK AVE, STE 300                                           X Contingent
         FLORHAM PARK, NJ 07932
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CUSTOMER PROGRAMS



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.7      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $509,867.42
         ASPN PHARMACIES, LLC
         200 PARK AVE, STE 300                                           X Contingent
         FLORHAM PARK, NJ 07932
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.8      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,086.45
         BAKER TILLY US, LLP
         8626 N HIMES AVE                                                   Contingent
         TAMPA, FL 33614
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                  Case 23-80016-sgj11            Doc 169       Filed 01/19/24          Entered 01/19/24 00:06:07                   Desc
3.9      Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    82 of
                                                                       the petition     152
                                                                                    filing date, the claim is:                        $7,350.00
         BEANWORKS SOLUTIONS
         1159 HAMILTON ST                                                   Contingent
         VANCOUVER, BC V6B 5P6
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.10     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,542.42
         BMR-201 ELLIOTT AVENUE LLC
         RE: BIOMED REALTY                                                  Contingent
         17190 BERNARDO CENTER DR
         SAN DIEGO, CA 92128
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.11     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $53,013.32
         CARDINAL HEALTH
         7000 CARDINAL PL                                                X Contingent
         DUBLIN, OH 43017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CUSTOMER PROGRAMS



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.12     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $14,590.44
         CAREMARK LLC
         1 CVS DR                                                        X Contingent
         WOONSOCKET, RI 02895
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                  Case 23-80016-sgj11            Doc 169       Filed 01/19/24          Entered 01/19/24 00:06:07                   Desc
3.13     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    83 of
                                                                       the petition     152
                                                                                    filing date, the claim is:                       $10,000.00
         CAREMARK LLC
         1 CVS DR                                                        X Contingent
         WOONSOCKET, RI 02895
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.14     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $12,260.22
         CAREPOINT HEALTHCARE LLC
         9 COMMERCE DR                                                   X Contingent
         SCHAUMBURG, IL 60173
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CUSTOMER PROGRAMS



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.15     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $141,131.32
         CAREPOINT HEALTHCARE LLC
         9 COMMERCE DR                                                   X Contingent
         SCHAUMBURG, IL 60173
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.16     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $45,279.20
         CCG CORPORATE MAILINGS, INC
         14 HENDERSON DR                                                    Contingent
         W CALDWELL, NJ 07006
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.17     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    84 of
                                                                       the petition     152
                                                                                    filing date, the claim is:                         $613.43
         CDW
         200 N MILWAUKEE AVE                                                Contingent
         VERNON HILLS, IL 60061
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.18     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $31,290.56
         CFI WORKSPACE
         7001 N PARK DR                                                     Contingent
         PENNSAUKEN, NJ 08109
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.19     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $56,921.70
         CITELINE
         CAERUS US 1 INC                                                    Contingent
         1 PENN PLZ, STE 2505
         NEW YORK, NY 10119
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.20     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,472.74
         CLEANEARTH
         29338 NETWORK PL                                                   Contingent
         CHICAGO, IL 60673
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.21     Nonpriority creditor's name and mailing address
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                                                                       the petition     152
                                                                                    filing date, the claim is:                       $26,675.36
         CLINIGEN CSM, INC
         342 42ND ST                                                        Contingent
         S FARGO, ND 58103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.22     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $6,120.00
         CLOSE CONSULTING
         9899 ZIG ZAG RD                                                    Contingent
         CINCINNATI, OH 45242
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.23     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,677.42
         CMTJ & ASSOCIATES
         ATTN: CLAUDIA MCGOLDRICK                                           Contingent
         117 SPUR LN
         W CHESTER, PA 19382
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.24     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $13,894.25
         COBBLESTONE SYSTEMS CORP
         428 S WHITE HORSE PIKE                                             Contingent
         LINDENWOOD, NJ 08021
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.25     Nonpriority creditor's name and mailing address
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                                                                                    filing date, the claim is:                            $9,691.50
         CONNOR GROUP
         60 E 42ND ST, STE 920                                                  Contingent
         NEW YORK, NY 10165
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     TRADE PAYABLE



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $22,411.74
         CPA GLOBAL
         2318 MILL RD, 12TH FL                                                  Contingent
         ALEXANDRIA, VA 22314
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     TRADE PAYABLE



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $4,913.00
         DEERFIELD AGENCY, LLC
         555 E NORTH LN, BLDG D, STE 5020, W LOBBY                              Contingent
         CONSHOHOCKEN, PA 19428
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     TRADE PAYABLE



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $3,282.98
         DIGITAL MEDIA (INTRADO)
         770 N HALSTED ST, STE 500                                              Contingent
         CHICAGO, IL 60642
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     TRADE PAYABLE



         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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3.29     Nonpriority creditor's name and mailing address
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                                                                                    filing date, the claim is:                        $4,000.00
         DIVIDEND GROUP LLC
         330 N BRAND BLVD, STE 700                                       X Contingent
         GLENDALE, CA 91203
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.30     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $40,650.88
         DONNELLEY FINANCIAL SOLUTIONS
         35 W WACKER DR                                                     Contingent
         CHICAGO, IL 60601
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.31     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,879.07
         EMERALD SEARCH PARTNERS
         600 UNIVERSITY ST                                               X Contingent
         SEATTLE, WA 98101
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WAGE MOTION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.32     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,250.00
         EPL ARCHIVES
         45610 TERMINAL DR                                                  Contingent
         STERLING, VA 20166
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.33     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    88 of
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                                                                                    filing date, the claim is:                        $1,650.89
         EQUINITY TRUST CO
         6201 15TH AVE                                                      Contingent
         BROOKLYN, NY 11219
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.34     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $39,870.99
         EXPRESS SCRIPTS INC
         1 EXPRESS WAY                                                   X Contingent
         ST LOUIS, MO 63121
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.35     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $10,000.00
         EXPRESS SCRIPTS INC
         1 EXPRESS WAY                                                   X Contingent
         ST LOUIS, MO 63121
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.36     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $4.97
         FEDEX
         942 S SHADY GROVE RD                                               Contingent
         MEMPHIS, TN 38120
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.37     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    89 of
                                                                       the petition     152
                                                                                    filing date, the claim is:                        $3,240.90
         FISHER & PHILLIPS LLP
         2 LOGAN SQ                                                         Contingent
         100 N 18TH ST, 12TH FL
         PHILADELPHIA, PA 19103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.38     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,295.00
         FRONTIERS MEDIA SA
         AVENUE DU TRIBUNAL-FEDERAL 34                                      Contingent
         LAUSANNE, 1005
         SWITZERLAND
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.39     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $292,661.03
         GOOD APPLE
         P.O. BOX 1695                                                      Contingent
         LAKEVILLE, CT 06039
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.40     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $770.65
         GREATLAND
         2480 WALKER AVE                                                    Contingent
         GRAND RAPIDS, MI 49544
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.41     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    90 of
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                                                                                    filing date, the claim is:                       $45,657.20
         HEALTHCARE ALLIANCE GROUP
         101 LAUREL RD, STE 100                                             Contingent
         VOORHEES, NJ 08043
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.42     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $17,684.01
         IMPRINT SCIENCE
         3 COLUMBUS CIR, 7TH FL                                             Contingent
         NEW YORK, NY 10019
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.43     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $12,107.99
         INSIGHTSOFTWARE
         8529 SIX FORKS RD, STE 300                                         Contingent
         RALEIGH, NC 27615
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.44     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $32,000.00
         INTEGRICHAIN
         8 PENN CTR                                                      X Contingent
         1628 JFK BLVD, STE 300
         PHILADELPHIA, PA 19103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CUSTOMER PROGRAMS



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.45     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    91 of
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                                                                                    filing date, the claim is:                      $306,330.27
         INTEGRICHAIN
         8 PENN CTR                                                      X Contingent
         1628 JFK BLVD, STE 300
         PHILADELPHIA, PA 19103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.46     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $18,351.10
         INTEGRICHAIN
         8 PENN CTR                                                      X Contingent
         1628 JFK BLVD, STE 300
         PHILADELPHIA, PA 19103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.47     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $780.00
         JENNASON LLC
         18450 RUTLEDGE RD                                                  Contingent
         WAYZATA, MN 55391
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.48     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $26,000.00
         JUICE PHARMA WORLDWIDE
         132 W 31ST ST                                                      Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.49     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    92 of
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                                                                                    filing date, the claim is:                         $134.00
         KBF CPAS LLP
         400 SPECTRUM CENTER DR                                             Contingent
         IRVINE, CA 92618
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.50     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $395.00
         LIFE SCIENCE LEGAL LLC
         750 17TH ST NW                                                     Contingent
         WASHINGTON, DC 20006
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.51     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,222.71
         LIFE STORAGE LP
         6467 MAIN ST                                                       Contingent
         WILLIAMSVILLE, NY 14221
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.52     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $545.35
         LUMEN
         100 CENTURYLINK DR                                                 Contingent
         MONROE, LA 71203
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.53     Nonpriority creditor's name and mailing address
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                                                                                    filing date, the claim is:                         $14,357.00
         MAINEHEALTH
         1 DANA CT                                                            Contingent
         WESTBOOK, ME 04092
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   TRADE PAYABLE



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.54     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $10,074.81
         MARKETO
         901 MARINERS ISLAND BLVD, STE 500                                    Contingent
         SAN MATEO, CA 94404
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   TRADE PAYABLE



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.55     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $53,276.00
         MED COMMUNICATIONS, INC
         5100 POPLAR AVE, STE 450                                             Contingent
         MEMPHIS, YN 38137
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   TRADE PAYABLE



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.56     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $0.00
         METROPOLITAN BUILDING MAINTENANCE
         3829 AURORA AVE N                                                    Contingent
         SEATTLE, WA 98103-8702
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   TRADE PAYABLE



         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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3.57     Nonpriority creditor's name and mailing address
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                                                                                    filing date, the claim is:                        $5,817.39
         NAME REDACTED
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.58     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,500.00
         NAME REDACTED
         ADDRESS REDACTED                                                   Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.59     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $61.29
         NAVIA BENEFIT SOLUTIONS
         600 NACHES AVE SW                                               X Contingent
         RENTON, WA 98057
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.60     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,509.00
         NELSON LABS INC
         29471 NETWORK PL, STE 1625                                         Contingent
         CHICAGO, IL 60673
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.61     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    95 of
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                                                                                    filing date, the claim is:                           $6,381.25
         PACIFIC NW STATISTICAL CONSULTING
         18133 154TH AVE NE                                                    Contingent
         WOODINVILLE, WA 98072
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    TRADE PAYABLE



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.62     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $1,102.81
         PACIFIC OFFICE AUTOMATION
         14747 NW GREENBRIER PKWY                                              Contingent
         BEAVERTON, OR 97006
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    TRADE PAYABLE



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.63     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $25,000.00
         PCI PHARMA SERVICES
         3001 RED LION RD                                                      Contingent
         PHILADELPHIA, PA 19114
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    TRADE PAYABLE



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.64     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:               $201,500.00
         PHARMACEUTICAL DATA SERVICES (PDS)
         3000 WHITNEY AVE                                                      Contingent
         BOX 138
         HAMDEN, CT 06518
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    TRADE PAYABLE



         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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3.65     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    96 of
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                                                                                    filing date, the claim is:                       $33,271.74
         PHIL, INC
         2443 FILLMORE ST, STE 380-1423                                  X Contingent
         SAN FRANSISCO, CA 94115
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CUSTOMER PROGRAMS



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.66     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $104,330.13
         PHIL, INC
         2443 FILLMORE ST, STE 380-1423                                  X Contingent
         SAN FRANCISCO, CA 94115
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.67     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $78,770.80
         PPD DEVELOPMENT
         8551 RESEARCH WAY                                               X Contingent
         MIDDLETON, WI 53562
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CUSTOMER PROGRAMS



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.68     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $850.00
         PREMIER RESEARCH CONSULTING
         111 FOUNDERS PLZ, 6TH FL                                           Contingent
         E HARTFORD, CT 06108
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.69     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    97 of
                                                                       the petition     152
                                                                                    filing date, the claim is:                          $478.26
         PRIME ACCOUNTING & BUSINESS ADVISORY PTY LTD
         LEVEL 17, HWT TOWER                                                 Contingent
         40 CITY RD
         SOUTHBANK, VIC 3006
                                                                             Unliquidated
         AUSTRALIA                                                           Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  TRADE PAYABLE



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.70     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $22,727.58
         PSKW, LLC
         AKA CONNECTIVERX                                                 X Contingent
         P.O. BOX 825135
         PHILADELPHIA, PA 19182
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  CUSTOMER PROGRAMS



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.71     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $262,766.22
         PSKW, LLC (CONNECTIVERX)
         200 JEFFERSON PARK                                               X Contingent
         WHIPPANY, NJ 07981
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  TRADE PAYABLE



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.72     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $32,488.86
         QPHARMA
         22 SOUTH ST                                                         Contingent
         MORRISTOWN, NJ 07960
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  TRADE PAYABLE



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                            38 of 44
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3.73     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    98 of
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                                                                                    filing date, the claim is:                        $2,722.05
         ROBERT HALF
         2884 SAND HILL RD, STE 200                                      X Contingent
         MENLO PARK, CA 94025
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 WAGE MOTION



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.74     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,464.23
         RSM
         4650 E 53RD ST                                                     Contingent
         DAVENPORT, IA 52807
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.75     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $300.00
         SENECA CONSTRUCTION MGMT
         3512 HORTON RD                                                     Contingent
         NEWTOWN SQUARE, PA 19073
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.76     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $42,000.00
         SHOP-PR LLC TWELVENOTE
         140 BROADWAY, 28TH FL                                              Contingent
         NEW YORK, NY 10005
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.77     Nonpriority creditor's name and mailing address
                                                   Main Document As ofPage    99 of
                                                                       the petition     152
                                                                                    filing date, the claim is:                        $4,265.00
         SPRINGER NATURE GROUP
         1 NEW YORK PLZ, STE 4600                                           Contingent
         NEW YORK, NY 10004
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.78     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $482,358.75
         SYMPHONY HEALTH
         4130 PARK LAKE AVE, STE 400                                        Contingent
         RALEIGH, NC 27612
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.79     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $56,138.75
         TRNDIGITAL, LLC
         200 PORTLAND ST, 5TH FL                                            Contingent
         BOSTON, MA 02114
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.80     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $35,290.30
         TWO LABS HOLDINGS LLC
         110 RIVERBEND AVE, STE 100                                         Contingent
         POWELL, OH 43065
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.81     Nonpriority creditor's name and mailing address
                                                  Main Document As of
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                                                                                   filing date, the claim is:                         $2,646.00
         UL VERIFICATION SERVICES, INC
         333 PFINGSTEN RD                                                   Contingent
         NORTHBROOK, IL 60062
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.82     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $39.52
         UPS
         55 GLENLAKE PKWY NE                                                Contingent
         ATLANTA, GA 30328
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.83     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $10,000.00
         UW CENTER FOR COMOTION
         4545 ROOSEVELT WAY NE, STE 400                                     Contingent
         SEATTLE, WA 98105
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.84     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $12,933.87
         VEEVA
         4280 HACIENDA DR                                                   Contingent
         PLEASANTON, CA 94588
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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3.85     Nonpriority creditor's name and mailing address
                                                  Main Document As of
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                                                                                   filing date, the claim is:                         $2,043.96
         VERIZON WIRELESS
         1095 AVE OF THE AMERICAS                                           Contingent
         NEW YORK, NY 10036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.86     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $98.29
         WESTERN EXTERMINATOR CO
         305 N CRESCENT WAY                                                 Contingent
         ANAHEIM, CA 92801
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.87     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $289,074.38
         ZINC HEALTH SERVICES
         1 CVS DR                                                        X Contingent
         MAIL CODE 1160
         WOONSOCKET, RI 02895
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 TRADE PAYABLE



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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              Impel Pharmaceuticals Inc.
                                                               Filed 01/19/24 Entered   01/19/24
                                                                                      Case            00:06:07
                                                                                           number (if known):       Desc
                                                                                                              23-80016
                                                       Main Document     Page 102 of 152
  Part 3:        List Others to Be Notified About Unsecured Claims
4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
collection agencies, assignees of claims listed above, and attorneys for unsecured creditors
  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
                                                                                                                                                Last 4 digits of
                                                                                                 On which line in Part1 or Part 2 is the        account number,
          Name and mailing address                                                               related creditor (if any) listed?              if any




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  Part 4:         Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.




5a. Total claims from Part 1                                                                                 $730,380.04


5b. Total claims from Part 2                                                                            $4,225,266.38



5c. Total claims of Parts 1 and 2
                                                                                                        $4,955,646.42
    Lines 5a + 5b = 5c




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United States Bankruptcy Court for the Northern District of Texas
Case number (if known):                23-80016


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B)


                                                                                            State the name and mailing address for all other parties with
 2. List all contracts and unexpired leases                                                 whom the debtor has an executory contract or unexpired lease

         State what the contract or     QUALITY ASSURANCE AGREEMENT                          ACCUMOLD
         lease is for and the nature                                                         18 POWELLS VALLEY RD
2.1                                                                                          HALIFAX, PA 17032
         of the debtor's interest


         State the term remaining
         List the contract number of
         any government contract


         State what the contract or     FOREIGN PACKAGE                                      ACE AMERICAN INSURANCE CO
         lease is for and the nature                                                         436 WALNUT ST
2.2                                                                                          PHILADELPHIA, PA 19106
         of the debtor's interest


         State the term remaining       5/01/2024
         List the contract number of
         any government contract


         State what the contract or     4TH EXCESS DIRECTORS & OFFICERS LIABILITY            ACE AMERICAN INSURANCE CO (CHUBB)
         lease is for and the nature                                                         436 WALNUT ST
2.3                                                                                          PHILADELPHIA, PA 19106
         of the debtor's interest


         State the term remaining       4/23/2024
         List the contract number of
         any government contract


         State what the contract or     ENGAGEMENT LETTER                                    ADKINS BLACK LLP
         lease is for and the nature                                                         1100 BELLEVUE WAY NE, STE 8A-914
2.4                                                                                          BELLEVUE, WA 98004
         of the debtor's interest


         State the term remaining
         List the contract number of
         any government contract


         State what the contract or     MASTER SERVICES AGREEMENT                            AFFIRMA CONSULTING, LLC
         lease is for and the nature                                                         3380 146TH PL SE, STE 100
2.5                                                                                          BELLEVUE, WA 98007
         of the debtor's interest


         State the term remaining
         List the contract number of
         any government contract



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          Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease
          State what the contract or    MASTER SERVICES AGREEMENT                    AIT BIOSCIENCE, LLC
          lease is for and the nature                                                7840 INNOVATION BLVD
2.6                                                                                  INDIANAPOLIS, IN 46278
          of the debtor's interest


          State the term remaining
          List the contract number of
          any government contract


          State what the contract or    GLOBAL TECHNICAL AGREEMENT                   ALMAC CLINICAL SERVICES LTD
          lease is for and the nature                                                25 FRETZ RD
2.7                                                                                  SOUDERTON, PA18964
          of the debtor's interest


          State the term remaining
          List the contract number of
          any government contract


          State what the contract or    GLOBAL MASTER SERVICES AGREEMENT             ALTASCIENCES PRECLINICAL SEATTLE, LLC
          lease is for and the nature                                                6605 MERRILL CREEK PKWY
2.8                                                                                  EVERETT, WA 98203
          of the debtor's interest


          State the term remaining
          List the contract number of
          any government contract


          State what the contract or    MASTER RESEARCH SERVICES AGREEMENT           ALTURAS ANALYTICS, INC
          lease is for and the nature                                                1324 ALTURAS DR
2.9                                                                                  MOSCOW, ID 83843
          of the debtor's interest


          State the term remaining
          List the contract number of
          any government contract


          State what the contract or    ANNUAL SUBSCRIPTION                          AMAZON
          lease is for and the nature                                                410 TERRY AVE N
2.10                                                                                 SEATTLE, WA 98109
          of the debtor's interest


          State the term remaining
          List the contract number of
          any government contract


          State what the contract or    CORPORATE SERVICES COMMERCIAL ACCOUNT        AMERICAN EXPRESS
          lease is for and the nature   AGREEMENT                                    200 VESEY ST
2.11                                                                                 NEW YORK, NY 10285
          of the debtor's interest


          State the term remaining
          List the contract number of
          any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    STATEMENT OF WORK #2                         ANDERSONBRECON INC (PCI PHARMA'S ROCKFORD, IL SITE)
       lease is for and the nature                                                4545 ASSEMBLY DR
2.12                                                                              ROCKFORD, IL 61109
       of the debtor's interest


       State the term remaining      12/31/2023
       List the contract number of
       any government contract


       State what the contract or    CONTRACT SERVICES QUALITY AGREEMENT          ANDERSONBRECOND, INC
       lease is for and the nature                                                4545 ASSEMBLY DR
2.13                                                                              ROCKFORD, IL 61109
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    CONSULTING AGREEMENT & SOW #1                ANGIE OHNMEIS, LLC
       lease is for and the nature                                                5034 GOAL POST LN ·
2.14                                                                              CINCINNATI, OH 45244
       of the debtor's interest


       State the term remaining      12/31/2026
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            AON PLC
       lease is for and the nature                                                25 W 45TH ST, 15TH FL
2.15                                                                              NEW YORK, NY 10036
       of the debtor's interest


       State the term remaining      3/10/2024
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    AQUINAS LEADERSHIP GROUP
       lease is for and the nature                                                120 IOWA LN, STE 204
2.16                                                                              CARY, NC 27511
       of the debtor's interest


       State the term remaining      2/16/2024
       List the contract number of
       any government contract


       State what the contract or    REBATE PROGRAM AGREEMENT                     ASCENT HEALTH SERVICES LLC
       lease is for and the nature                                                1 EXPRESS WAY
2.17                                                                              ST LOUIS, MO 63121
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    PRODUCT PURCHASE AGREEMENT                   ASP CARES HOUSTON
       lease is for and the nature                                                2429 BISSONNET ST, STE 612
2.18                                                                              HOUSTON, TX 77005
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICE AGREEMENT                     ASPN PHARMACIES, LLC
       lease is for and the nature                                                200 PARK AVE, STE 300
2.19                                                                              FLORHAM PARK, NJ 07932
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    3RD EXCESS DIRECTORS & OFFICERS LIABILITY    ATLANTIC SPECIALTY INSURANCE CO (INTACT)
       lease is for and the nature                                                605 HIGHWAY 169 N, STE 800
2.20                                                                              PLYMOUTH, MN 55441
       of the debtor's interest


       State the term remaining      4/23/2024
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    AVANTOR FUNDING, INC
       lease is for and the nature                                                3477 CORPORATE PKWY, STE 200
2.21                                                                              CENTER VALLEY, PA 18034
       of the debtor's interest


       State the term remaining      12/11/2024
       List the contract number of
       any government contract


       State what the contract or    DIRECTORS & OFFICERS LIABILITY – PRIMARY     AXIS INSURANCE CO
       lease is for and the nature                                                10000 AVALON BLVD, STE 200
2.22                                                                              ALPHARETTA, GA 30009
       of the debtor's interest


       State the term remaining      4/23/2024
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    AXTRIA, INC
       lease is for and the nature                                                300 CONNELL DR, 5TH FL
2.23                                                                              BERKELEY HEIGHTS, NJ 07922
       of the debtor's interest


       State the term remaining      12/31/2023
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    STATEMENT OF WORK #6                         BAKER TILLY US, LLP
       lease is for and the nature                                                8626 N HIMES AVE
2.24                                                                              TAMPA, FL 33614
       of the debtor's interest


       State the term remaining      3/31/2024
       List the contract number of
       any government contract


       State what the contract or    CLIENT SERVICES AGREEMENT                    BARRINGTON JAMES LLC
       lease is for and the nature                                                1001 6TH AVE
2.25                                                                              NEW YORK, NY 10018
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    SERVICE AGREEMENT                            BEANWORKS SOLUTIONS, INC
       lease is for and the nature                                                1159 HAMILTON ST
2.26                                                                              VANCOUVER, BC V6B 5P6
       of the debtor's interest
                                                                                  CANADA


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    SERVICE ORDER                                BIOBRIDGES LLC
       lease is for and the nature                                                2701 AERIAL CENTER PKWY, STE 120
2.27                                                                              MORRISVILLE, NC 27709
       of the debtor's interest


       State the term remaining      12/31/2024
       List the contract number of
       any government contract


       State what the contract or    PHARMACEUTICAL DISTRIBUTION SERVICES         BIORIDGE PHARMA, LLC
       lease is for and the nature   AGREEMENT                                    325 COLUMBIA TPKE, STE 111
2.28                                                                              FLORHAM PARK, NJ 07932
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    LEASE                                        BMR-201 ELLIOTT AVENUE LLC
       lease is for and the nature                                                201 ELLIOTT AVE W
2.29                                                                              SEATTLE, WA 98119
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    OFFICE LEASE                                 BOF II PA LINDENWOOD LLC
       lease is for and the nature                                                101 LINDENWOOD DR
2.30                                                                              MALVERN, PA 19355
       of the debtor's interest


       State the term remaining      4/27/2032
       List the contract number of
       any government contract


       State what the contract or    STATEMENT OF WORK                            CALVERT LABORATORIES, INC
       lease is for and the nature                                                130 DISCOVERY DR SCOTT TECHNOLOGY PARK
2.31                                                                              CLARKS SUMMIT, PA 18447
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    CAPSULE CONTINUING GUARANTEE                 CAPSUGEL US, LLC
       lease is for and the nature                                                412 MT KEMBLE AVE
2.32                                                                              MORRISTOWN, NJ 07960
       of the debtor's interest


       State the term remaining      5/23/2026
       List the contract number of
       any government contract


       State what the contract or    QUALITY AGREEMENT                            CARDINAL HEALTH
       lease is for and the nature                                                7000 CARDINAL PL
2.33                                                                              DUBLIN, OH 43017
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    EXCLUSIVE DISTRIBUTION AGREEMENT             CARDINAL HEALTH 105, INC
       lease is for and the nature                                                7000 CARDINAL PL
2.34                                                                              DUBLIN, OH 43017
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MEDICARE PART D PROGRAM REBATE AGREEMENT CAREMARKPCS HEALTH, LLC
       lease is for and the nature                                            1 CVS DR
2.35                                                                          LEGAL DEPARTMENT
       of the debtor's interest
                                                                              WOONSOCKET, RI 02895


       State the term remaining      12/31/2025
       List the contract number of
       any government contract




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   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    REBATE AGREEMENT                             CAREMARKSPCS HEALTH, LLC
       lease is for and the nature                                                1 CVS DR
2.36                                                                              LEGAL DEPARTMENT
       of the debtor's interest
                                                                                  WOONSOCKET, RI 02895


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    PHARMACY DISTRIBUTION AGREEMENT              CAREPOINT HEALTHCARE LLC
       lease is for and the nature                                                9 COMMERCE DR
2.37                                                                              SCHAUMBURG, IL 60173
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    INTERCOMPANY QUALITY ASSURANCE AGREEMENT CCG CORPORATE MAILINGS, INC
       lease is for and the nature                                            14 HENDERSON DR
2.38                                                                          W CALDWELL, NJ 07006
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    QUALITY AGREEMENT                            CCG MARKETING SOLUTIONS
       lease is for and the nature                                                14 HENDERSON DR W
2.39                                                                              CALDWELL, NJ 07006
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    CONSULTING AGREEMENT & SOW #1                CDM CONSULTING LLC
       lease is for and the nature                                                25 VIA MARCONI
2.40                                                                              SORBOLO, EMILIA-ROMAGNA 43058
       of the debtor's interest
                                                                                  ITALY


       State the term remaining      5/27/2024
       List the contract number of
       any government contract


       State what the contract or    INVOICE ONLY                                 CDW DIRECT
       lease is for and the nature                                                200 N MILWAUKEE AVE
2.41                                                                              VERNON HILLS, IL 60061
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CERTARA USA, INC MASTER SERVICES AGREEMENT CERTARA USA, INC
       lease is for and the nature                                              100 OVERLOOK CTR, STE 101
2.42                                                                            PRINCETON, NJ 08540
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    INVOICE ONLY                                 CFI WORKSPACE
       lease is for and the nature                                                7001 N PARK DR
2.43                                                                              PENNSAUKEN TOWNSHIP, NJ 08109
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    CUSTOMS CERTIFICATIONS, INDEMNITY            CH ROBINSON WORLDWIDE, INC
       lease is for and the nature   AGREEMENT AND COLLATERAL POLICY              14701 CHARLSON RD
2.44                                                                              EDEN PRAIRIE, MN 55347
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    CHARLES RIVER LABORATORIES, INC
       lease is for and the nature                                                251 BALLARDVALE ST
2.45                                                                              WILMINGTON, MA 01887
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    CONSULTING AGREEMENT & SOW #1                CHILDREN'S HOSPITAL OF PHILADELPHIA (CHOP)
       lease is for and the nature                                                3401 CIVIC CENTER BLVD
2.46                                                                              PHILADELPHIA, PA 19104
       of the debtor's interest


       State the term remaining      7/24/2026
       List the contract number of
       any government contract


       State what the contract or    LICENSE AGREEMENT                            CITELINE
       lease is for and the nature                                                52 VANDERBILT AVE
2.47                                                                              NEW YORK, NY 10017
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract




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   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    MASTER SERVICE AGREEMENT & SOW #1            CLARK NUBER PS
       lease is for and the nature                                                10900 NE 4TH ST, STE 1400
2.48                                                                              BELLEVUE, WA 98004
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MUTUAL CONFIDENTIALITY AGREEMENT             CLEAN EARTH INC
       lease is for and the nature                                                933 1ST AVE, STE 200
2.49                                                                              KING OF PRUSSIA, PA 19406
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    LAST STATEMENT OF WORK AS OF 7/22/22         CLINIGEN CSM, INC
       lease is for and the nature                                                300 TECHNOLOGY DR
2.50                                                                              MALVERN, PA 19355
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    CONSULTING AGREEMENT                         CLOSE CONSULTING LLC
       lease is for and the nature                                                9899 ZIG ZAG RD
2.51                                                                              CINCINNATI, OH 45242
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    CONSULTING AGREEMENT                         CMTJ & ASSOCIATES LLC
       lease is for and the nature                                                117 SPUR LN
2.52                                                                              W CHESTER, PA 19382
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    COBBLESTONE SOFTWARE HOSTED SOFTWARE         COBBLESTONE SYSTEMS CORP
       lease is for and the nature   LICENSE AGREEMENT                            428 S WHITE HORSE PIKE
2.53                                                                              LINDENWOLD, NJ 08021
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    COMCAST BUSINESS SERVICE ORDER               COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC
       lease is for and the nature                                                1701 JFK BLVD
2.54                                                                              PHILADELPHIA, PA 19103
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    CONNOR GROUP GLOBAL SERVICES, LLC            CONNOR GROUP GLOBAL SERVICES, LLC
       lease is for and the nature                                                60 E 42ND ST, STE 920
2.55                                                                              NEW YORK, NY 10165
       of the debtor's interest


       State the term remaining      12/31/2023
       List the contract number of
       any government contract


       State what the contract or    QUALITY AGREEMENT                            COOK SPRING CO
       lease is for and the nature                                                233 SARASOTA CENTER BLVD
2.56                                                                              SARASOTA, FL 34240
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    ANNUAL COPYRIGHT LICENSE AGREEMENT           COPYRIGHT CLEARANCE CENTER, INC
       lease is for and the nature                                                222 ROSEWOOD DR
2.57                                                                              DANVERS, MA 01923
       of the debtor's interest


       State the term remaining      4/28/2024
       List the contract number of
       any government contract


       State what the contract or    RENEWAL SERVICES AGREEMENT                   CPA GLOBAL LTD
       lease is for and the nature                                                2318 MILL RD, 12TH FL
2.58                                                                              ALEXANDRIA, VA 22314
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    CRISP THINKING (UK) LTD
       lease is for and the nature                                                CENTRAL SQUARE
2.59                                                                              29 WELLINGTON ST, STE 1
       of the debtor's interest
                                                                                  LEEDS, W YORKSHIRE LS1 4DL
                                                                                  UNITED KINGDOM

       State the term remaining
       List the contract number of
       any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CT ASSURANCE AGREEMENT                       CT CORP SYSTEM
       lease is for and the nature                                                28 LIBERTY ST
2.60                                                                              NEW YORK, NY 10005
       of the debtor's interest


       State the term remaining      2/28/2025
       List the contract number of
       any government contract


       State what the contract or    OCCUPANCY LICENSE AGREEMENT                  CUBEWORKS
       lease is for and the nature                                                900 TURNBULL CANYON RD
2.61                                                                              CITY OF INDUSTRY, CA 91745
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    CULT HEALTH LLC
       lease is for and the nature                                                261 5TH AVE, STE 1002
2.62                                                                              NEW YORK, NY 10016
       of the debtor's interest


       State the term remaining      4/7/2024
       List the contract number of
       any government contract


       State what the contract or    COMMERCIAL AGREEMENT                         CURIA ITALY SRL
       lease is for and the nature                                                VIA VOLTURNO, 41/43
2.63                                                                              20089, ROZZANO
       of the debtor's interest
                                                                                  ITALY


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    REBATE AGREEMENT                             CVS CAREMARK PART D SERVICES, LLC
       lease is for and the nature                                                1 CVS DR
2.64                                                                              LEGAL DEPARTMENT
       of the debtor's interest
                                                                                  WOONSOCKET, RI 02895


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    INTERIOR DESIGN SERVICES PROPOSAL FOR IMPEL D2 GROUPS, LLC
       lease is for and the nature   NEUROPHARMA                                 2540 RENAISSANCE BLVD
2.65                                                                             KING OF PRUSSIA, PA 19406
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CONSULTING AGREEMENT & SOW #1                DE NOTARISTEFANI
       lease is for and the nature                                                33 DEVONSHIRE LN
2.66                                                                              MENDHAM, NJ 07945
       of the debtor's interest


       State the term remaining      6/7/2026
       List the contract number of
       any government contract


       State what the contract or    TWO STATEMENTS OF WORK AS OF 3/14/23 AND     DEERFIELD AGENCY, LLC
       lease is for and the nature   9/11/23                                      555 E NORTH LN, BLDG D, STE 5020
2.67                                                                              W LOBBY CONSHOHOCKEN, PA 19428
       of the debtor's interest


       State the term remaining      12/31/2023
       List the contract number of
       any government contract


       State what the contract or    INVOICE ONLY                                 DIGITAL MEDIA (INTRADO)
       lease is for and the nature                                                770 N HALSTED ST, STE 6S
2.68                                                                              CHICAGO, IL 60642
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    REBATE AGREEMENT                             DIVIDEND GROUP, LLC
       lease is for and the nature                                                330 N BRAND BLVD, STE 700
2.69                                                                              GLENDALE, CA 91203
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    SUBSCRIPTION ORDER FORM                      DONNELLEY FINANCIAL SOLUTIONS
       lease is for and the nature                                                35 W WACKER DR
2.70                                                                              CHICAGO, IL 60601
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    DRAGONFLY AGENCY CORP
       lease is for and the nature                                                623 RIVER RD
2.71                                                                              FAIR HAVEN, NJ 07704
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    MASTER SERVICE AGREEMENT & SOW #1            DRURY DESIGN DYNAMICS, INC
       lease is for and the nature                                                275 7TH AVE
2.72                                                                              NEW YORK, NY 10011
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    US CORPORATE TRAVEL SERVICES AGREEMENT       EGENCIA LLC
       lease is for and the nature                                                1111 EXPEDIA GROUP WY W
2.73                                                                              SEATTLE, WA 98119
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    2023 PUBLIC RELATIONS SCOPE OF WORK &        ELIXIR HEALTH PUBLIC RELATIONS INC
       lease is for and the nature   ESTIMATED BUDGET                             379 W BROADWAY
2.74                                                                              NEW YORK, NY 10012
       of the debtor's interest


       State the term remaining      12/31/2023
       List the contract number of
       any government contract


       State what the contract or    LANDLORD CONSENT TO SUBLEASE                 ELLIOTT SEATTLE REAL ESTATE HOLDING INC
       lease is for and the nature                                                200 W MERCER ST, STE 106
2.75                                                                              SEATTLE, WA 98119
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    GENERAL CONDITIONS OF ASSIGNMENT             EMERALD SEARCH PARTNERS LLC
       lease is for and the nature                                                600 UNIVERSITY ST, STE 1625
2.76                                                                              SEATTLE, WA 98101
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    VEHICLE LEASE AGREEMENT                      EMKAY, INC
       lease is for and the nature                                                805 W THORNDALE AVE
2.77                                                                              ITASCA, IL 60143-7400
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    2ND EXCESS DIRECTORS & OFFICERS LIABILITY    ENDURANCE AMERICAN INSURANCE CO
       lease is for and the nature                                                FOUR MANHATTANVILLE RD, 3RD FL
2.78                                                                              PURCHASE, NY 10577
       of the debtor's interest


       State the term remaining      4/23/2024
       List the contract number of
       any government contract


       State what the contract or    MANAGEMENT LIABILITY                         ENDURANCE AMERICAN SPECIALTY INSURANCE CO
       lease is for and the nature                                                FOUR MANHATTANVILLE RD, 3RD FL
2.79                                                                              PURCHASE, NY 10577
       of the debtor's interest


       State the term remaining      11/01/2024
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    EPL PATHOLOGY ARCHIVES, LLC
       lease is for and the nature                                                435 TOLBERT LN SE
2.80                                                                              LEESBURG, VA 20175
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    INVOICE ONLY                                 EQUINITI TRUST CO, LLC
       lease is for and the nature                                                6201 15TH AVE
2.81                                                                              BROOKLYN, NY 11219
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    EUROFINS PANLABS, INC
       lease is for and the nature                                                6 RESEARCH PARK DR
2.82                                                                              ST CHARLES, MO 63304
       of the debtor's interest


       State the term remaining      6/11/2025
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICES AGREEMENT                    EXPERIC, LLC
       lease is for and the nature                                                2 CLARKE DR
2.83                                                                              CRANBURY, NJ 08512
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    MEDICARE PART D INFLATION AGREEMENT          EXPRESS SCRIPTS SENIOR CARE HOLDINGS, INC
       lease is for and the nature                                                1 EXPRESS WAY
2.84                                                                              ST LOUIS, MO 63121
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    INFLATION AGREEMENT                          EXPRESS SCRIPTS, INC
       lease is for and the nature                                                1 EXPRESS WAY
2.85                                                                              ST LOUIS, MO 63121
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    QUALITY AGREEMENT                            FARMACIENCIA SA
       lease is for and the nature                                                40 LAKE DR
2.86                                                                              E WINDSOR, NJ 08520
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    INVOICE ONLY                                 FISHER & PHILLIPS LLP
       lease is for and the nature                                                1230 PEACHTREE ST, STE 3300 NE
2.87                                                                              ATLANTA, GA 30309
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MANUFACTURING SERVICES AGREEMENT             FREUDENBERG MEDICAL LLC
       lease is for and the nature                                                40 SAM FONZO DR
2.88                                                                              BEVERLY, MA 01915
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    INVOICE ONLY                                 FRONTIERS MEDIA SA
       lease is for and the nature                                                AVE DU TRIBUNAL FÉDÉRAL 34
2.89                                                                              1005 LAUSANNE
       of the debtor's interest
                                                                                  SWITZERLAND


       State the term remaining
       List the contract number of
       any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    LAST STATEMENT OF WORK AS OF 9/21/23         GOOD APPLE
       lease is for and the nature                                                5-9 UNION SQ W, 4TH FL
2.90                                                                              NEW YORK, NY 10003
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    YEARLY SUBSCRIPTION                          GREATLAND
       lease is for and the nature                                                2480 WALKER AVE NW
2.91                                                                              GRAND RAPIDS, MI 49544
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    LICENSE AGREEMENT                            GS1 US
       lease is for and the nature                                                300 CHARLES EWING BLVD
2.92                                                                              EWING TOWNSHIP, NJ 08628
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    MASTER SERVICE AGREEMENT                     HEALTHCARE ALLIANCE GROUP
       lease is for and the nature                                                101 LAUREL RD, STE 100
2.93                                                                              VOORHEES, NJ 08043
       of the debtor's interest


       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    STATEMENT OF WORK #13                        HEALTHCARE ALLIANCE GROUP, LLC
       lease is for and the nature                                                101 LAUREL RD, STE 100
2.94                                                                              VOORHEES, NJ 08043
       of the debtor's interest


       State the term remaining      12/31/2023
       List the contract number of
       any government contract


       State what the contract or    SPECIAL CONTINGENCY                          HISCOX INSURANCE CO INC
       lease is for and the nature                                                104 S MICHIGAN AVE, STE 600
2.95                                                                              CHICAGO, IL 60603
       of the debtor's interest


       State the term remaining      11/01/2024
       List the contract number of
       any government contract




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   List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    CRIME                                        HISCOX INSURANCE CO INC
        lease is for and the nature                                                104 S MICHIGAN AVE, STE 600
2.96                                                                               CHICAGO, IL 60603
        of the debtor's interest


        State the term remaining      6/01/2024
        List the contract number of
        any government contract


        State what the contract or    WORK ORDER #13                               HOVIONE LTD
        lease is for and the nature                                                40 LAKE DR
2.97                                                                               E WINDSOR, NJ 08520
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    1ST EXCESS DIRECTORS & OFFICERS LIABILITY    HUDSON INSURANCE CO
        lease is for and the nature                                                100 WILLIAM ST, 5TH FL
2.98                                                                               NEW YORK, NY 10038
        of the debtor's interest


        State the term remaining      4/23/2024
        List the contract number of
        any government contract


        State what the contract or    POLLUTION LIABILITY                          ILLINOIS UNION INSURANCE CO
        lease is for and the nature                                                436 WALNUT ST
2.99                                                                               PHILADELPHIA, PA 19106
        of the debtor's interest


        State the term remaining      11/01/2025
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                            IMPRINT PUBLICATION SCIENCE
        lease is for and the nature                                                3 COLUMBUS CIR, 8TH FL
2.100                                                                              NEW YORK CITY, NY 10019
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    KEAP BUSINESS ASSOCIATE AGREEMENT            INSIGHTSOFTWARE
        lease is for and the nature                                                8529 SIX FORKS RD
2.101                                                                              RALEIGH, NC 27615
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease
        State what the contract or    MASTER SERVICES AGREEMENT                     INTEGRICHAIN, INC
        lease is for and the nature                                                 8 PENN CENTER 1628 JFK BLVD, STE 300
2.102                                                                               PHILADELPHIA, PA 19103
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                     INTERACTIVE FORUMS, INC
        lease is for and the nature                                                 375 E ELM ST, STE 200
2.103                                                                               CONSHOHOCKEN, PA 19428
        of the debtor's interest


        State the term remaining      4/8/2024
        List the contract number of
        any government contract


        State what the contract or    PROJECT PROPOSAL INP105 DPI DRUG DELIVERY     INTERFACE ANALYSIS ASSOCIATES
        lease is for and the nature   DEVICE OLANZAPINE - POD FOR ACUTE AGITATION   1821 SARATOGA AVE, STE 200
2.104                                 HUMAN FACTORS PROGRAM                         SARATOGA, CA 95070
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT & SOW #1                 IPG HEALTH MEDICAL COMMUNICATIONS INC
        lease is for and the nature                                                 100 W 33RD ST
2.105                                                                               NEW YORK, NY 10001
        of the debtor's interest


        State the term remaining      10/26/2025
        List the contract number of
        any government contract


        State what the contract or    USER-CUSTOMER AGREEMENT FOR AMA               IQVIA, INC
        lease is for and the nature   PHYSICIAN PROFESSIONAL DATA                   2400 ELLIS RD
2.106                                                                               DURHAM, NC 27703
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK                             JENNASON LLC
        lease is for and the nature                                                 18450 RUTLEDGE RD
2.107                                                                               WAYZATA, MN 55391
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    MASTER SERVICE AGREEMENT                    JUICE PHARMA WORLDWIDE, LLC
        lease is for and the nature                                               132 W 31ST ST
2.108                                                                             NEW YORK, NY 10001
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT                           KAISER PERMANENTE
        lease is for and the nature                                               1 KAISER PLZ
2.109                                                                             OAKLAND, CA 94612
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    ANALYTICAL RESEARCH AGREEMENT               LACHMAN INSTITUTE FOR PHARMACEUTICAL ANALYSIS AT LONG
        lease is for and the nature                                               ISLAND UNIVERSITY
2.110                                                                             1 UNIVERSITY PLZ
        of the debtor's interest
                                                                                  BROOKLYN, NY 11201


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    TERMS OF ENGAGEMENT FOR LEGAL SERVICES      LIFE SCIENCE LEGAL LLC
        lease is for and the nature                                               750 17TH ST NW
2.111                                                                             WASHINGTON, DC 20006
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    CORE PLUS MASTER RENTAL AGREEMENT           LIFE STORAGE LP
        lease is for and the nature                                               6467 MAIN ST
2.112                                                                             WILLIAMSVILLE, NY 14221
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK #1                        LIPPE TAYLOR, LLC
        lease is for and the nature                                               140 BROADWAY, 28TH FL
2.113                                                                             NEW YORK, NY 10005
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    STATEMENT OF WORK #1 CO #2                  LMK CLINICAL RESEARCH CONSULTING, LLC
        lease is for and the nature                                               1743 CONNECTICUT AVE NW, STE 200
2.114                                                                             WASHINGTON, DC 20009
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    RESEARCH SERVICE AGREEMENT                  MAINEHEALTH
        lease is for and the nature                                               1 DANA CT
2.115                                                                             WESTBROOK, ME 04092
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                            MANAGED MARKETS INSIGHT & TECHNOLOGY, LLC
        lease is for and the nature                                               290 W MT PLEASANT AVE, STE 2210
2.116                                                                             LIVINGSTON, NJ 07039
        of the debtor's interest


        State the term remaining      1/13/2024
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT & SOW #1          MARKETING AUTOMATION CANADA
        lease is for and the nature                                               2333 DUNDAS ST W, STE 403
2.117                                                                             TORONTO, ON M6R 3A6
        of the debtor's interest
                                                                                  CANADA


        State the term remaining      1/25/2025
        List the contract number of
        any government contract


        State what the contract or    BUSINESS ASSOCIATE ADDENDUM                 MARKETO, INC
        lease is for and the nature                                               901 MARINERS ISLAND BLVD, STE 200
2.118                                                                             SAN MATEO, CA 94404
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTERCONTROL SAAS SERVICE LEVEL TERMS      MASTERCONTROL, INC
        lease is for and the nature                                               6350 S 3000 E
2.119                                                                             SALT LAKE CITY, UT 84121
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    STATEMENT OF WORK #2                        MCCANN SYSTEMS
        lease is for and the nature                                               68 S TURNPIKE RD
2.120                                                                             WALLINGFORD, CT 06492
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   MED COMMUNICATIONS, INC
        lease is for and the nature                                               5100 POPLAR AVE, STE 450
2.121                                                                             MEMPHIS, TN 38137
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   MEDICAL MARKETING ECONOMICS, LLC
        lease is for and the nature                                               1200 JEFFERSION AVE, STE 200
2.122                                                                             OXFORD, MS 38655
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                          MEDISTRY, LLC
        lease is for and the nature                                               3029 PROSPECT AVE
2.123                                                                             CLEVELAND, OH 44115
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INVOICE ONLY                                METROPOLITAN BUILDING MAINTENANCE
        lease is for and the nature                                               3829 AURORA AVE N
2.124                                                                             SEATTLE, WA 98103-8702
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    QUALITY AGREEMENT                           MINIVALVE INTERNATION BV
        lease is for and the nature                                               21 LUCBECKSTRAAT
2.125                                                                             OLDENZAAL 7575EE
        of the debtor's interest
                                                                                  THE NETHERLANDS


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                             State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease
        State what the contract or    QUALITY AGREEMENT FOR MANUFACTURING AND         MIPHARM SPA
        lease is for and the nature   CONTROL OF MEDICINAL PRODUCTS                   VIA B QUARANTA
2.126                                                                                 12 - 20141 MILANO
        of the debtor's interest
                                                                                      ITALY


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    #5 DAYS SUPPORT TO TRIAL ACTIVITIES + #3 TECH   MIPHARM SPA
        lease is for and the nature   BATCHES DEC 20199 OFFER N 1830 REV 1            VIA BERNARDO QUARANTA
2.127                                                                                 12, 20139 MILANO MI
        of the debtor's interest
                                                                                      ITALY


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    SERVICE AGREEMENT SA-IPL-2017-01                MONTRIUM HOSTED SOLUTIONS, INC
        lease is for and the nature                                                   507 PL D'ARMES, STE 1500
2.128                                                                                 MONTREAL, QC H2Y 2W8
        of the debtor's interest
                                                                                      CANADA


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    QUALITY AGREEMENT                               MTD MICRO MOLDING
        lease is for and the nature                                                   15 TROLLEY CROSSING RD
2.129                                                                                 CHARLTON, MA 01507
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT & SOW #1                   NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                      ADDRESS REDACTED
2.130
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK #2                            NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                      ADDRESS REDACTED
2.131
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    CONSULTING AGREEMENT & SOW #1               NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.132
        of the debtor's interest


        State the term remaining      1/17/2028
        List the contract number of
        any government contract


        State what the contract or    CONSULTING/SCIENTIFIC ADVISORY BOARD        NAME REDACTED
        lease is for and the nature   AGREEMENT                                   ADDRESS REDACTED
2.133                                 INDIVIDUAL
        of the debtor's interest


        State the term remaining      2/28/2026
        List the contract number of
        any government contract


        State what the contract or    DEBARMENT LETTER                            NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.134
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER CONSULTING AGREEMENT                 NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.135
        of the debtor's interest


        State the term remaining      9/4/2025
        List the contract number of
        any government contract


        State what the contract or    ARNP                                        NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.136
        of the debtor's interest


        State the term remaining      6/22/2024
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT & SOW #1               NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.137
        of the debtor's interest


        State the term remaining      6/23/2024
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    CONSULTING AGREEMENT FOR SPEAKER            NAME REDACTED
        lease is for and the nature   PROGRAM SERVICES                            ADDRESS REDACTED
2.138                                 INDIVIDUAL
        of the debtor's interest


        State the term remaining      4/23/2024
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT & SOW #1               NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.139
        of the debtor's interest


        State the term remaining      4/18/2024
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT & SOW #1               NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.140
        of the debtor's interest


        State the term remaining      5/25/2024
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT & SOW #1               NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.141
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                           NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.142
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                           NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.143
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.144
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.145
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.146
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.147
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.148
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.149
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.150
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.151
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.152
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.153
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.154
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.155
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.156
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.157
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.158
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.159
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.160
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.161
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.162
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.163
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.164
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.165
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.166
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.167
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.168
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.169
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.170
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.171
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.172
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.173
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.174
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.175
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.176
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.177
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.178
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.179
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.180
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.181
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.182
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.183
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.184
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.185
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.186
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.187
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.188
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.189
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.190
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.191
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.192
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.193
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.194
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.195
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.196
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.197
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.198
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.199
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.200
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.201
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.202
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.203
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease
        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.204
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.205
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.206
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.207
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.208
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                          NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                 ADDRESS REDACTED
2.209
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    INTERNAL EMPLOYEE                           NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.210
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INTERNAL EMPLOYEE                           NAME REDACTED
        lease is for and the nature   INDIVIDUAL                                  ADDRESS REDACTED
2.211
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    GLOBAL MASTER SERVICES AGREEMENT & ORDER    NAVEX GLOBAL, INC
        lease is for and the nature   FORM                                        5500 MEADOWS RD, STE 500
2.212                                                                             LAKE OSWEGO, OR 97035
        of the debtor's interest


        State the term remaining      8/27/2024
        List the contract number of
        any government contract


        State what the contract or    TEST PROCEDURE RELEASE AGREEMENT            NELSON LABS INC
        lease is for and the nature                                               6280 S REDWOOD RD
2.213                                                                             SALT LAKE CITY, UT 84123
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    QUALITY AGREEMENT                           NEMERA CORP
        lease is for and the nature                                               20 AV DE LA GARE
2.214                                                                             38290 LA VERPILLIÈRE
        of the debtor's interest
                                                                                  FRANCE


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    SERVICES AGREEMENT                          NEMERA LA VERPILLIERE SAS
        lease is for and the nature                                               20 AV DE LA GARE
2.215                                                                             38290 LA VERPILLIÈRE
        of the debtor's interest
                                                                                  FRANCE


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    LETTER AGREEMENT                            NOVEAYR RESPIRATORY
        lease is for and the nature                                               9 ARKWRIGHT RD
2.216                                                                             RUNCORN, WA7 1NU
        of the debtor's interest
                                                                                  UNITED KINGDOM


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    CLIENT AGREEMENT                            NUWEST GROUP HOLDINGS LLC
        lease is for and the nature                                               325 118TH AVE SE, STE 300
2.217                                                                             BELLEVUE, WA 98005
        of the debtor's interest


        State the term remaining      8/25/2024
        List the contract number of
        any government contract


        State what the contract or    5TH EXCESS DIRECTORS & OFFICERS LIABILITY   OLD REPUBLIC INSURANCE CO
        lease is for and the nature                                               631 EXCEL DR, STE 200
2.218                                                                             MOUNT PLEASANT, PA 15666
        of the debtor's interest


        State the term remaining      4/23/2024
        List the contract number of
        any government contract


        State what the contract or    MASTER SOFTWARE                             OPTEL GROUP USA, INC
        lease is for and the nature                                               55 MADISON AVE, STE 400
2.219                                                                             MORRISTOWN, NJ 07960
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT                        PACIFIC NORTHWEST STATISTICAL CONSULTING, INC
        lease is for and the nature                                               18133 154TH AVE NE
2.220                                                                             WOODINVILLE, WA 98072
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER AGREEMENT                            PACIFIC OFFICE AUTOMATION
        lease is for and the nature                                               14747 NW GREENBRIER PKWY
2.221                                                                             BEAVERTON, OR 97006
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    CONSULTING AGREEMENT & SOW #1               PHARMA MANUFACTURING & SUPPLY CHAIN CONSULTING, LLC
        lease is for and the nature                                               4585 CAMINITO SAN SEBASTIAN
2.222                                                                             DEL APR, CA 92014
        of the debtor's interest


        State the term remaining      6/1/2026
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   PHARMACEUTICAL DATA SERVICES
        lease is for and the nature                                               3000 WHITNEY AVE, BOX 138
2.223                                                                             HAMDEN, CT 06518
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    CONTRACT MANUFACTURING AGREEMENT -          PHARMASERVE NORTH WEST LTD
        lease is for and the nature   MARKETING AUTHORISATION HELD BY CUSTOMER    AYRTON HOUSE
2.224                                                                             PARLIAMENT BUSINESS PARK
        of the debtor's interest
                                                                                  COMMERCE WAY
                                                                                  LIVERPOOL, LS 7BA
                                                                                  UNITED KINGDOM
        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    QUALITY AGREEMENT FOR PROPELLANT CANISTER PHARMASERVE NORTH WEST, LTD
        lease is for and the nature   HFA 134A                                  AYRTON HOUSE
2.225                                                                           PARLIAMENT BUSINESS PARK
        of the debtor's interest
                                                                                COMMERCE WAY
                                                                                LIVERPOOL, LS 7BA
                                                                                UNITED KINGDOM
        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT & SOW #1               PHARMGIRL HELP LLC
        lease is for and the nature                                               1749 OTTAWA BEACH RD, UNIT 6
2.226                                                                             HOLLAND, MI 49424
        of the debtor's interest


        State the term remaining      1/31/2024
        List the contract number of
        any government contract


        State what the contract or    PHARMACY DISTRIBUTION AGREEMENT             PHIL, INC
        lease is for and the nature                                               2443 FILLMORE ST, STE 380-1423
2.227                                                                             SAN FRANCISCO, CA 94115
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    DOMESTIC, GENERAL LIABILITY, AND EMPLOYEE   PHOENIX INSURANCE CO
        lease is for and the nature   BENEFITS                                    ONE TOWER SQUARE
2.228                                                                             HARTFORD, CT 06183
        of the debtor's interest


        State the term remaining      5/01/2024
        List the contract number of
        any government contract


        State what the contract or    POREX FAIRBURN STANDARD QUALITY AGREEMENT POREX CORP
        lease is for and the nature                                             500 BOHANNON RD
2.229                                                                           FAIRBURN, GA 30213
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER CONSIGNMENT AGREEMENT                PPD DEVELOPMENT, LP
        lease is for and the nature                                               8551 RESEARCH WAY, STE 90
2.230                                                                             MIDDLETON, WI 53562
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    LETTER OF AUTHORIZATION                     PPD INVESTIGATOR SERVICES, LLC
        lease is for and the nature                                               929 N FRONT ST, 6TH FL
2.231                                                                             WILMINGTON, NC 28401
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   PRECISIONHEOR, LLC
        lease is for and the nature                                               11100 SANTA MONICA BLVD, STE 500
2.232                                                                             LOS ANGELES, CA 90025
        of the debtor's interest


        State the term remaining      12/8/2024
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICE AGREEMENT                    PREMIER RESEARCH CONSULTING, LLC
        lease is for and the nature                                               111 FOUNDERS PLZ, 6TH FL
2.233                                                                             E HARTFORD, CT 06108
        of the debtor's interest


        State the term remaining      10/28/2024
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    MASTER SERVICES AGREEMENT                   PSKW, LLC
        lease is for and the nature                                               200 JEFFERSON PARK
2.234                                                                             WHIPPANY, NJ 07981
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICE AGREEMENT                    PYXANT LABS INC
        lease is for and the nature                                               4720 FORGE RD, STE 108
2.235                                                                             COLORADO SPRING, CO 80907
        of the debtor's interest


        State the term remaining      6/30/2027
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   QPHARMA, INC
        lease is for and the nature                                               22 SOUTH ST
2.236                                                                             MORRISTOWN, NJ 07960
        of the debtor's interest


        State the term remaining      10/31/2024
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK FOR LEASE ACCOUNTING      RESOURCES CONNECTION, LLC
        lease is for and the nature   SERVICES                                    17101 ARMSTRONG AVE, STE 100
2.237                                                                             IRVINE, CA 92614
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT & SOW #1               RJ KESSLER CONSULTING LLC
        lease is for and the nature                                               1991 CROCKER RD, STE 600A
2.238                                                                             WESTLAKE, OH 44145
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    LETTER OF ASSIGNMENT AND GENERAL            ROBERT HALF INTERNATIONAL INC
        lease is for and the nature   CONDITIONS AGREEMENT                        2884 SAND HILL RD, STE 200
2.239                                                                             MENLO PARK, CA 94025
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    MASTER SERVICES AGREEMENT AND MICROSOFT     RSM US LLP
        lease is for and the nature   PRODUCT RIDER                               1 S WACKER DR, STE 800
2.240                                                                             CHICAGO, IL 60606
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   SACKS & CO, INC
        lease is for and the nature                                               119 W 57TH ST PENTHOUSE N
2.241                                                                             NEW YORK, NY 10019
        of the debtor's interest


        State the term remaining      5/1/2024
        List the contract number of
        any government contract


        State what the contract or    BACKGROUND CHECK SERVICES AGREEMENT         SCOUTLOGIC SCREENING, INC
        lease is for and the nature                                               111 BARCLAY BLVD, STE 212
2.242                                                                             LINCOLNSHIRE, IL 60069
        of the debtor's interest


        State the term remaining      6/30/2024
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT & SOW #1               SEATTLE CHILDREN'S HOSPITAL
        lease is for and the nature                                               4800 SAND POINT WAY NE
2.243                                                                             SEATTLE, WA 98105
        of the debtor's interest


        State the term remaining      8/30/2024
        List the contract number of
        any government contract


        State what the contract or    SECUREDOCS ORDER FORM AND TERMS AND         SECUREDOCS, INC
        lease is for and the nature   CONDITIONS                                  6500 HOLLISTER AVE, STE 110
2.244                                                                             GOLETA, CA 93117
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    SEDULO - 2023 MONTHLY MONITORING SOW        SEDULO GROUP, LLC
        lease is for and the nature                                               1902 CAMPUS PL, STE 9A
2.245                                                                             LOUISVILLE, KY 40299
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    INVOICE ONLY                                SENECA CONSTRUCTION MANAGEMENT CORP
        lease is for and the nature                                               12587 RTE 438
2.246                                                                             IRVING, NY 14081
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   SHOP-PR LLC
        lease is for and the nature                                               140 BROADWAY, 28TH FL
2.247                                                                             NEW YORK, NY 10005
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    USER AGREEMENT FOR THE USE OF THE AMERICAN SOURCE HEALTHCARE ANALYTICS LLC
        lease is for and the nature   ACADEMY OF PHYSICIAN ASSISTANTS DATA FILE  731 ARBOR WAY, STE 100
2.248                                 ROYALTY AGREEMENT                          BLUE BELL, PA 19422-1987
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK #4                        SPHERIX GLOBAL INSIGHTS US, INC
        lease is for and the nature                                               760 CONSTITUTION DR
2.249                                                                             EXTON, PA 19341
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    INVOICE ONLY                                SPRINGER NATURE GROUP
        lease is for and the nature                                               1 NEW YORK PLZ, STE 4600
2.250                                                                             NEW YORK, NY 10004
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    SDC CHANGE ORDER #2_ 22-5284                STATISTICS & DATA CORP (SDC)
        lease is for and the nature                                               63 S ROCKFORD DR, STE 240
2.251                                                                             TEMPE, AZ 85288
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    SERVICE AGREEMENT FOR WASHINGTON STATE      STERICYCLE ENVIORNMENTAL SOLUTIONS, INC
        lease is for and the nature   CUSTOMERS ONLY                              2355 WAUKEGAN RD
2.252                                                                             BANNOCKBURN, IL 60015
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK #34                       SUDLER & HENNESSEY, LLC
        lease is for and the nature                                               230 PARK AVE S, STE 8
2.253                                                                             NEW YORK, NY 10003
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT 2023 & SOW #1     SYFT INC
        lease is for and the nature                                               5701 E HILLSBOROUGH AVE, STE 2327
2.254                                                                             TAMPA, FL 33610
        of the debtor's interest


        State the term remaining      1/6/2026
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   SYMPHONY HEALTH SOLUTIONS CORP
        lease is for and the nature                                               4130 PARKLAKE AVE, STE 400
2.255                                                                             RALEIGH, NC 27612
        of the debtor's interest


        State the term remaining      12/31/2023
        List the contract number of
        any government contract


        State what the contract or    PRODUCT PURCHASE AGREEMENT                  THIES LOMBARD PHARMACY, INC
        lease is for and the nature                                               805 S MAIN ST, STE C
2.256                                                                             LOMBARD, IL 60148-3300
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    ENTERPRISE AGREEMENT                        TRACELINK, INC
        lease is for and the nature                                               200 BALLARDVALE ST, BLDG 1, STE 100
2.257                                                                             WILMINGTON, MA 01887
        of the debtor's interest


        State the term remaining      3/25/2024
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    ERISA BOND                                  TRAVELERS CASUALTY AND SURETY CO OF AMERICA
        lease is for and the nature                                               ONE TOWER SQUARE
2.258                                                                             HARTFORD, CT 06183
        of the debtor's interest


        State the term remaining      4/30/2024
        List the contract number of
        any government contract


        State what the contract or    COMMERCIAL AUTOMOBILE                       TRAVELERS INDEMNITY CO OF AMERICA
        lease is for and the nature                                               ONE TOWER SQUARE
2.259                                                                             HARTFORD, CT 06183
        of the debtor's interest


        State the term remaining      5/01/2024
        List the contract number of
        any government contract


        State what the contract or    WORKERS COMPENSATION                        TRAVELERS PROP CASUALTY CO OF AMERICA
        lease is for and the nature                                               ONE TOWER SQUARE
2.260                                                                             HARTFORD, CT 06183
        of the debtor's interest


        State the term remaining      5/01/2024
        List the contract number of
        any government contract


        State what the contract or    UMBRELLA                                    TRAVELERS PROP CASUALTY CO OF AMERICA
        lease is for and the nature                                               ONE TOWER SQUARE
2.261                                                                             HARTFORD, CT 06183
        of the debtor's interest


        State the term remaining      5/01/2024
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   TRNDIGITAL, LLC
        lease is for and the nature                                               200 PORTLAND ST, 5TH FL
2.262                                                                             BOSTON, MA 02114
        of the debtor's interest


        State the term remaining      2/28/2024
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   TWO LABS HOLDINGS LLC
        lease is for and the nature                                               110 RIVERBEND AVE, STE 100
2.263                                                                             POWELL, OH 43065
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
        State what the contract or    MASTER LICENSE AND SERVICE AGREEMENT         UL VERIFICATION SERVICES, INC
        lease is for and the nature                                                333 PFINGSTEN RD
2.264                                                                              NORTHBROOK, IL 60062
        of the debtor's interest


        State the term remaining      5/18/2024
        List the contract number of
        any government contract


        State what the contract or    PRODUCT & CLINICAL TRIAL LIABILITY           UNDERWRITERS AT LLOYD, LONDON (BEAZLEY)
        lease is for and the nature                                                22 BISHOPSGATE
2.265                                                                              LONDON EC2N 4BQ
        of the debtor's interest
                                                                                   UNITED KINGDOM


        State the term remaining      5/01/2024
        List the contract number of
        any government contract


        State what the contract or    CARGO                                        UNDERWRITERS AT LLOYD, LONDON (FALVEY)
        lease is for and the nature                                                22 BISHOPSGATE
2.266                                                                              LONDON EC2N 4BQ
        of the debtor's interest
                                                                                   UNITED KINGDOM


        State the term remaining      5/01/2024
        List the contract number of
        any government contract


        State what the contract or    CYBER                                        UNDERWRITERS AT LLOYD, LONDON (FALVEY)
        lease is for and the nature                                                22 BISHOPSGATE
2.267                                                                              LONDON EC2N 4BQ
        of the debtor's interest
                                                                                   UNITED KINGDOM


        State the term remaining      5/01/2024
        List the contract number of
        any government contract


        State what the contract or    UNIFORM MATERIAL TRANSFER AGREEMENT          UNIVERSITY OF WASHINGTON
        lease is for and the nature                                                4545 ROOSEVELT WAY NE, STE 400
2.268                                                                              SEATTLE, WA 98105
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    CONTENT LICENSE AGREEMENT                    UP TO DATE INC
        lease is for and the nature                                                230 CITYPOINT
2.269                                                                              230 3RD AVE
        of the debtor's interest
                                                                                   WALTHAM, MA 02451


        State the term remaining
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
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  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    LICENSE AGREEMENT                           UPPSALA MONITORING CENTRE
        lease is for and the nature                                               BREDGRÄND 7
2.270                                                                             753 20 UPPSALA
        of the debtor's interest
                                                                                  SWEDEN


        State the term remaining      9/19/2024
        List the contract number of
        any government contract


        State what the contract or    VEEVA MASTER SUBSCRIPTION AGREEMENT         VEEVA SYSTEMS INC
        lease is for and the nature                                               4280 HACIENDA DR
2.271                                                                             PLEASANTON, CA 94588
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    STATEMENT OF WORK #5                        VEEVA SYSTEMS, INC
        lease is for and the nature                                               1375 BROADWAY, 3RD FL
2.272                                                                             NEW YORK, NY 10018
        of the debtor's interest


        State the term remaining      1/31/2024
        List the contract number of
        any government contract


        State what the contract or    CONSULTING AGREEMENT                        VELOCITA CONSULTING, LLC
        lease is for and the nature                                               55 W 39TH ST, STE 14N
2.273                                                                             NEW YORK, NY 10018
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    INVOICE ONLY                                WESTERN EXTERMINATOR CO
        lease is for and the nature                                               305 N CRESCENT WAY
2.274                                                                             ANAHEIM, CA 92801
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    DISTRIBUTION AGREEMENT                      WESTERN WELLNESS SOLUTIONS, LLC
        lease is for and the nature                                               1555 DOOLITTLE DR, STE 170
2.275                                                                             SAN LEANDRO, CA 94577-2239
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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        Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

  List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
        State what the contract or    EXCESS LIABILITY                            WESTFIELD SPECIALTY INSURANCE CO
        lease is for and the nature                                               ONE PARK CIR
2.276                                                                             WESTFIELD CENTER, OH 44251
        of the debtor's interest


        State the term remaining      5/01/2024
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   WIRB - COPERNICUS GROUP, INC (WCG)
        lease is for and the nature                                               212 CARNEGIE CENTER DR, STE 301
2.277                                                                             PRINCETON, NJ 08540
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    MASTER SERVICES AGREEMENT                   XENOTECH, LLC
        lease is for and the nature                                               1101 W CAMBRIDGE CIRCLE DR
2.278                                                                             KANSAS CITY, KS 66103
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract


        State what the contract or    COMMERCIAL REBATE AGREEMENT                 ZINC HEALTH SERVICES, LLC
        lease is for and the nature                                               1 CVS DR MC 1160
2.279                                                                             WOONSOCKET, RI 02895
        of the debtor's interest


        State the term remaining
        List the contract number of
        any government contract




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United States Bankruptcy Court for the Northern District of Texas
Case number (if known):             23-80016


                                                                                                                                       Check if this is an
                                                                                                                                       amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any codebtors?

    X No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
       Yes.

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

    Column 1: Codebtor                                                                         Column 2: Creditor

    Name                      Mailing Address                                                  Name                                  Check all schedules
                                                                                                                                     that apply

        NONE




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